Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 1Confidentiality
                                         to Further     of 95. PageID #: 471223
                                                                            Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8
     9                              __ __ __
    10                        Sunday, May 5, 2019
                                    __ __ __
    11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                  CONFIDENTIALITY REVIEW
                               __ __ __
    13
    14
    15
    16            Videotaped Deposition of MEREDITH B.
            ROSENTHAL, Ph.D., VOLUME 2, held at Robins
    17      Kaplan LLP, 800 Boylston Street, Suite 2500,
            Boston, Massachusetts, commencing at
    18      8:04 a.m., on the above date, before
            Michael E. Miller, Fellow of the Academy of
    19      Professional Reporters, Registered Diplomate
            Reporter, Certified Realtime Reporter and
    20      Notary Public.
    21
    22
    23                            __ __ __
    24                   GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | fax 917.591.5672
    25                        deps@golkow.com

   Golkow Litigation Services                                      Page 1 (477)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 2Confidentiality
                                         to Further     of 95. PageID #: 471224
                                                                            Review
                                       Page 478                                             Page 480
    1 A P P E A R A N C E S:                             1   A P P E A R A N C E S:
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                                             Page 479                                       Page 481
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   Golkow Litigation Services                                              Page 2 (478 - 481)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 3Confidentiality
                                         to Further     of 95. PageID #: 471225
                                                                            Review
                                            Page 482                                             Page 484
    1   A P P E A R A N C E S:                          1             DEPOSITION EXHIBITS
    2     MARCUS & SHAPIRA LLP                                       MEREDITH B. ROSENTHAL,
          BY: RICHARD I. HALPERN, ESQUIRE               2                  Ph.D.
    3        halpern@marcus-shapira.com                                  May 5, 2019
                                                        3
             (via teleconference)                           NUMBER              DESCRIPTION         PAGE
    4     One Oxford Centre                             4
          35th Floor                                        Rosenthal-22 Data Appendix             553
    5                                                   5
          Pittsburgh, Pennsylvania 15219                    Rosenthal-23 Case and Deaton           599
          (412) 471-3490                                6           Publication
    6     Counsel for HBC Services
    7
                                                        7   Rosenthal-24 CDC Guideline for          650
    8
                                                                    Prescribing Opioids for
          FOLEY & LARDNER LLP                           8           Chronic Pain, United
          BY: KRISTINA J. MATIC, ESQUIRE                            States, 2016
    9                                                   9
             kmatic@foley.com                               Rosenthal-25 2017 Haider et al        689
             (via teleconference)                      10           Publication
   10     777 East Wisconsin Avenue                    11   Rosenthal-26 AAEM White Paper on           703
          Milwaukee, Wisconsin 53202                                Acute Pain Management in
   11     (414) 271-2400                               12           the Emergency Department
          Counsel for Anda Inc.                        13   Rosenthal-27 MD Anderson Cancer           710
   12                                                               Center Postoperative
   13   ALSO PRESENT:                                  14           Pain Management
   14    FORREST MCCLUER, Ph.D.                                     Guidelines
                                                       15
         Greylock McKinnon Associates                       Rosenthal-28 Kadian Instructions for    726
   15    (via teleconference)                          16           Use
   16                                                  17   Rosenthal-29 Joint Statement,         809
        VIDEOGRAPHER:                                               Promoting Pain Relief
   17                                                  18           and Preventing Abuse of
           VINCENT ROSICA,                                          Pain Medications: A
   18
                                                       19           Critical Balancing Act
           Golkow Litigation Technologies              20   Rosenthal-30 State of Ohio House Bill    825
   19                                                               No. 187
   20                                                  21
   21                                                       Rosenthal-31 Ohio Prescription Drug      834
   22                                                  22           Abuse Task Force Final
   23                                                               Report
                                                       23
   24                                                  24
   25                                                  25

                                            Page 483                                             Page 485
    1            INDEX                                  1             PROCEEDINGS
    2
        APPEARANCES                  478
                                                        2           (May 5, 2019 at 8:04 a.m.)
    3                                                   3           THE VIDEOGRAPHER: We're now on
        PROCEEDINGS                  485                4      record. My name is Vince Rosica. I'm
    4
    5                                                   5      a videographer for Golkow Litigation
        EXAMINATION OF MEREDITH B. ROSENTHAL, Ph.D.:    6      Services. Today's date is May 5th,
    6
          BY MR. METZ            746
                                                        7      2019, and the time is 8:04 a.m.
    7                                                   8           This video deposition is being
          BY MR. GEISE           843                    9      held in Boston, Massachusetts in the
    8
          BY MR. SOBOL            845                  10      matter of National Prescription Opiate
    9                                                  11      Litigation, MDL No. 2804 for the
   10
        CERTIFICATE              847
                                                       12      Northern District of Ohio, Eastern
   11                                                  13      Division Court.
        ERRATA                 849                     14           The deponent is Meredith
   12
        ACKNOWLEDGMENT OF DEPONENT           850       15      Rosenthal.
   13                                                  16           Counsel will be noted on the
        LAWYER'S NOTES                851
   14
                                                       17      stenographic report.
   15                                                  18           The court reporter is Mike
   16
   17
                                                       19      Miller and will now swear in the
   18                                                  20      witness.
   19                                                  21           (Witness sworn.)
   20
   21
                                                       22           MR. SOBOL: Before you begin, I
   22                                                  23      think the professor had one quick
   23
   24
                                                       24      update.
   25                                                  25           THE WITNESS: Yes. Remember

   Golkow Litigation Services                                                Page 3 (482 - 485)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 4Confidentiality
                                         to Further     of 95. PageID #: 471226
                                                                            Review
                                            Page 486                                             Page 488
    1       yesterday you were asking me about if        1       Q. Your model does not attribute
    2       I had testified in other litigation          2   any causality to manufacturers based on
    3       related to opioids, and I knew that I        3   alleged deficiencies in the suspicious order
    4       had been retained in a case, and I           4   monitoring regime?
    5       could not remember whether I had             5       A. My assignment was to examine
    6       actually testified. So I looked that         6   the impact of the allegations with regard to
    7       up, and indeed, sometime around five         7   marketing, and so I have not specifically
    8       years ago, not recently enough to            8   looked at the impact of any
    9       appear in the case captions that I           9   monitoring-related allegations.
   10       list at the back of my CV, I testified      10       Q. And that would be true also for
   11       in a matter related to Actiq, the           11   the distributors and the pharmacies; because
   12       Cephalon drug.                              12   your allegations relate to marketing, you
   13             MR. ROTH: You anticipated my          13   have not included them in any of your
   14       very first question.                        14   analyses in your reports?
   15             THE WITNESS: Excellent.               15            MR. SOBOL: Objection.
   16         MEREDITH B. ROSENTHAL, Ph.D.,             16       A. Again, my assignment was to
   17      having been previously duly sworn,           17   examine the impact of the alleged unlawful
   18           testified as follows:                   18   marketing. I have not considered other
   19   BY MR. ROTH:                                    19   conduct in my analysis.
   20       Q. What was the nature of your              20   BY MR. ROTH:
   21   expert opinion in that case?                    21       Q. We spoke yesterday about
   22       A. I did a damages analysis for             22   endogeneity, and I think I marked as
   23   class certification proceedings.                23   Exhibit 14 an article you wrote for the
   24       Q. And was it limited to a single           24   Kaiser Family Foundation, if you could pull
   25   manufacturer?                                   25   that up, please.
                                            Page 487                                             Page 489
    1       A. Yes, it was a single drug,                1        A. Let me see if Mike organized my
    2   single manufacturer. I can't recall the          2   documents. Yes. Go ahead.
    3   details. I didn't go all the way back to the     3        Q. You testified yesterday that
    4   complaint, but it was an off-label marketing     4   endogeneity did not need to be controlled for
    5   case.                                            5   in your model because it's an aggregate
    6       Q. And do you recall whether you             6   model.
    7   used a regression analysis in that case?         7        A. Yes.
    8       A. I did not.                                8        Q. Are you aware of any economic
    9       Q. Okay. May have more questions,            9   literature that does control for endogeneity
   10   but that's good for now.                        10   in an aggregate model measuring the impact of
   11            Professor Rosenthal, you               11   promotion on sales?
   12   mentioned a couple of times yesterday that      12        A. An industrywide aggregate model
   13   you excluded injectables from your analysis?    13   like mine, I'm not aware of one.
   14       A. Yes, that's right.                       14        Q. And is there a difference in
   15       Q. Why did you do that?                     15   your mind between industrywide versus
   16       A. That was in consultation with            16   classwide?
   17   counsel. So I understood they were not to be    17        A. Yes, there is. Again, if the
   18   considered in the matter, and I understand      18   notion is that whatever causes the
   19   from clinical experts that the uses of the      19   endogeneity has to be either some kind of
   20   injectables are somewhat different than the     20   simultaneous decision-making around price and
   21   orals.                                          21   quantity, for example, or a feedback loop,
   22       Q. Do you know anything about               22   and at the level of the industry, that's
   23   whether the marketing for injectables differs   23   simply not plausible, that the industry is
   24   from the marketing for the oral opioids?        24   coordinating its marketing in that way.
   25       A. I do not.                                25        Q. Your model in this case though

   Golkow Litigation Services                                                Page 4 (486 - 489)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 5Confidentiality
                                         to Further     of 95. PageID #: 471227
                                                                            Review
                                             Page 490                                             Page 492
    1   is not actually an industrywide model, is it?    1   appear in the output of my model because it's
    2       A. Again, industrywide for the               2   not relevant to my assignment. So by taking
    3   opioid industry?                                 3   out all of the -- actually, technically, it's
    4       Q. Well, except you take out all             4   sort of a double negative. I actually leave
    5   of the non-defendants from your model?           5   in all of the non-defendant promotion in the
    6       A. Well, that's not true. The                6   but-for scenario because it would have
    7   model is all of the -- all of the opioids.       7   happened regardless of whether the
    8   The but-for scenario takes -- leaves the         8   allegations are true or not.
    9   non-defendants as they were, but the model       9             By leaving that in, if it has
   10   concludes all of them.                          10   rivalrous components to it, if it has market
   11       Q. Right. So in the but-for                 11   expanding components to it, whatever that is
   12   scenario where you take out the                 12   will show up in my predictions.
   13   non-defendants, what did you do to compare      13   BY MR. ROTH:
   14   their promotional activities to the             14       Q. Yeah. What I'm trying to
   15   defendants' promotional activities?             15   understand is I think we agree that when you
   16            MR. SOBOL: Objection.                  16   look at an individual manufacturer there
   17       A. Well, such a comparison is not           17   could be endogeneity issues in the form of
   18   part of the overall analysis. Again, we've      18   price or in the form of detailing physicians
   19   talked about the Table C, which presents the    19   who are predisposed to prescribe their
   20   marketing by defendants and non-defendants,     20   product?
   21   so the data are in there.                       21       A. If we were looking at an
   22            The model itself includes              22   individual manufacturer, we could have some
   23   marketing for all opioids, and the but-for      23   of those endogeneity concerns, but I do not
   24   scenario simply disaggregates and identifies    24   look at an individual manufacturer.
   25   as a part of that process the marketing of      25       Q. I understand that.
                                             Page 491                                             Page 493
    1   non-defendants, but it does so only to           1            Even if we look at a group of
    2   generate different predictions of what sales     2   manufacturers, we would still have
    3   would have been, so there -- I did not make a    3   endogeneity concerns to a degree?
    4   statistical comparison between non-defendant     4            MR. SOBOL: Objection. Excuse
    5   and defendant promotion.                         5       me. Asked and answered.
    6   BY MR. ROTH:                                     6       A. It's my opinion that in this --
    7       Q. When you removed the                      7   when we're looking at the level of the entire
    8   non-defendants, what did you do to confirm       8   opioid industry, that the conceptual basis
    9   that that did not take out, for example, the     9   for such endogeneity concerns is really not
   10   non-rivalrous marketing and leave you with a    10   there, and even -- even if at the second
   11   set of just the rivalrous marketing?            11   stage of my analysis I parse out some subset
   12            MR. SOBOL: Objection.                  12   of defendant, of manufacturers, sorry,
   13       A. What I'm examining in my                 13   non-defendants, in particular, that in and of
   14   aggregate model is the net effect, rivalrous    14   itself doesn't raise a new endogeneity
   15   market expanding of promotion, and so the       15   concern. The model is estimated on the
   16   model calculates that average market            16   marketwide effects.
   17   expansion effect and essentially all of the     17   BY MR. ROTH:
   18   rivalrous marketing, it nets out by             18       Q. I'm trying to figure out where
   19   definition because to the extent that we're     19   the line is though. So like how many
   20   talking about rivalrous marketing as defined    20   manufacturers need to be included for all of
   21   as moving market shares from one drug to the    21   the endogeneity and rivalrous marketing
   22   other, which is basically the definition of     22   issues to just net out and show market
   23   rivalrous marketing, all the pluses have to     23   expansion as opposed to the effects of just
   24   net out with the minuses.                       24   the subset you're looking at?
   25            And so that -- that does not           25            MR. SOBOL: Objection to the
   Golkow Litigation Services                                                 Page 5 (490 - 493)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 6Confidentiality
                                         to Further     of 95. PageID #: 471228
                                                                            Review
                                              Page 494                                             Page 496
    1        form.                                        1   regression model. It is not -- the second
    2            You can answer.                          2   stage of my analysis is simply employing
    3        A. The rivalrous marketing will              3   those parameters to predict a different
    4   always net out. Again, it's just                  4   scenario, and so endogeneity, it's -- it's
    5   mathematically true that by definition,           5   not a relevant construct for that prediction
    6   marketing that only moves market share, it        6   piece.
    7   has to net out. So that's just an identity.       7   BY MR. ROTH:
    8            That will always be true when            8       Q. If you look at Exhibit 14, this
    9   we look at any subgroup of products that          9   was the article you prepared for the Kaiser
   10   we -- that the rivalrous piece will net out.     10   Family Foundation in 2003, and if you look at
   11   It just has to.                                  11   page 2, the last paragraph on the page, you
   12   BY MR. ROTH:                                     12   say: In this paper, we examine the effects
   13        Q. What about endogeneity?                  13   of two types of promotional spending for
   14        A. The endogeneity issue in my              14   brands in five therapeutic classes of drugs,
   15   opinion is where we have the entire opioid       15   using monthly aggregate data from August 1996
   16   class in the analysis. It does not make          16   through December 1999.
   17   sense to think about this month-to-month         17            Do you see that?
   18   reverse causality for marketing as a whole       18       A. I do.
   19   for the industry, relative to sales as a         19       Q. So you actually looked at five
   20   whole for the industry. It's not how             20   different classes of drugs. Do you recall
   21   individual companies set their marketing         21   what drugs they were?
   22   budgets.                                         22       A. Antidepressants, nasal sprays,
   23            It just doesn't make economic           23   nonsedating antihistamines, PPI's, which are
   24   sense to me, so for the analysis at hand,        24   proton pump inhibitors, and number 5, let me
   25   looking at the entire opioid industry, I do      25   just look at -- there are some tables that
                                              Page 495                                             Page 497
    1   not believe that there's a conceptual basis       1   are probably the easiest place. I'm blanking
    2   for the same endogeneity concerns that we         2   on the fifth one. Cholesterol,
    3   might have with an individual drug or an          3   anticholesterol drugs.
    4   individual company.                               4       Q. Turn to page 14, please.
    5       Q. Your analysis compares your                5       A. Okay.
    6   industrywide but-for scenario against a           6       Q. And on page 14 you say: We
    7   scenario with just the defendant                  7   take account of the possibility that spending
    8   manufacturers, correct?                           8   on direct-to-consumer advertising and
    9            MR. SOBOL: Objection.                    9   physician promotion and product sales are
   10       A. So my analysis ultimately                 10   jointly determined by estimating instrumental
   11   compares the predicted -- the actual             11   variables, IV, models where all three
   12   predicted sales, so that's leaving everything    12   variables are assumed to be endogenous.
   13   the same with a world in which we pull out       13             Do you see that?
   14   some subset of the marketing.                    14       A. Yes.
   15   BY MR. ROTH:                                     15       Q. And I think you said yesterday
   16       Q. So what I'm trying to                     16   this article only solved for endogeneity at
   17   understand is I understand your position on      17   the product level?
   18   the big but-for scenario with the whole          18       A. I believe so, yes.
   19   industry, but why is endogeneity not a           19       Q. Okay. And if you look at the
   20   concern for the pulled-out set of                20   bottom of page 9, in the last paragraph it
   21   manufacturers?                                   21   says: At the top level of the tree, which
   22            MR. SOBOL: Objection.                   22   represents the therapeutic class of drugs, we
   23       A. There's no estimation that's              23   estimate the impact of DTCA spending and
   24   going on there, so endogeneity is a concern      24   detailing in the context of a Cobb-Douglas
   25   when we're estimating parameters using a         25   demand specification, double logarithmic. In
   Golkow Litigation Services                                                  Page 6 (494 - 497)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 7Confidentiality
                                         to Further     of 95. PageID #: 471229
                                                                            Review
                                             Page 498                                             Page 500
    1   the analysis of competition at the individual    1        A. Unlike the research question in
    2   product level within each class we specify       2   this paper, my assignment asks me to compute
    3   and estimate three alternative models: 1, an     3   the impact of the alleged misconduct at the
    4   AIDS-type specification; 2, a logit model        4   level of the class, the industry, opioid
    5   with log of quantity share divided by, one       5   industry as a whole. And so it was not
    6   minus quantity share, on the left-hand side,     6   appropriate for me to look at individual drug
    7   and prices and promotional spending on the       7   level analyses.
    8   right-hand side; and 3, a Cobb-Douglas model     8            I maintain that at that class
    9   in log levels.                                   9   level, industry level, these endogeneity
   10            Do you see that?                       10   questions do not pertain.
   11       A. Yes, I do.                               11        Q. Did you test that hypothesis by
   12       Q. And then on page 15, under               12   looking at an individual defendant or two to
   13   Econometric Results, it says: We begin by       13   see how the issues there compare to how your
   14   presenting results in Table 3 for the top of    14   model handles endogeneity?
   15   the tree structure in Figure 2, the class       15        A. Since my assignment was an
   16   level quantity equations.                       16   aggregate assignment, I have conducted my
   17            Do you see that?                       17   analysis at the aggregate level. I have not
   18       A. I do.                                    18   conducted my analysis at the level of an
   19       Q. And then if you look at                  19   individual defendant.
   20   Table 3, which is on page 25, the top two       20        Q. And, in fact, to confirm,
   21   lines say: Class DTC and Class Detail, and      21   you've not reviewed any individual
   22   they have an asterisk that says Endogenous,     22   defendant's marketing materials for any drug
   23   IV Estimated.                                   23   at issue in this case?
   24            Do you see that?                       24            MR. SOBOL: Objection, asked
   25       A. Yes, I do. Actually, I can               25        and answered.
                                             Page 499                                             Page 501
    1   keep reading, but I think essentially the        1       A. I'm not sure what you mean by
    2   class level estimates are the sum of the         2   that exactly. I reviewed the documents that
    3   individual product level estimates. So           3   you see I relied on in my report. I would
    4   again, the instrumentation was at a product      4   consider those to be marketing materials.
    5   level.                                           5   BY MR. ROTH:
    6       Q. And then applied to the class             6       Q. You've not reviewed any
    7   level through aggregation?                       7   manufacturer's marketing plan for any drug at
    8       A. That's right.                             8   issue in this case?
    9       Q. Okay. And if you had                      9            MR. SOBOL: Objection.
   10   disaggregated individual drugs or               10       A. Again, I'm not sure that that's
   11   manufacturers in this case, you could have      11   entirely correct. I do cite to what I would
   12   applied an instrumental variables method to     12   consider to be marketing plans.
   13   each and aggregated them similarly here?        13   BY MR. ROTH:
   14            MR. SOBOL: This case, the              14       Q. Okay. Aside from the documents
   15       opioids case, not this?                     15   reflected in Attachment B or cited in your
   16            MR. ROTH: Correct, so let me           16   report, you've not reviewed any marketing
   17       reask it.                                   17   materials for any drugs at issue in this
   18            MR. SOBOL: Yeah.                       18   case?
   19   BY MR. ROTH:                                    19       A. Aside from materials cited in
   20       Q. If you had used disaggregated            20   my report, I've certainly not relied on any
   21   individual drugs or manufacturers in the        21   of those marketing materials.
   22   opioids case we're talking about now, you       22       Q. And aside from the depositions
   23   could have applied an instrumental variables    23   reflected in Attachment B, you've not
   24   model to each individual drug and then          24   reviewed any depositions from any
   25   aggregated them as you did in this article?     25   manufacturer's sales representatives?
   Golkow Litigation Services                                                 Page 7 (498 - 501)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 8Confidentiality
                                         to Further     of 95. PageID #: 471230
                                                                            Review
                                             Page 502                                             Page 504
    1        A. Aside from the depositions that          1   for the purpose of your analysis?
    2   I cite in my report, I'm not relying on any      2            MR. SOBOL: Objection, form.
    3   other deposition testimony, no.                  3       A. Again, in my report I cite
    4        Q. You've not reviewed any                  4   certain documents that have data in them
    5   testimony or other direct evidence from          5   related to marketing. I do not use those
    6   doctors about how they were affected by a        6   data in my calculations.
    7   given manufacturer's promotion?                  7   BY MR. ROTH:
    8             MR. SOBOL: Objection.                  8       Q. And I think you said yesterday,
    9        A. As I note in my report, as an            9   you made a very specific request to look for
   10   economist, asked to examine the impact of the   10   such data. Do you remember that?
   11   alleged marketing misconduct, interviewing      11       A. I did, yes.
   12   physicians would not be a scientifically        12       Q. And why did you ask for that?
   13   appropriate methodology to ascertain impact.    13       A. When I started my work, I
   14             We know that self-report is           14   wanted to know about what all the possible
   15   unreliable, particularly when it comes to       15   data sources that would be available were.
   16   behavior that may be socially unacceptable.     16       Q. And if you had a more robust
   17   BY MR. ROTH:                                    17   source of disaggregated marketing data across
   18        Q. So if doctors from Summit or            18   defendants, would you have used that to model
   19   Cuyahoga County testified at trial that they    19   promotion instead of the IQVIA data that you
   20   were detailed but it didn't affect them, as     20   used?
   21   an economist, you would dismiss that            21            MR. SOBOL: Objection.
   22   testimony?                                      22       A. I can't say for sure, but I
   23             MR. SOBOL: Objection.                 23   wanted to find all the data that I could
   24        A. As an economist, I would rely           24   from -- from discovery.
   25   on the evidence about what people do and not    25            ///
                                             Page 503                                             Page 505
    1   what people say. It's been demonstrated in       1   BY MR. ROTH:
    2   the literature, literature that I cite in my     2       Q. You did not review any
    3   report, that again, that self-report is not a    3   manufacturer's detailing call notes?
    4   reliable basis for ascertaining impact, so I     4       A. I did not review any detailing
    5   would not rely on physician self-report.         5   call notes, no.
    6   BY MR. ROTH:                                     6       Q. And I think you said this
    7       Q. If defendants presented                   7   yesterday, but just to confirm, you did not
    8   testimony from 15 doctors at trial who all       8   comprehensively review all of any given
    9   said their prescribing practices were            9   manufacturer's marketing budgets for a
   10   unaffected by opioids promotion, would your     10   specific drug in this case?
   11   position be different?                          11            MR. SOBOL: Objection, asked
   12       A. I do not believe that numeracy           12       and answered.
   13   overcomes bias. There's no scientific basis     13       A. I did not systematically review
   14   for such a conclusion, so no, I do not          14   those marketing budgets, no.
   15   believe that physician self-report is           15   BY MR. ROTH:
   16   reliable, even if there are 15 physicians.      16       Q. And so when you calculate the
   17       Q. So in your view as an                    17   percentages in Table 3 of your report, as we
   18   economist, the testimony of any number of       18   discussed, that's just a comparison of
   19   doctors regarding how they viewed the effect    19   removing each defendant's promotional
   20   of defendants' promotion has no relevance?      20   contacts in the data from the aggregate
   21       A. I would not draw any conclusion          21   model?
   22   from such testimony for the purposes that my    22            MR. SOBOL: Objection, asked
   23   report has been set forth.                      23       and answered.
   24       Q. You did not review any                   24       A. Table 3 presents alternative
   25   manufacturer's disaggregated marketing data     25   simulations of but-for scenarios in effect,
   Golkow Litigation Services                                                 Page 8 (502 - 505)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-17
                               SubjectFiled: 12/19/19 9Confidentiality
                                         to Further     of 95. PageID #: 471231
                                                                            Review
                                             Page 506                                             Page 508
    1   in which individual defendants are -- their      1       A. Well, again, you're
    2   marketing efforts are deemed to be not           2   constructing a hypothetical that's outside of
    3   subject to recovery of any kind, and so that     3   the world in which I'm actually putting this
    4   those marketing efforts are left in the          4   model together, but it would depend on the
    5   but-for scenario.                                5   level of sales.
    6             So it is a -- it's a product of        6            Essentially, as you can see in
    7   the regression -- my direct regression model.    7   my indirect model, price would cause a small
    8   BY MR. ROTH:                                     8   decline in sales over the time period.
    9       Q. I want to work with you on a              9       Q. So would it show any sales?
   10   hypothetical. So let's assume that no opioid    10       A. Well, your hypothetical is --
   11   marketing occurred beginning in 1993.           11   you didn't tell me what the baseline level of
   12       A. No opiate -- opioid marketing            12   sales was.
   13   at all?                                         13       Q. Okay. So assume a small
   14       Q. Correct, no promotion, no IQVIA          14   baseline level of sales. It would start
   15   contacts.                                       15   there and decline over time? Is that what
   16       A. Okay.                                    16   you're saying?
   17       Q. So in your model --                      17       A. Yes.
   18             MR. SOBOL: I'm sorry, just so         18       Q. Okay. So -- and the reason for
   19       it's clear, do you mean that or the         19   that is because all of the sales in your
   20       broader --                                  20   model are explained by marketing as
   21             MR. ROTH: Well, let's start           21   counterbalanced by price?
   22       with -- that's fair.                        22       A. Well, again, you have to take
   23             MR. SOBOL: You know what I            23   into account the specifics of the
   24       mean?                                       24   specification I used. So the sales are
   25             MR. ROTH: That's fair.                25   explained by marketing in combination with
                                             Page 507                                             Page 509
    1   BY MR. ROTH:                                     1   the depreciation rate in combination with the
    2       Q. So let's start with no                    2   specific functional form I use.
    3   promotion at all, no marketing, no detailing,    3              Your hypothetical is not one
    4   no articles, nothing, a world without            4   that makes any sense to me as a health
    5   promotion, okay?                                 5   economist, and it's generally good practice
    6       A. Okay.                                     6   in applied economic analysis to not
    7            MR. SOBOL: Sounds wonderful.            7   extrapolate too far outside of the world
    8   BY MR. ROTH:                                     8   you're analyzing. So we don't want to
    9       Q. All right. So if promotion                9   forecast 50 years out from this model.
   10   hadn't occurred since 1993, the only thing      10              Likewise, to apply it to a
   11   your model would use would be price and the     11   world in which there's no marketing when that
   12   constant terms.                                 12   is so different from the world that we're in,
   13            MR. SOBOL: Objection.                  13   is -- it's a stretch that doesn't make a lot
   14            But you can answer.                    14   of sense to me as a hypothetical.
   15   BY MR. ROTH:                                    15        Q. But in order to test whether
   16       Q. Correct?                                 16   your model allows for anything but marketing
   17       A. You're sort of suggesting that           17   to cause sales, does it not make sense to set
   18   the underlying data would be totally            18   marketing at zero?
   19   different, but yes, the -- if the stock of      19        A. It does not make sense to me to
   20   promotion is always zero, then it wouldn't      20   set marketing at zero. That's not something
   21   enter into the estimation, so it would be       21   I would do in a model like this.
   22   price and the constant term, yes.               22        Q. All right. If we do set
   23       Q. What does your model say the             23   marketing to zero, however, it shows that no
   24   level of sales would be if the stock of         24   other factors are driving an increase in
   25   promotion is always set to zero?                25   sales in your model?

   Golkow Litigation Services                                                 Page 9 (506 - 509)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further10Confidentiality
                                                         of 95. PageID #: 471232
                                                                             Review
                                             Page 510                                              Page 512
     1       A. In the model, if -- if                    1   trying to explain is growth over time, so
     2   promotion were at zero, Model C might look       2   that's not the same as what might explain
     3   different. In fact, promotion is the             3   levels.
     4   dominant factor driving sales, so what you're    4            Second, I would say that the
     5   asking is a hypothetical that essentially        5   model demonstrates that promotion causes
     6   assumes away what we know the fundamental        6   sales. It is not an inherent assumption.
     7   sales driver is in this industry, and so it's    7   The basic structure of my model is the same
     8   a nonsensical hypothetical to me.                8   as the models in the published papers that we
     9       Q. And when you say you know the             9   looked at that use aggregate time series data
    10   fundamental sales driver for opioids is         10   because in time series, we're looking at the
    11   marketing, how do you know that?                11   factors that drive changes over time, and
    12       A. Look at Dr. Perri's report.              12   prices and promotion are those factors.
    13   Look at any of the articles that we've talked   13   BY MR. ROTH:
    14   about. Promotion is critically important in     14       Q. In your view, your model proves
    15   the pharmaceutical industry.                    15   the hypothesis that promotion of opioids
    16       Q. That's an assumption you're              16   drives increased sales of opioids?
    17   making based on Dr. Perri, not something that   17       A. Yes, that is the conclusion I
    18   you've studied specifically in the opioid       18   reach in my report.
    19   industry before, correct?                       19       Q. And before you put your
    20            MR. SOBOL: Objection.                  20   regression model together, you believed that
    21       Objection, asked and answered.              21   promotion of opioids drove sales of opioids?
    22       A. That's -- it's based on                  22       A. As a health economist and as
    23   economic theory. It's based on economic and     23   someone who's done work in this area before,
    24   marketing analysis. It's not an assumption      24   my priors were that promotion is an important
    25   that I'm just taking from Dr. Perri.            25   factor in causing sales increases, yes.
                                             Page 511                                              Page 513
     1   BY MR. ROTH:                                     1        Q. And, in fact, nothing aside
     2        Q. So in your view, a model that            2   from promotion in your model would allow for
     3   allows for nothing but promotion to predict      3   an increase in the sales of opioids?
     4   positive sales is reasonable because you         4            MR. SOBOL: Objection.
     5   believe promotion is what drives marketing       5        A. In setting up the model, before
     6   for opioids?                                     6   doing the analysis, while I expected prices
     7            MR. SOBOL: Objection.                   7   to have the relationship with sales that they
     8            MR. ROTH: Sorry, that was a             8   did, I did not know whether the prices, as we
     9        bad question. Let me rephrase it.           9   discussed yesterday, would be rising or
    10   BY MR. ROTH:                                    10   falling.
    11        Q. In your view, a model that              11            So as a matter of specifying
    12   allows for nothing but promotion to predict     12   the model, the effect of prices could have
    13   positive sales is reasonable because you        13   been either to accelerate or decelerate
    14   believe promotion is what drives sales for      14   growth.
    15   opioids?                                        15   BY MR. ROTH:
    16            MR. SOBOL: Objection.                  16        Q. That was a good answer, but I
    17        A. I think there are many issues I         17   don't think it directly responded to my
    18   would have with that statement. So, first of    18   question.
    19   all, my model is looking at the extent to       19            In your model --
    20   which promotion is driving increases in         20            MR. SOBOL: That's a
    21   sales.                                          21        contradiction.
    22            As we talked about at length           22   BY MR. ROTH:
    23   yesterday, there may be things that affect      23        Q. In your model, there is nothing
    24   whether a particular patient or a particular    24   aside from increased promotion that causes an
    25   physician uses a specific medicine. What I'm    25   increase in the sale of opioids?

   Golkow Litigation Services                                                Page 10 (510 - 513)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further11Confidentiality
                                                         of 95. PageID #: 471233
                                                                             Review
                                             Page 514                                              Page 516
     1           MR. SOBOL: Objection, asked              1   that's not a scenario I've looked at.
     2       and answered.                                2       Q. You spoke a minute ago about
     3       A. Again, in the model as                    3   Model C. I want to come back to that for a
     4   specified, prices could have had either a        4   minute.
     5   positive or negative effect, not because the     5            If you turn to Table 1.
     6   coefficient could have been positive or          6       A. 47.
     7   negative, but because the trend could have       7       Q. Thank you.
     8   been positive or negative.                       8       A. Mine is getting well leafed.
     9           In practice, when I estimated            9       Q. And actually, that's not the
    10   the model, the underlying data suggested that   10   one I want. I'm sorry. I went the wrong
    11   prices were, in fact, increasing, and thus      11   way. I actually want Attachment D, the table
    12   decreasing sales, and so promotion is the       12   that shows your coefficients for Model C.
    13   single variable in Model B that is causing      13       A. Okay.
    14   increases in sales.                             14       Q. So I think it's D.8.
    15           In Model C, as we talked about          15       A. No.
    16   yesterday, one of the dummy variables appears   16       Q. No, D.8. Table D.8.
    17   positive in a way that is counterintuitive;     17       A. Oh, Table D.8, sorry.
    18   nonetheless, it accounts for some of that       18       Q. Yeah. You numbered the tables
    19   sales growth.                                   19   the same way as the pages. It makes it
    20   BY MR. ROTH:                                    20   confusing.
    21       Q. You included no other variables          21       A. Very confusing, okay.
    22   in your direct regression model beyond price    22       Q. So in Table D.8, the stock of
    23   and promotion; is that right?                   23   promotion with the trend for the period
    24       A. In Model B, I include price,             24   starting in August 10 is negative; is that
    25   promotion, the constant, and I estimate the     25   right?
                                             Page 515                                              Page 517
     1   depreciation rate.                               1        A. That's right.
     2            In Model C, I include those             2        Q. And you maintain the negative
     3   five event dummies.                              3   depreciation rate, which means sort of
     4       Q. What did you do to measure the            4   growing stock of promotion even in that
     5   impact of non-defendant promotion on market      5   period?
     6   expansion?                                       6        A. Right.
     7            MR. SOBOL: Objection, asked             7        Q. And we spoke about that a
     8       and answered.                                8   little bit yesterday, but can you just
     9       A. My model is an aggregate model            9   explain for me why it is that the
    10   and the estimation includes defendants and      10   effectiveness of promotion as a whole is
    11   non-defendants, and so the coefficient          11   declining but the stock of promotion
    12   estimated on promotion in the model pertains    12   continues to grow in the third period of your
    13   to the impact of both defendants and            13   model?
    14   non-defendants.                                 14             MR. SOBOL: Asked and answered.
    15   BY MR. ROTH:                                    15             You can answer.
    16       Q. Your but-for world in your               16        A. Yes. The depreciation rate, I
    17   model excludes defendant promotion?             17   estimate a single depreciation rate over the
    18       A. The but-for scenario excludes            18   entire time period, and it's my belief that
    19   defendant promotion, yes.                       19   the negative depreciation rate reflects the
    20       Q. What is the result if the                20   addictive nature of opioids.
    21   but-for world excludes all promotion and        21             That does not change in the
    22   keeps all else equal?                           22   latter part of the period, so despite the
    23       A. I have not been asked to look            23   fact that the marginal productivity of
    24   at a but-for scenario. As we were talking       24   promotion is declining over that period, the
    25   before about the idea of zero promotion,        25   idea that the stock of promotion continues to
   Golkow Litigation Services                                                Page 11 (514 - 517)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further12Confidentiality
                                                         of 95. PageID #: 471234
                                                                             Review
                                              Page 518                                             Page 520
     1   grow is not conceptually inconsistent.           1       A. I think we're getting a little
     2   BY MR. ROTH:                                     2   too far out of my expertise and into clinical
     3       Q. We agree that all detailing is            3   questions.
     4   not equally effective?                           4       Q. Do you believe that promotion
     5             MR. SOBOL: Objection.                  5   has a greater impact on the very first
     6       A. I -- here I am trying to                  6   prescription a physician writes for a therapy
     7   estimate -- I am estimating the average          7   like opioids or for subsequent prescriptions
     8   effect of detailing. There may be some           8   the physician may write for the same drug?
     9   variation in that effect, but I'm interested     9            MR. SOBOL: Objection.
    10   in the aggregate impact.                        10       A. I'm not sure it makes
    11             And so the fact that my               11   conceptual sense to distinguish that. I
    12   analysis averages across some -- some           12   think that there is a -- there is an inherent
    13   variation is not mathematically a problem.      13   connection that happens when someone starts
    14   It will still lead me to the right answer in    14   on a medicine. They have a higher
    15   terms of the aggregate impact.                  15   probability of being on that medicine next
    16   BY MR. ROTH:                                    16   month than someone who didn't start, right,
    17       Q. I assume you agree based on the          17   so that -- that would be a natural underlying
    18   way you've constructed Model B that the         18   connection between the two things.
    19   effectiveness of detailing changes over time?   19            It may be that promotion also
    20       A. That is what Model B captures.           20   has a reminder effect, and so that would be
    21       Q. Right. Detailing that may have           21   an increment in addition to the fact of that
    22   been effective earlier in time may become       22   patients once on a drug may be likely to stay
    23   less effective over time as new information     23   on a drug.
    24   comes to light?                                 24            I have not tried to distinguish
    25       A. Well, I think the premise                25   those factors.
                                              Page 519                                             Page 521
     1   you're suggesting there is, again, it ignores    1   BY MR. ROTH:
     2   the addictive nature of the product, so once     2       Q. Is that an issue that you have
     3   a patient is using opioids and has increasing    3   studied or seen economic literature on,
     4   needs for higher doses; whether or not the       4   whether promotion is more effective at
     5   specific messages are still in the mind of       5   getting doctors to initiate a therapy versus
     6   their physician, they are nonetheless            6   maintain a therapy they've already used in
     7   addicted to the product or tolerant of the       7   the past?
     8   product and requiring higher and higher doses    8       A. Again, for the purposes of my
     9   which will show up in my data as higher and      9   analysis, I had no need or wish to
    10   higher MMEs.                                    10   distinguish between those things. I can't
    11            So I can't quite agree with the        11   point to a paper right now, but I believe
    12   premise and its relevance to the analysis.      12   that maybe someone has done that.
    13       Q. Based on your last answer, I             13       Q. I assume you're aware there are
    14   assume you'd agree that when a patient          14   different classes of opioids, correct?
    15   receives higher doses of opioids, that may be   15       A. There are different molecules,
    16   a sign of tolerance as opposed to addiction?    16   like oxycodone and hydrocodone, is that what
    17       A. Yes, higher doses may be                 17   you're referring to when you say classes?
    18   tolerance and not necessarily addiction.        18       Q. Well, there are different
    19   Again, I'm not a clinical expert, so I want     19   molecules, that's one thing.
    20   to be careful not to go too far with that.      20       A. Yes.
    21       Q. In fact, a patient who is being          21       Q. There are different
    22   successfully treated with opioids for chronic   22   formulations, right?
    23   pain may become tolerant and need a higher      23       A. Yes.
    24   dose to achieve the same pain deterrent         24       Q. There are different methods of
    25   effect?                                         25   administration?
   Golkow Litigation Services                                                Page 12 (518 - 521)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further13Confidentiality
                                                         of 95. PageID #: 471235
                                                                             Review
                                             Page 522                                             Page 524
     1       A. Yes.                                     1   form of a memo from Mr. McCluer to you and
     2       Q. There's a patch, right?                  2   Mr. Sobol?
     3       A. Yes.                                     3       A. I'm not sure I can answer that
     4       Q. There's that sublingual spray?           4   question.
     5       A. Yes.                                     5       Q. But it sounds like the errors
     6       Q. And then there's pills and               6   were identified some by you and some by the
     7   injectables, for example?                       7   staff?
     8       A. Yes.                                     8       A. Yes, that's correct.
     9           MR. SOBOL: Film.                        9       Q. Do you know who caught the
    10   BY MR. ROTH:                                   10   Table 3 error?
    11       Q. Film?                                   11       A. That was me.
    12       A. Yes, I'm aware that there are           12       Q. I feel bad for the staff on
    13   different formulations.                        13   that one. And what about the --
    14       Q. And there's also                        14       A. I'm not the yelling type.
    15   immediate-release opioids and                  15       Q. And what about the statistical
    16   extended-release opioids, correct?             16   significance error, was that you or the
    17       A. Yes, that's correct.                    17   staff?
    18       Q. And for the purpose of your             18       A. That was the staff.
    19   models, apart from the injectables, all of     19       Q. Let's turn to your indirect
    20   those various forms of opioids are included?   20   model.
    21       A. Yes, that's correct.                    21       A. Okay.
    22       Q. Did the manufacturers'                  22       Q. So you talk about your indirect
    23   marketing budgets that you reviewed show       23   model beginning at paragraph 78 of your
    24   increased marketing spending over time?        24   report.
    25       A. As I sit here, I don't recall.          25            And I guess just taking a step
                                             Page 523                                             Page 525
     1       Q. Would you agree that if the              1   back before we get into specifics: Do you
     2   depreciation rate augments the stock of         2   have a preference for your direct over your
     3   detailing over time, it would be irrational     3   indirect model in this case?
     4   to keep spending money on promotion?            4       A. I believe they have strengths.
     5            MR. SOBOL: Objection.                  5   Each of them has strengths, so in my
     6       A. No, I don't think that that              6   opinions, I have not favored one over the
     7   would be a conclusion that I would agree        7   other.
     8   with.                                           8       Q. In general when you perform
     9   BY MR. ROTH:                                    9   regression analysis, do you have any
    10       Q. And why not?                            10   preference for a direct approach versus an
    11       A. The more effective your                 11   indirect approach?
    12   marketing is, the more you want to spend on    12       A. No preference. I think these
    13   it.                                            13   kinds of models are really context specific.
    14            MR. SOBOL: An answer I                14       Q. And if you look at page 53,
    15       understood.                                15   paragraph 78, you start by saying: As noted
    16   BY MR. ROTH:                                   16   earlier, the direct method of estimation is
    17       Q. We spoke briefly about your             17   limited in part by the extent to which we can
    18   errata yesterday. Can you just tell me how     18   measure and include in the models all of the
    19   did that errata come about?                    19   tactics allegedly employed by defendants,
    20       A. That came about from review             20   including manipulation of various
    21   partly, my very careful review as I was        21   professional societies and accrediting
    22   preparing for this deposition, and the staff   22   bodies.
    23   doing the same.                                23             Did I read that correctly?
    24       Q. Got it.                                 24       A. Yes, you did.
    25            And then why did it come in the       25       Q. And that's based on the
   Golkow Litigation Services                                               Page 13 (522 - 525)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further14Confidentiality
                                                         of 95. PageID #: 471236
                                                                             Review
                                              Page 526                                             Page 528
     1   allegations that you reviewed?                   1        of this somewhere?
     2       A. That's correct.                           2             THE WITNESS: Not in my report.
     3       Q. Would you agree that if a                 3             MR. ROTH: Just for you. I
     4   defendant did not engage in promotion other      4        don't think we've seen that. I would
     5   than the detailing measured by the IPS data,     5        love to see it.
     6   the direct model would be a more appropriate     6   BY MR. ROTH:
     7   measure of that particular defendant's impact    7        Q. So looking at the two tables
     8   on the aggregate MMEs?                           8   next to each other, I guess just first taking
     9       A. My assignment was to calculate            9   the bottom line, in Table 2, the direct Model
    10   aggregate impact, so I have not considered      10   B estimates that 44.9% of MMEs are
    11   how to calculate impact for a single            11   attributable to defendants' detailing.
    12   defendant.                                      12             Do you see that?
    13            As we talked about yesterday, I        13        A. Yes.
    14   think there are some complicated questions      14        Q. And in Table 5, the indirect
    15   about how to deal with the spillover effect,    15   method suggests that 67% of MME shipments are
    16   so I have not undertaken to do that.            16   attributable to defendants' detailing; is
    17       Q. As we've discussed fairly                17   that right?
    18   exhaustively, your direct Model B explains      18        A. That's correct.
    19   over 99% of the variation in MME sales based    19        Q. So that's a 22% delta -- well,
    20   on the detailing data in IQVIA.                 20   that's a bad question because that's not how
    21       A. Yes, it does.                            21   math works.
    22       Q. Does that not suggest that the           22             MR. SOBOL: Right.
    23   effect of all of these other types of           23   BY MR. ROTH:
    24   promotion is negligible at best?                24        Q. It's 22% higher -- well, the
    25       A. It may well be the case that             25   numbers are what they are, but it's 44.9%
                                              Page 527                                             Page 529
     1   the amount of variation that is picked up by     1   and 67% -- it's actually 50% higher, I think,
     2   a broader measure of promotion would not be      2   if I'm doing the math right.
     3   so much more. The indirect model is              3        A. It is 22 percentage points or
     4   conceptually quite different, however.           4   about 50% higher than the direct estimate.
     5       Q. So if you compare Table 5,                5        Q. You said it better than I
     6   which is on page 61 -- let's take a step         6   could.
     7   back, lay some foundation.                       7            How is that possible given that
     8       A. Sure.                                     8   you had a 99% R-squared in the direct model
     9       Q. So Table 5 on page 61 is the              9   that your indirect model could estimate twice
    10   output of your indirect model, correct?         10   as much impact by defendants' promotion?
    11       A. It is.                                   11        A. As I mentioned, they are
    12       Q. Okay. We talked yesterday                12   conceptually very different kinds of
    13   about Table 2, which is the output of your      13   analyses, so whether or not detailing
    14   direct model and appears on page --             14   explains the vast majority of the variation
    15       A. Should I bend the corner so we           15   in sales, it does not account for -- it
    16   can go back and forth?                          16   accounts for a smaller percentage of total
    17       Q. Yes, good idea.                          17   sales, so the magnitude of effect is not the
    18           So I want to compare the direct         18   same thing as the amount of variation
    19   output in Table 5 on page 61 -- sorry, strike   19   explained, right?
    20   that.                                           20            And the indirect model takes
    21           I want to compare the indirect          21   the position that there are these long run
    22   model output in Table 5 on page 61 with the     22   factors that may -- that we can see are
    23   direct model output in Table 2 on page 51.      23   relevant to demand in -- across areas, and if
    24       A. Okay.                                    24   we extend those forward, looking at the
    25           MR. SOBOL: Do we have a graph           25   growth in MMEs only as a result of those
   Golkow Litigation Services                                                Page 14 (526 - 529)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further15Confidentiality
                                                         of 95. PageID #: 471237
                                                                             Review
                                              Page 530                                            Page 532
     1   factors, that's another version of what the      1   of MMEs.
     2   world would have been like.                      2        Q. And you chose that because that
     3            It assumes, again, that the             3   was the earliest year available in ARCOS?
     4   drivers of the massive growth we saw were        4        A. Yes, that's correct.
     5   only related to defendant promotion, and so      5        Q. How did you construct the
     6   it allows defendant promotion to affect sales    6   explanatory variables you used in the
     7   in a broader way than the direct model does.     7   indirect model?
     8        Q. In the direct model, I believe           8        A. The explanatory variables come
     9   you went through 2018; is that right?            9   from a variety of sources that I think we
    10        A. Yes. There were differences in          10   reviewed at a very high level yesterday.
    11   data availability, so yes.                      11   They're county level -- we haven't exactly
    12        Q. Right. So that was what I was           12   talked about. So this is a county level
    13   going to ask you.                               13   cross-sectional analysis and we bring in data
    14            Direct goes through 2018,              14   from a variety of government economic sources
    15   indirect only goes through 2016?                15   and other sources to capture county-level
    16        A. Yes. And as I'm sure we'll get          16   information.
    17   to also, because the ARCOS data start in        17        Q. And we spoke about this a
    18   1997, I do, I backcast for '95 and '96, but     18   little yesterday with respect to Professor
    19   really I'm starting in 1997.                    19   Cutler.
    20        Q. Got it. So direct, you go '95           20        A. Yes.
    21   to 2018; indirect, you go from '97 to 2016.     21        Q. But the same question for you:
    22        A. That's correct.                         22   Why did you decide to use national data and
    23        Q. Okay. And that's just because           23   do a national model for direct regression,
    24   of just data limitations?                       24   but then do your indirect regression analysis
    25        A. That's correct.                         25   based on county-level data?
                                              Page 531                                            Page 533
     1       Q. If you had the other years, you           1             MR. SOBOL: Objection, asked
     2   would use them in the indirect model?            2       and answered.
     3       A. That's correct.                           3       A. Sure. The time series analysis
     4       Q. If you look at paragraph 82 of            4   that I did is appropriately done at the
     5   your report, you describe your indirect model    5   national level. We're trying to calculate
     6   as a form of residual analysis.                  6   national aggregate impact and the factors
     7            Do you see that?                        7   that drive sales over time make sense to do
     8       A. Yes.                                      8   in -- at a national level there. We don't
     9       Q. And can you explain what a                9   have promotional data at a county level, so
    10   residual analysis is?                           10   it would not be possible to do a direct model
    11       A. Well, a residual is the                  11   at this level.
    12   leftover part, and so a residual analysis is    12             On the other hand, and this is
    13   an analysis that draws inferences not from      13   why the indirect model complements the direct
    14   something included, but something excluded.     14   model, we can look cross-sectionally at
    15       Q. Sort of like in accounting,              15   variation in these socioeconomic and
    16   when you depreciate something, what's left      16   demographic variables because there's a fair
    17   after you've depreciated it is the residual?    17   amount of cross-sectional variation, and get
    18       A. Is it? Yeah, perhaps.                    18   reasonably precise estimates of the effect of
    19       Q. Except if the depreciation               19   those factors on MMEs.
    20   somehow appreciates, but we won't go there      20             And so the cross-sectional
    21   again.                                          21   model works at the county level, and then
    22            What is the baseline of your           22   rather than having to estimate the effects of
    23   indirect model?                                 23   those variables over time, we can trend them
    24       A. The baseline for the indirect            24   forward based on the cross-sectional
    25   model as I just mentioned is the 1997 level     25   analysis.

   Golkow Litigation Services                                                Page 15 (530 - 533)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further16Confidentiality
                                                         of 95. PageID #: 471238
                                                                             Review
                                              Page 534                                            Page 536
     1   BY MR. ROTH:                                     1   starting the analysis in 1997 do. One is I
     2       Q. If you look at paragraph 79,              2   start already with a level of MMEs that if
     3   which is on page 53, you say: The indirect       3   the allegations are true, they're inflated.
     4   model begins with a regression analysis of       4             And, two, what I was trying to
     5   the relationship between opioid sales and the    5   say is it's not that the socioeconomic status
     6   demographic, economic and healthcare             6   of the counties is affected, although that
     7   characteristics of an area ideally during the    7   can certainly happen in the long run, but
     8   period prior to the misconduct.                  8   instead that the relationship between
     9            Do you see that?                        9   socioeconomic status and MMEs may have
    10       A. Yes, I do.                               10   already been affected by the promotion.
    11       Q. So what do you mean when you             11             So, you know, if, for example,
    12   say ideally it would be from the period prior   12   the marketing is differentially affecting
    13   to the misconduct?                              13   certain groups, then that could show up in
    14       A. Well, to the extent the                  14   the cross-sectional analysis, and so that's
    15   misconduct is affecting the relationships       15   what I meant.
    16   between the right-hand side variables, those    16       Q. And the reason you say it's
    17   are the demographic, socioeconomic and          17   conservative is because directionally you
    18   healthcare variables that we include,           18   would think that the marketing would cause
    19   estimation during this period could -- could    19   those factors to predict more MMEs than they
    20   affect the results.                             20   would absent the marketing having already
    21            And again, the level of MMEs in        21   occurred?
    22   1997, if the allegations are true, are          22       A. Yes. And again, the first
    23   already affected by the misconduct, but I       23   part, the fact that the levels directionally,
    24   believe this makes my analysis conservative     24   again, under the assumption that the alleged
    25   by starting two years into the damage           25   misconduct had been occurring for two years,
                                              Page 535                                            Page 537
     1   period -- or not the damage period, but the      1   the levels would certainly be inflated
     2   period of alleged misconduct.                    2   relative to a but-for scenario in which there
     3       Q. So you're taking data from the            3   was no misconduct.
     4   period of alleged misconduct in 1997 because     4       Q. Do you agree that for an
     5   your assumption is the period of alleged         5   indirect regression you should include any
     6   misconduct will be proven back to 1995?          6   variable that might impact opioid sales?
     7       A. That's correct.                           7       A. For the indirect regression, I
     8       Q. And you say this makes it                 8   am including all the variables that should be
     9   conservative because the factors may have        9   cross-sectionally associated with that, so
    10   already been influenced and thus there would    10   they -- just to be clear, that these are
    11   be a higher likelihood to see prescriptions     11   variables that can be measured at a county
    12   from the demographic factors which have some    12   level, so not individual patient level, but
    13   effect of the misconduct already?               13   at a county level will vary across counties
    14       A. Potentially.                             14   and will predict use.
    15       Q. Okay. And what would be your             15       Q. And if there are variables that
    16   basis to think that the demographic, economic   16   are cross-sectionally related to sales that
    17   and healthcare characteristics in Summit or     17   are omitted, that could cause issues with
    18   Cuyahoga Counties were already seeing the       18   overestimating the amount of sales impacted
    19   effects of opioids in 1997?                     19   by promotion?
    20       A. Wait, so just to be clear,               20       A. In any regression model, an
    21   actually, the -- what you just said doesn't     21   applied economist will have to consider the
    22   quite make sense, so let me just -- I           22   possibility of omitted variables. It is also
    23   probably should have provided a much longer     23   in tension with the idea that if you throw in
    24   answer to the last question.                    24   hundreds of variables, you get nonsense soup
    25            So what the two things that            25   out of it, and so there's always going to be
   Golkow Litigation Services                                                Page 16 (534 - 537)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further17Confidentiality
                                                         of 95. PageID #: 471239
                                                                             Review
                                              Page 538                                             Page 540
     1   some tension there, but certainly one            1       generally.
     2   considers important omitted variables.           2   BY MR. ROTH:
     3        Q. Yeah, I mean, if I understand            3       Q. My question, just asking it
     4   it, the point of an indirect regression is to    4   more broadly, is -- and it sounds like you
     5   essentially solve for a variable by including    5   don't know the answer, so let me strike that
     6   everything but that variable that explains or    6   and start with a clean question.
     7   could explain the outcome?                       7            You don't know whether you
     8        A. Yes. I just want to be clear             8   could have used the same IQVIA data for MMEs
     9   that the word "everything" makes it seem like    9   used in your direct model in your indirect
    10   you could actually estimate a regression with   10   model at a county level?
    11   hundreds of variables. There are degrees of     11       A. I don't. I think the NPA is
    12   freedom. There can be problems from trying      12   just a national-level dataset. I did compare
    13   to put everything in.                           13   MMEs in total in the ARCOS data to the IQVIA
    14             So in principle, you're right.        14   data, and I found them to be almost
    15   We're trying to make sure that we include the   15   identical.
    16   important factors, and I believe I have done    16            I note one place where the
    17   so here.                                        17   ARCOS data are not detailed enough to allow
    18        Q. Okay. So I want to talk a               18   me to omit certain Schedule III codeines and
    19   little bit about the mechanics first.           19   hydrocodones, I think. Yeah.
    20             So you look at opioid shipments       20       Q. And that was going to be my
    21   by county, correct?                             21   next question.
    22        A. That's correct.                         22       A. Sure.
    23        Q. And why did you use shipments           23       Q. So if you had used IQVIA data,
    24   in your indirect model as opposed to            24   you could have taken out the Schedule IIIs,
    25   prescriptions?                                  25   but because you used ARCOS data, you had to
                                              Page 539                                             Page 541
     1       A. These are words that describe             1   leave certain Schedule IIIs in your analysis?
     2   the same thing in effect. So these are the       2        A. That's correct. They're not --
     3   ARCOS data. They use the terminology             3   you can't identify them because the data
     4   shipments. They don't track prescriptions.       4   aren't granular enough.
     5   They track controlled substances that move       5             And I note in my report that
     6   from one set of hands to another. And so         6   that affects about 2?%. Just to be clear, I
     7   these are using their nomenclature.              7   realized it's not an error, but it's not a
     8             At the end of the day, I --            8   hundred percent clear that that 2?% is really
     9   these are MMEs, just like my MMEs in the         9   of those classes, of those molecules that
    10   direct model. They correspond. And, in          10   have both Schedule II and Schedule III drugs,
    11   fact, if you graph the two sets of data,        11   it's less than 1% of the total.
    12   they're very close.                             12             So again, when I compared the
    13       Q. Can the IQVIA NPA data be                13   ARCOS MMEs and the IQVIA MMEs, they look
    14   disaggregated to a county level?                14   almost identical.
    15       A. It cannot. Actually, I'm not a           15             (Interruption by the reporter.)
    16   hundred percent sure as I sit here. Again,      16             MR. ROTH: I think we need a
    17   as we talked about yesterday, it's the          17        quick break.
    18   detailing data that definitely can't be         18             THE VIDEOGRAPHER: The time is
    19   disaggregated. I can't remember whether the     19        9:04 a.m. We're off the record.
    20   NPA can be disaggregated too.                   20             (Recess taken, 9:04 a.m. to
    21       Q. So as you sit here, you're               21        9:16 a.m.)
    22   not --                                          22             THE VIDEOGRAPHER: The time is
    23             MR. SOBOL: You mean on its own        23        9:16 a.m. We're back on the record.
    24       as opposed to using other tools?            24   BY MR. ROTH:
    25             MR. ROTH: No, I just mean             25        Q. Just to go back to something we

   Golkow Litigation Services                                                Page 17 (538 - 541)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further18Confidentiality
                                                         of 95. PageID #: 471240
                                                                             Review
                                              Page 542                                            Page 544
     1   were talking about before the break, so your     1            MR. SOBOL: Objection.
     2   testimony is that picking '97 is conservative    2       A. I don't know the answer to that
     3   because the unlawful conduct based on your       3   question because I don't know how liability
     4   assumptions started in '95, correct?             4   would be allocated. The models calculate
     5       A. Yes.                                      5   aggregate impact, and as I've shown in
     6       Q. You are aware that many of the            6   Table 3, we can change that aggregate.
     7   drugs at issue in this case were not on the      7            It is possible -- again, I
     8   market in 1997?                                  8   haven't been asked to do this, but it is
     9       A. I'm aware that certainly some             9   possible to use a similar approach to
    10   of the drugs enter later, yes.                  10   construct one kind of liability allocation,
    11       Q. So for manufacturers who did             11   which would be to look at the levels of
    12   not have any drug on the market in '97 or       12   detailing across defendants and use that in
    13   even '98 or '99 or until later, you actually    13   Table 3 in a different way.
    14   did choose a pre-misconduct period for those    14   BY MR. ROTH:
    15   manufacturers?                                  15       Q. None of the work or models
    16       A. Well, again, I have been asked           16   you've done in this case allow you to
    17   to characterize the aggregate impact of         17   allocate liability to a specific defendant
    18   marketing on sales here, so I haven't -- and    18   based on only that defendant's alleged
    19   I'm certainly not a lawyer, but I haven't       19   promotion?
    20   given a thought to allocating liability         20            MR. SOBOL: Objection, asked
    21   across defendants in any way. I would           21       and answered.
    22   acknowledge that some defendants entered        22       A. Well, again, I'm not a lawyer,
    23   later than that with some drugs.                23   but it seems to me that one method of
    24       Q. Right. And because you looked            24   allocating liability is in proportion to
    25   at an aggregate, if a single manufacturer had   25   one's detailing efforts, and I have an
                                              Page 543                                            Page 545
     1   a product on the market, the remaining           1   aggregate impact that can be allocated in
     2   manufacturers would all be subject to            2   proportion to detailing using a similar
     3   whatever the aggregate model shows as the        3   approach to the way Table 3 assesses
     4   impact from that one product even though it      4   aggregate impact for different combinations
     5   wasn't theirs?                                   5   of defendants.
     6            MR. SOBOL: Objection.                   6   BY MR. ROTH:
     7       A. Well, I think that you                    7       Q. So I understand that your
     8   misunderstood the cross-sectional analysis.      8   Table 3 allows you to allocate to defendants
     9   So again, the cross-sectional analysis is        9   their share of the promotional contacts in
    10   really capturing the effect of things like      10   the data, correct?
    11   the age distribution and employment and the     11            MR. SOBOL: Objection, asked
    12   like. So that's not a question of something     12       and answered.
    13   to which liability is being attached.           13       A. It is not based just on their
    14            So it's really just trying to          14   share of the promotional contacts, but it's
    15   get a precise measure of those effects, and     15   based on the difference in aggregate
    16   yes, that's the basis for projecting forward,   16   prescribing that would occur with and without
    17   but the projections forward, they don't         17   their marketing happening.
    18   assign any liability to those early             18            So it's not -- as we talked
    19   relationships.                                  19   about yesterday, it's not strictly -- it goes
    20   BY MR. ROTH:                                    20   through the model.
    21       Q. And just so we're perfectly              21   BY MR. ROTH:
    22   clear, none of the models or the work you've    22       Q. Okay. Your assignment was to
    23   done to date allows you to allocate liability   23   develop an aggregate model of the impact of
    24   to an individual defendant in this case,        24   detailing on MMEs, correct?
    25   correct?                                        25            MR. SOBOL: Objection.
   Golkow Litigation Services                                                Page 18 (542 - 545)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further19Confidentiality
                                                         of 95. PageID #: 471241
                                                                             Review
                                             Page 546                                              Page 548
     1       A. Just to be crystal clear, my              1       asked and answered.
     2   assignment was to estimate aggregate impact      2            But you may answer.
     3   using the best available methods.                3       A. You have used the terminology
     4   BY MR. ROTH:                                     4   as a ratio, and that is not what happens in
     5       Q. Right. And you've said                    5   Table 3.
     6   numerous times throughout the last two days      6            So again, I don't know what the
     7   that your assignment was not to determine        7   court will want, but what I can do with my
     8   liability, correct?                              8   aggregate model is I can use the econometric
     9       A. Yes. I am -- I am not going               9   results and create different but-for
    10   to -- my opinions relate to the effect of       10   scenarios, one set of which would be to focus
    11   marketing, and how that relates to liability    11   on individual defendants isolated from
    12   and recovery is not part of my assignment.      12   others.
    13       Q. Okay. So unless the court                13            That's similar to what I've
    14   allows the plaintiffs to prove liability        14   done in Table 3, but that's not allocating
    15   based on each individual defendant's share of   15   based on a ratio. It's rerunning the but-for
    16   aggregate marketing, you have no mechanism to   16   scenario, the predictions using a defendant's
    17   allocate liability on an individual defendant   17   detailing, and that detailing is not just a
    18   basis?                                          18   single number. It's a time series.
    19             MR. SOBOL: Objection, asked           19   BY MR. ROTH:
    20       and answered.                               20       Q. Let me try this again.
    21       A. I think you're asking me for a           21            Your regression models that you
    22   legal opinion. I don't know. It seems that      22   have done do not allow you to allocate
    23   the court could -- could allow plaintiffs to    23   causation to individual defendants in any way
    24   allocate liability in a number of different     24   other than separating out those defendants'
    25   ways. I don't know how that would work.         25   detailing contacts from the market aggregate
                                             Page 547                                              Page 549
     1   BY MR. ROTH:                                     1   detailing contacts?
     2        Q. I understand that. I'm not               2             MR. SOBOL: Objection to form,
     3   asking you for a legal opinion. I just want      3       asked and answered.
     4   to understand what you're going to do at         4       A. My analysis allows me to
     5   trial, okay? Okay?                               5   predict but-for prescriptions based on any
     6             MR. SOBOL: The buzzword is --          6   level of detailing, including the assumption
     7        when you're using the word "liability"      7   that only a single defendant's detailing was
     8        in the question, that's the buzzword        8   unlawful, and there may be other ways of
     9        that's sending her down that road. So       9   using the aggregate model to estimate
    10        if you -- I'm coaching you now.            10   liability, except that I'm not a liability
    11             MR. ROTH: Well, I understand          11   expert. There may be other ways that I just
    12        that, but I'm also trying to -- I know     12   don't know of.
    13        you guys want ultimate flexibility on      13             I can identify MMEs. I can
    14        your side but you shouldn't have it on     14   identify detailing for each defendant. That
    15        this point, so I want to make sure the     15   information may be used in other ways that I
    16        record is clear, okay?                     16   haven't thought of because I don't know what
    17   BY MR. ROTH:                                    17   the court will need.
    18        Q. Professor Rosenthal, your               18   BY MR. ROTH:
    19   regression models that you have done to date    19       Q. How do your models allow you to
    20   do not allow you to allocate causation to       20   predict but-for detailing assuming only a
    21   individual defendants in any way other than     21   single defendant's detailing was unlawful
    22   as a ratio of those defendants' detailing       22   without running afoul of the endogeneity
    23   contacts against the market aggregate           23   issues that we've discussed?
    24   detailing contacts?                             24             MR. SOBOL: Objection.
    25             MR. SOBOL: Objection to form,         25             You can answer.
   Golkow Litigation Services                                                Page 19 (546 - 549)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further20Confidentiality
                                                         of 95. PageID #: 471242
                                                                             Review
                                              Page 550                                            Page 552
     1       A. Because again, the endogeneity            1   county-level data I think are the most
     2   issues are in the estimation of the              2   appropriate level of analysis. Any
     3   parameters. The but-for scenarios take the       3   geographic unit will have some people moving
     4   estimates that are created at the aggregate      4   in and out, but the county level, I think is
     5   level, and they feed into it an alternative      5   an appropriate level of analysis.
     6   set of detailing information. So they're         6            The economic and
     7   post-estimation.                                 7   sociodemographic -- demographic and
     8            Endogeneity is pre-estimation,          8   socioeconomic variables are measured at the
     9   and all I'm doing is changing the simulation     9   county level, and we think about these sort
    10   of the but-for scenario.                        10   of economic issues as being approximately
    11   BY MR. ROTH:                                    11   captured at the county level.
    12       Q. Let's go back to the indirect            12       Q. Did you consider core-based
    13   model for a bit.                                13   statistical areas instead of counties?
    14            Based on your assertion that           14       A. I did not.
    15   opioid pharmaceutical efforts are national in   15       Q. For the same reason that you
    16   scope and that marketing messages are           16   just gave?
    17   developed as a whole, would you expect a        17       A. Yes. There are -- the ARCOS
    18   single detail in one county to have the same    18   data are at the county level, and again, most
    19   effect as a single detail in another county?    19   economic data are tracked at the county
    20            MR. SOBOL: Objection.                  20   level. There are some data that are focused
    21            You can answer.                        21   on urban cores, but not the kind of
    22       A. I don't know what the                    22   comprehensive data that I used here.
    23   variability and the effect of detailing is      23       Q. Did you consider using
    24   per se. I expect that there would be some       24   metropolitan statistical areas?
    25   variation in the effectiveness of detailing     25       A. The same answer. I did not.
                                              Page 551                                            Page 553
     1   from situation to situation.                     1   That would be aggregating up. MSAs also
     2            And my model and my assumptions         2   split certain counties. It doesn't make
     3   in the indirect model, since I don't model       3   sense to me to move up a level. The county
     4   promotion directly, is that what I'm aiming      4   level is more granular than the MSA level.
     5   to calculate is the average effect, and          5       Q. In certain places, though, the
     6   therefore, calculate the aggregate impact        6   county level may actually be larger than the
     7   from that average.                               7   MSA, right?
     8   BY MR. ROTH:                                     8       A. That is true in urban areas.
     9       Q. Is it possible that shipments             9   In rural areas, MSAs include multiple
    10   to a county could understate or overstate       10   counties. They're not precisely overlapping,
    11   consumption of opioids in that county?          11   I know from having done some matching at some
    12       A. Yes, it is possible that                 12   point, they're not easy to cross-walk.
    13   shipments to a county -- so once we get to      13       Q. Okay. So back to paragraph 83
    14   the county level, there are -- there are        14   of your report. So you say as you just said
    15   issues related to diversion.                    15   that you used county-level ARCOS data on
    16       Q. And I think Professor Gruber             16   shipments of prescription opioids between
    17   describes that as a transshipment problem in    17   1997 and 2016, correct?
    18   his report?                                     18       A. Yes.
    19       A. I think he does. There's a               19       Q. But ARCOS actually doesn't have
    20   fancy name for the Florida transshipments, I    20   county-level data, does it?
    21   can't remember what it was called, but yes.     21       A. The -- I believe the data are
    22       Q. Did you consider using                   22   mapped to counties.
    23   geographic designations that account for        23            (Whereupon, Deposition Exhibit
    24   commuting patterns?                             24       Rosenthal-22, Data Appendix, was
    25       A. No, I did not. The                       25       marked for identification.)

   Golkow Litigation Services                                                Page 20 (550 - 553)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further21Confidentiality
                                                         of 95. PageID #: 471243
                                                                             Review
                                              Page 554                                             Page 556
     1   BY MR. ROTH:                                     1        A. Yes.
     2       Q. That's right. So let's look at            2        Q. Then also on page 12, we'll get
     3   Exhibit 22, which is the data appendix that I    3   to this later, but it shows the DEA drug
     4   believe you shared with Professors Cutler and    4   codes and names in the ARCOS data which are
     5   Gruber?                                          5   at the molecule level.
     6       A. That's right. As I mentioned,             6        A. That's right.
     7   the ARCOS data for me come through Compass       7        Q. And that was why you couldn't
     8   Lexecon.                                         8   separate out the Schedule IIIs, as we
     9       Q. Okay. So we spoke yesterday               9   discussed?
    10   about who helped you with your report, and it   10        A. That's correct.
    11   was Greylock McKinnon. Other than giving you    11        Q. And then if you turn to
    12   the ARCOS data, did Compass Lexecon have any    12   page 13, the next page.
    13   role in the preparation of your expert          13        A. Yeah.
    14   report?                                         14        Q. Sorry, it's actually on
    15       A. No role in the preparation of            15   page 14. That's my errata.
    16   my expert report, no.                           16             Do you see the section mapping
    17       Q. And did you speak with anyone            17   shipments from three-digit ZIP codes to
    18   from Compass Lexecon directly?                  18   counties?
    19       A. Yes, we talked about those               19        A. Yes, I do.
    20   meetings, and perhaps some of the calls,        20        Q. It says: As noted above, the
    21   there were people from Compass Lexecon on       21   most detailed geographic area reported in the
    22   those.                                          22   public ARCOS reports is the three-digit ZIP
    23       Q. But in terms of your regression          23   code. Three-digit ZIP codes are based on the
    24   analyses and running the Wald statistical       24   first three digits of standard U.S. postal
    25   tests, that was all Greylock and yourself;      25   ZIP codes. These areas typically, but not
                                              Page 555                                             Page 557
     1   that was not Compass Lexecon?                    1   exclusively, span across more than one county
     2       A. Yes, that's correct, my staff             2   and thus are not directly comparable to the
     3   ran these.                                       3   county level of data available for mortality,
     4       Q. Okay. So if we look at                    4   crime and geographic -- I'm sorry, crime and
     5   Exhibit 22, turn to page 11, and it's a          5   demographic and economic statistics.
     6   section on the ARCOS prescription shipment       6            Do you see that?
     7   data.                                            7       A. I do.
     8            Do you see that?                        8       Q. And were you aware of that
     9       A. Yes.                                      9   issue?
    10       Q. Do you know who prepared this            10       A. I was at one level. I had
    11   document?                                       11   forgotten that there was a cross-walk from
    12       A. I do not, no.                            12   three-digit ZIPs, which themselves, again,
    13       Q. It was not you or your staff as          13   are geographic areas that vary in terms of
    14   far as you know?                                14   how big they are.
    15       A. It was not me or my -- it                15       Q. Do you know how Cuyahoga County
    16   certainly was not me. I do not believe it       16   compares to the three-digit ZIPs that are
    17   was my staff.                                   17   reflected in the ARCOS data for that area?
    18       Q. So on the top of page 12, it             18       A. I'm sorry, I do not.
    19   says: The Drug Enforcement Agency, DEA,         19       Q. Do you know how Summit County
    20   provides data on shipments of prescription      20   compares to the three-digit ZIPs for that
    21   opioids over time and across geographies.       21   part of Ohio?
    22   This appendix describes the source of these     22       A. No, I did not.
    23   data and the steps taken to process and set     23       Q. And if you look at page 15, it
    24   up the data for analysis.                       24   says: In order to link the ARCOS shipments
    25            Do you see that?                       25   data to the other county data, we have

   Golkow Litigation Services                                                Page 21 (554 - 557)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further22Confidentiality
                                                         of 95. PageID #: 471244
                                                                             Review
                                                    Page 558                                               Page 560
     1   allocated shipments based on the weighted                1        Q. Okay. And you would agree that
     2   average population of census block centroids,            2   just because a product is shipped to certain
     3   center points that fall within each county               3   counties does not mean it's consumed there?
     4   that a three-digit ZIP code crosses. And                 4             MR. SOBOL: Objection, asked
     5   then this means that when a three-digit ZIP              5        and answered.
     6   code crosses county boundaries, we use the               6        A. I think as explained in -- in
     7   population at the census block level to                  7   the Cutler report, and Gruber may have said
     8   estimate the share of population across                  8   it also, to the extent that shipments are
     9   counties for the three-digit ZIP.                        9   moving from one county to another, this
    10            Do you see that?                               10   regression methodology will -- it will just
    11       A. I do.                                            11   contribute to noise essentially in the
    12       Q. An underlying assumption to                      12   regression.
    13   this approach is that the shipments per                 13             So it's -- that -- the fact
    14   capita within a three-digit ZIP code are the            14   that there may be understatement of shipments
    15   same across census blocks.                              15   in Ohio -- I think that's the premise here --
    16            Do you see that?                               16   because there's overstatement somewhere else
    17       A. Yes.                                             17   because they moved from one place to another,
    18       Q. And when it says "we have                        18   that itself won't bias this analysis. It may
    19   allocated," do you know who did that work?              19   create some noise.
    20       A. Compass Lexecon, but I don't                     20   BY MR. ROTH:
    21   know who in particular.                                 21        Q. What is your basis for thinking
    22       Q. And did you do anything to test                  22   there's an understatement of shipments to
    23   Compass Lexecon or whomever's underlying                23   Ohio in the ARCOS data?
    24   assumption that shipments per capita within a           24        A. Well, again, it's really
    25   three-digit ZIP code are the same across                25   reading Cutler and Gruber's reports and the
                                                      Page 559                                             Page 561
     1   census blocks?                                           1   notion of the -- I guess it was the
     2        A. I did not, no. I don't think                     2   Oxy Express, so the shipments go to Florida,
     3   it's possible to do that with these data                 3   but they ultimately end up in Ohio and
     4   because there aren't census block level data             4   Kentucky and places like that.
     5   in ARCOS.                                                5       Q. And have you done any analysis
     6        Q. And then they explain their                      6   as to how the Oxy Express influenced
     7   methodology below with the mathematical                  7   consumption of prescription opioids in Ohio?
     8   formula of how they allocated ARCOS drug                 8       A. No, I have not.
     9   shipment totals to the counties based on                 9       Q. Do you agree that the census
    10   population share?                                       10   data on population is not necessarily
    11        A. That's right.                                   11   connected to where opioids are consumed?
    12        Q. And that's not an analysis                      12       A. Allocating shipments based on
    13   you've seen before?                                     13   population is a reasonable approach, and I
    14        A. I'm sorry, what do you mean?                    14   think, you know, as they say in footnote 24,
    15   I've seen this data appendix.                           15   this is -- it's very common that we make such
    16        Q. Have you seen the analysis for                  16   geographic cross-walks just because the way
    17   how Compass Lexecon allocated ARCOS shipments           17   data are presented. It's a reasonable basis
    18   to the counties?                                        18   for allocating shipments in my opinion.
    19        A. I guess I don't know what you                   19       Q. I understand you think it's a
    20   mean by "seen." I understand that they                  20   reasonable basis. I'm not asking that.
    21   allocated based on population using this                21             I'm just asking the factual
    22   formula, so have I seen the individual                  22   question. Where the population is shown in
    23   calculations, is that what you're asking?               23   the census data is not necessarily correlated
    24        Q. Correct.                                        24   to where the shipments are consumed?
    25        A. No, I have not.                                 25             MR. SOBOL: Objection.
   Golkow Litigation Services                                                        Page 22 (558 - 561)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further23Confidentiality
                                                         of 95. PageID #: 471245
                                                                             Review
                                              Page 562                                            Page 564
     1      A.      Well, it almost --                    1   factor you included is the percent of the
     2            MR. SOBOL: Asked and answered.          2   population that is white, black and
     3       A. It almost certainly is                    3   Hispanic --
     4   correlated because you need peoples -- people    4       A. Yes.
     5   to have consumption, but exactly what the        5       Q. -- so race.
     6   relationship is, I can't say for sure. But       6            And then the share of the
     7   again, it almost surely is a major factor in     7   population in four different education
     8   determining where the consumption is. It may     8   groups, correct?
     9   not be perfectly correlated.                     9       A. Yes.
    10   BY MR. ROTH:                                    10       Q. And the percent of the county
    11       Q. And people don't necessarily             11   identified as urban, correct?
    12   consume prescription opioids in their homes,    12       A. That's right.
    13   right?                                          13       Q. And are all of those census
    14            MR. SOBOL: Objection.                  14   categories?
    15       A. Well, I don't think that that's          15       A. I believe so, yes. I think
    16   the -- that's the relevant question for my      16   they all come from the ASEC that we talked
    17   analysis. Again, I'm really looking at what     17   about.
    18   factors predict shipments here, so wherever     18       Q. Okay. And then in the second
    19   people consume them.                            19   category, economic variables, you included
    20   BY MR. ROTH:                                    20   the unemployment rate?
    21       Q. But you understand that your             21       A. Yes.
    22   analysis is feeding into Professor Cutler's     22       Q. You included
    23   analysis and Professor McGuire's analysis who   23   employment-to-population ratio?
    24   are trying to compute harms and damages         24       A. Yes.
    25   occurring within Summit and Cuyahoga County?    25       Q. You included the distribution
                                              Page 563                                            Page 565
     1       A. It's true, but the way my                 1   of employment by major industry sector?
     2   indirect analysis feeds into Professor           2       A. Yes.
     3   Cutler's analysis is in the aggregate.           3       Q. You included median household
     4       Q. If you turn to paragraph 84,              4   income?
     5   that lists, I believe, all the variables you     5       A. Yes.
     6   include in the indirect model; is that           6       Q. You included the poverty rate?
     7   correct?                                         7       A. Yes.
     8       A. Yes.                                      8       Q. And you included the county's
     9       Q. So you've got three categories,           9   population?
    10   demographic, economic and healthcare            10       A. Yes.
    11   variables.                                      11       Q. And then for healthcare, you
    12       A. That's right.                            12   only included two variables, correct?
    13       Q. Let's take those one at a time.          13           MR. SOBOL: Objection.
    14             So the demographic variables          14           You can answer.
    15   you include are essentially gender, male        15       A. Yes, I included two healthcare
    16   versus female?                                  16   variables.
    17       A. Yes.                                     17   BY MR. ROTH:
    18       Q. The percent in different age             18       Q. And one was the percentage of
    19   groups set out in your report as to how you     19   the population without insurance, correct?
    20   divided them, it looks like into five           20       A. That's correct.
    21   different age -- six different age group --     21       Q. And the second variable is the
    22   five different age groups?                      22   number of cancer deaths, correct?
    23       A. Sure. Sorry, these are just              23       A. That's correct.
    24   standard census categories.                     24       Q. Why did you include a variable
    25       Q. Okay. Another demographic                25   to account for the percentage of the
   Golkow Litigation Services                                                Page 23 (562 - 565)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further24Confidentiality
                                                         of 95. PageID #: 471246
                                                                             Review
                                             Page 566                                             Page 568
     1   population without insurance?                    1       A. Yeah.
     2        A. I included that variable                 2       Q. -- cannot be disaggregated, but
     3   because I thought that there might be            3   I thought in your last section you have a
     4   relatively widespread coverage differences       4   disaggregation of potentially appropriate
     5   across counties and that that might explain,     5   MMEs for Summit and Cuyahoga that includes
     6   as I think we talked a little bit about          6   trauma and surgery.
     7   yesterday, the extent to which people go to      7       A. Yeah, the HCUP data, those data
     8   the doctor and therefore get a prescription,     8   are not at the county level. The other data
     9   and also, their likelihood of filling a          9   are at the county level, the Area Health
    10   prescription.                                   10   Resources File. So I was distinguishing
    11        Q. Insurance coverage, though, is          11   between those two.
    12   not a variable you included in your direct      12            And in general, you can see,
    13   model?                                          13   when we get to the appropriate uses, that
    14        A. That's correct. And I'm sure            14   the -- those trend downwards, and so even if
    15   we'll continue to come back to this, but the    15   we were to include those in the model and
    16   cross-sectional variation, insurance coverage   16   they had a cross-sectional relationship, it
    17   is a lot more substantial across counties       17   would not cause the indirect estimate to be
    18   than it is over time.                           18   increasing.
    19        Q. In your -- what I'll call               19       Q. But you didn't actually include
    20   thought experiment, which we'll talk about in   20   those in the model?
    21   a minute, you include as potentially            21       A. I didn't, no.
    22   medically allowable prescriptions, surgery      22       Q. Did you consider any other
    23   and trauma; is that right?                      23   variables to include in any of the three
    24        A. Yes. I guess we'll discuss the          24   categories, demographic, economic or
    25   right words to describe that, but yes, so as    25   healthcare, in your indirect model, aside
                                             Page 567                                             Page 569
     1   the potentially appropriate uses, something      1   from the ones we've discussed?
     2   like that I think is what I say, that            2        A. No, these are the variables --
     3   surgical and trauma conditions, yes.             3   these variables are based on previous
     4       Q. But in your indirect model you            4   literature, all of those demographic and
     5   don't have any variables for either surgery      5   socioeconomic variables come from an
     6   or trauma?                                       6   assessment of what has been shown to be
     7       A. I do not, no.                             7   associated with opioid use.
     8       Q. And why is that?                          8        Q. And what literature assessing
     9       A. Well, the data from the                   9   the variables associated with opioid use are
    10   healthcare utilization project that we          10   you relying on?
    11   will -- we'll talk about later, those cannot    11        A. Well, I don't think I have a
    12   be disaggregated. There are some state-level    12   citation in here, so I don't know a specific
    13   data, but they're considered to not be          13   paper as I sit here. Again, these are --
    14   reliable for that purpose, so those are         14   these are variables that economists studying
    15   national data only.                             15   opioid use have used from the census data.
    16            And ultimately, the trends in          16             This is the source of data that
    17   those -- sorry, wrong question, I was           17   have been used by researchers. I think most
    18   answering the direct model.                     18   of that literature is cited in Professor
    19            And ultimately, those factors,         19   Cutler's report.
    20   the numbers there, I don't believe that we      20        Q. Okay. And is -- was the list
    21   have reliable estimates across counties over    21   of variables you would use in your indirect
    22   the entire time period.                         22   model a subject of discussion between
    23       Q. I'm a little confused because            23   yourself and Professor Cutler?
    24   you just said the surgery and trauma            24        A. I can answer that if counsel
    25   figures --                                      25   were present?
   Golkow Litigation Services                                                Page 24 (566 - 569)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further25Confidentiality
                                                         of 95. PageID #: 471247
                                                                             Review
                                              Page 570                                             Page 572
     1            MR. SOBOL: Well, yes or no.             1   variables that were interpolated?
     2       A. Yes.                                      2       A. I do not know the specific
     3   BY MR. ROTH:                                     3   individual. These were constructed by
     4       Q. So if you look --                         4   Compass Lexecon.
     5            MR. SOBOL: You got so used to           5       Q. Did you consider picking a year
     6       just running on that you forgot you          6   where you did not need to do interpolation,
     7       could answer yes or no.                      7   such as the year 2000, as your baseline?
     8   BY MR. ROTH:                                     8       A. No, I did not consider that.
     9       Q. If you look at page 25 of                 9       Q. Are you using interpolated
    10   Exhibit 22.                                     10   values for these variables in your 1997
    11       A. Okay. This is the data                   11   baseline?
    12   appendix?                                       12       A. Yes, I am.
    13       Q. Yes.                                     13       Q. Is it possible the interpolated
    14       A. Yeah. The Table 2?                       14   variables affect the baseline estimated
    15       Q. Yes.                                     15   relationship between the explanatory
    16            So this is a table that                16   variables and shipments per capita per day?
    17   reflects economic and demographic variables     17            MR. SOBOL: Objection to form.
    18   with data sources and years reported.           18       A. These socioeconomic and
    19       A. Uh-huh.                                  19   demographic variables change very slowly, and
    20       Q. And this is the shared                   20   I believe the linear interpolation method is
    21   appendix, but I assume these are the            21   entirely appropriate.
    22   variables we've been discussing that you used   22            I do not believe that they are
    23   in your indirect regression?                    23   likely to cause any impact on my analysis,
    24       A. Yes, they are.                           24   but if any, they would be a source of
    25       Q. Okay. So if you look at                  25   mismeasurement, which would dampen -- which
                                              Page 571                                             Page 573
     1   several of the rows, there's a shaded gray       1   would basically cause noise, but not bias.
     2   bar that says Interpolated.                      2   BY MR. ROTH:
     3            Do you see that?                        3       Q. Have you studied the linear
     4       A. Yes, that's right.                        4   interpolation that was done and how it might
     5       Q. And what does that mean?                  5   impact your analysis?
     6       A. Well, some of the variables               6       A. Well, I'm not exactly sure how
     7   come only from the decennial census, so we       7   one would study such a thing. Again, we
     8   have them for every ten years, so a linear       8   undertake the interpolation because those
     9   interpolation was used between those ten-year    9   data were not captured in those years, so
    10   points.                                         10   there's not a gold standard to compare the
    11       Q. And how do you know it was a             11   linear interpolation to.
    12   linear interpolation?                           12       Q. But what you could do is pick a
    13       A. Well, I should read more                 13   year where no interpolation were needed and
    14   closely. I believe it is a linear               14   compare the results from that year, say 2000,
    15   interpretation, but my memory is not to be      15   against '97 with the interpolation?
    16   trusted.                                        16            MR. SOBOL: Objection.
    17       Q. You know what, you're right.             17       A. Well, as we discussed earlier,
    18   Actually, it says that at the bottom of the     18   my effort was to undertake the
    19   chart. Interpolated values are a linear         19   cross-sectional analysis in a year that was
    20   interpolation between the preceding and         20   unaffected by the alleged misconduct, and
    21   following measured value.                       21   1997, while imperfect, is a bit closer to
    22       A. Someone should do something              22   that.
    23   about that font size.                           23            2000 would be a time period in
    24       Q. Who performed the linear                 24   which the alleged misconduct was well under
    25   interpolation on the census data for the        25   way, so I did not consider such an analysis.
   Golkow Litigation Services                                                Page 25 (570 - 573)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further26Confidentiality
                                                         of 95. PageID #: 471248
                                                                             Review
                                             Page 574                                             Page 576
     1   BY MR. ROTH:                                     1       and answered.
     2       Q. And when you say the alleged              2       A. I think you're asking me a
     3   misconduct was well under way in 2000, that's    3   legal question, so I do not know whether such
     4   based on your assumption that it started in      4   a hypothetical would have -- would exclude
     5   1995 as opposed to a review of actual            5   the possibility that the conduct was unlawful
     6   promotion that occurred between '95 and 2000?    6   in some other way. I don't know.
     7            MR. SOBOL: Objection.                   7   BY MR. ROTH:
     8       A. Well, again, I am assuming that           8       Q. Just assume my hypothetical is
     9   plaintiffs' counsel will prove their case.       9   so, okay? Don't fight the hypothetical.
    10   As you know, there's quite a bit of evidence    10            If for a given defendant it is
    11   that I can't evaluate from a legal              11   proven that all promotion was solely based on
    12   perspective that I can see as a layperson       12   FDA-approved labeling and FDA-approved
    13   that suggests marketing messages related to     13   marketing materials, your model still
    14   opioids were, in fact, dampening the sense of   14   includes those promotional contacts in
    15   the addictive properties of these drugs.        15   calculating the aggregate impact, correct?
    16            Whether or not that's unlawful         16            MR. SOBOL: Objection, asked
    17   I can't say, but I can certainly see that       17       and answered.
    18   what the allegations describe was happening     18       A. I guess I'm trying to
    19   during this period.                             19   understand. We've been talking about my
    20   BY MR. ROTH:                                    20   indirect model, which does not include a
    21       Q. Do you understand -- well,               21   measure --
    22   strike that. Let me ask it a different way.     22   BY MR. ROTH:
    23            Does your model assume that            23       Q. Yeah. I'm back to the direct
    24   unlawful detailing occurred even if that        24   for this question. I'm back to direct for
    25   detailing were solely based on FDA-approved     25   this question.
                                             Page 575                                             Page 577
     1   labels or marketing materials?                   1       A. Going back to --
     2            MR. SOBOL: Objection, asked             2       Q. Let me reask it because we're
     3       and answered.                                3   talking over each other.
     4       A. Well, you're asking me to                 4            If for a given defendant it is
     5   assume a hypothetical in that case, I think,     5   proven that all promotion was solely based on
     6   that all marketing was based on FDA-approved     6   FDA-approved labeling and FDA-approved
     7   labels.                                          7   marketing materials, your direct model still
     8   BY MR. ROTH:                                     8   includes that defendant's promotional
     9       Q. I don't think so. I think what            9   contacts in calculating the aggregate impact,
    10   I'm asking is your model treats all of          10   correct?
    11   defendants' promotion as unlawful based on      11            MR. SOBOL: Objection, asked
    12   the assumption that you made based on the       12       and answered, misstates prior
    13   instruction of counsel, correct?                13       testimony.
    14            MR. SOBOL: Objection, asked            14       A. I do not know whether a
    15       and answered.                               15   hypothetical in which the marketing were
    16       A. Yes. I have been asked to                16   based solely on FDA-approved materials is in
    17   assume that plaintiffs will prove that in       17   any way in contradiction to the assumption
    18   sum, defendants' marketing was unlawful.        18   that that marketing can be proven unlawful.
    19   BY MR. ROTH:                                    19   That is a legal question, the answer to which
    20       Q. Okay. And if, in fact, a                 20   I do not know.
    21   defendant or subset of defendants only          21   BY MR. ROTH:
    22   promoted using FDA-approved labeling and/or     22       Q. Now if you turn to paragraph 81
    23   FDA-approved marketing materials, how does      23   of your report, and now we're back to the
    24   your model address that?                        24   indirect model.
    25            MR. SOBOL: Objection, asked            25            In paragraph 81, you say:
   Golkow Litigation Services                                                Page 26 (574 - 577)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further27Confidentiality
                                                         of 95. PageID #: 471249
                                                                             Review
                                              Page 578                                             Page 580
     1   Based on these estimates of the relationship     1        Q. Do you know whether the INCB
     2   between the economic, demographic and            2   data from 1980 to 1995 includes propoxyphene?
     3   healthcare characteristics of counties and       3        A. I -- as I sit here, I do not.
     4   opioid sales before the opioid epidemic took     4   I'm trying to remember if it's actually in my
     5   hold, the model can be used to predict opioid    5   Appendix D.
     6   sales using only changes in the X-i variables    6        Q. If it is, I'm happy to look at
     7   over time.                                       7   it. I don't --
     8             Do you see that?                       8        A. Yeah.
     9        A. I do.                                    9        Q. -- know if it is or not. It
    10        Q. And then you say: A modified            10   may also be in that data appendix I gave you.
    11   version of this approach incorporates an        11            But so we don't get bogged down
    12   estimated secular trend also using data from    12   on it --
    13   the pre-misconduct period.                      13        A. Sure.
    14             Do you see that?                      14        Q. -- it's fair to say, whatever
    15        A. I do.                                   15   drugs are listed in the INCB data from 1980
    16        Q. So what is a secular trend?             16   to 1995 are included in the secular trend,
    17        A. Secular trend here, it's                17   correct?
    18   literally a linear trend that I calculate       18        A. I believe so, yes.
    19   using sort of a long series of pre-alleged      19        Q. And any drugs that are not
    20   misconduct data.                                20   listed in that data are not included in the
    21        Q. That's based on the growth rate         21   secular trend?
    22   in opioid sales from 1980 to 1995?              22        A. I think that's right, yes.
    23        A. That's correct.                         23        Q. And if any of the opioids not
    24        Q. And that trend would include            24   included in the secular trend grew at a
    25   obviously only the molecules that were          25   faster rate than those included, your
                                              Page 579                                             Page 581
     1   approved and sold at that time, correct?         1   indirect model would not fully account for
     2       A. By definition, yes.                       2   the intended market-expanding effects of
     3       Q. And I think that would mean it            3   promotion for those molecules?
     4   would include morphine, pethidine, oxycodone,    4            MR. SOBOL: Objection.
     5   fentanyl and hydromorphone.                      5       A. Again, adding the secular trend
     6            Does that sound right?                  6   in my opinion is very conservative here to
     7            MR. SOBOL: Objection.                   7   begin with. My intent was to capture all the
     8       A. I am not a hundred percent sure           8   relevant molecules, basically those that map
     9   so I would have to actually look at the INCB     9   to the market that I'm looking at post 1995,
    10   data.                                           10   recognizing that there are changes over time.
    11   BY MR. ROTH:                                    11            And so this secular trend in my
    12       Q. So do you know which molecules           12   indirect model is intending to capture
    13   are included in the secular trend and which     13   defendant -- non-defendant, sorry,
    14   are not?                                        14   promotion -- that's an important verbal
    15       A. The data from the INCB are like          15   errata.
    16   the ARCOS data, they're at the molecule         16            So as already, because some of
    17   level. I just -- as I sit here, I can't         17   the defendants may be involved in that early
    18   remember, but the analysis was done to          18   data, they may be picking up some of the
    19   include the analogous products, recognizing     19   alleged misconduct, if some of it occurs
    20   that there are new entrants that happen after   20   before 1995, I think I'm not as concerned
    21   1995.                                           21   about underestimating that trend.
    22       Q. Do you know whether or not the           22   BY MR. ROTH:
    23   INCB data from 1980 to 1995 includes            23       Q. But just so I understand, if
    24   hydrocodone?                                    24   the opioids omitted from the secular trend
    25       A. I do not as I sit here.                  25   grew at a faster rate than the included
   Golkow Litigation Services                                                Page 27 (578 - 581)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further28Confidentiality
                                                         of 95. PageID #: 471250
                                                                             Review
                                              Page 582                                             Page 584
     1   molecules, your indirect model would fail to     1        A. What do you mean by the
     2   account for the intended market-expanding        2   prediction intervals?
     3   effects of non-defendant promotion?              3        Q. Yeah. Did you consider upper
     4            MR. SOBOL: Objection, asked             4   and lower bounds for your predictions?
     5       and answered.                                5        A. You mean by setting the
     6       A. Again, I believe that I                   6   independent variables to extreme levels? I'm
     7   included the molecules that were appropriate     7   still not sure what you're talking about.
     8   for inclusion. I don't know that there are       8        Q. Yeah, I think that's right.
     9   any that should have been included that          9        A. I did not look at trying to
    10   weren't.                                        10   predict out of sample. I'm interested in
    11            My intention was to capture the        11   using these variables to be able to then take
    12   set of molecules that -- that were similar --   12   the trends in the underlying demographic,
    13   were basically the available alternatives       13   socioeconomic and healthcare factors and
    14   over that period to -- as opioid analgesics.    14   predict forward in the ranges that those
    15   And if there -- I guess if there were any       15   variables hold. So I did not look at extreme
    16   that are omitted, I could identify those and    16   values.
    17   adjust the trend if need be.                    17        Q. Okay. If you look at
    18   BY MR. ROTH:                                    18   paragraph 88, you talk about how you adjusted
    19       Q. Before your post-estimation              19   for price impact in the indirect model?
    20   secular trend and aggregate price               20        A. Yes.
    21   adjustments, are your predicted values of       21        Q. And then you say: There's
    22   shipments per capita per day influenced only    22   little county-level variation in opioid
    23   by changes in the demographic, economic and     23   prices so this variable does not appear in
    24   healthcare explanatory variables?               24   the cross-sectional model, despite the fact
    25       A. I don't know what you mean by            25   that my direct model shows a small but
                                              Page 583                                             Page 585
     1   "only," but the -- as you can see in Table 4,    1   significant negative effect of price on sales
     2   there are a number of significant                2   over time.
     3   relationships across those demographic,          3            Do you see that?
     4   socioeconomic and healthcare variables, and      4       A. I do.
     5   there are about 20 variables included there      5       Q. And what is your basis for the
     6   in total.                                        6   statement that there's little county-level
     7       Q. And since you've directed me to           7   variation in opioid prices?
     8   Table 4, what does it mean, "no obs," is that    8       A. That's based on my knowledge
     9   number of observations, 404?                     9   and experience as a health economist who has
    10       A. Yes, I'm sorry. We're not very           10   done a lot of work on pharmaceutical pricing.
    11   generous with our shorthand, are we? Yes,       11   As you may know, pharmaceutical manufacturers
    12   that's the number of observations.              12   report list prices, and those list prices are
    13       Q. What does that mean exactly?             13   the basis for retail transaction prices.
    14       A. That's the number of counties            14       Q. AWP?
    15   in the sample.                                  15       A. AWP.
    16       Q. Okay. And the R-squared of the           16       Q. Have you done any analysis
    17   indirect model is 33%?                          17   specific to opioid products and potential
    18       A. That's correct.                          18   price variation across counties?
    19       Q. Which is not 99.6%.                      19       A. I have not calculated that
    20       A. As I note in the chapter,                20   variation in this matter, no.
    21   cross-sectional regressions never have the      21       Q. And in your direct model you
    22   same R-squared as time series analysis.         22   acknowledge there is a small but significant
    23       Q. Did you consider the prediction          23   downward effect of price on sales over time?
    24   intervals for your predicted shipments per      24       A. Yes, which is why I adjust for
    25   capita per day?                                 25   it here.

   Golkow Litigation Services                                                Page 28 (582 - 585)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further29Confidentiality
                                                         of 95. PageID #: 471251
                                                                             Review
                                              Page 586                                            Page 588
     1       Q. And how do you adjust for it?             1   veterans or any other sociodemographic group,
     2   That's how you described it in paragraph 88,     2   if that's appropriate to call military
     3   by changing the estimated coefficient on the     3   veterans a sociodemographic group, such as
     4   drug price index?                                4   the educational distribution, ages, those
     5       A. So I used the estimated                   5   things may well pick up some effects, if any
     6   coefficient from the direct model and then       6   exist.
     7   the trend in prices in order to project that     7        Q. Okay. But you didn't include
     8   price effect.                                    8   veterans specifically?
     9       Q. So you use your direct model's            9        A. I did not.
    10   output for the price coefficient, and then as   10        Q. You did not include a variable
    11   you say, adjust for the trend in prices?        11   reflecting the number of doctors in the
    12       A. That's correct.                          12   county, correct?
    13       Q. Okay. Can we agree generally             13        A. I did not include a variable
    14   that omitted variables can cause bias in        14   reflecting the number of doctors in the
    15   regression analyses?                            15   county.
    16       A. The concern about omitted                16        Q. Can we agree that the number of
    17   variables is a ubiquitous one in any            17   doctors in a county can affect the amount of
    18   econometric analysis. I believe that I have     18   MMEs prescribed and sold in that county?
    19   appropriately captured the most important       19        A. It's possible, but again, the
    20   variables in my analysis.                       20   variables that are included in my model I
    21       Q. And do you agree that to the             21   believe would be correlated with the number
    22   extent that other factors not modeled in the    22   of doctors in a county, so rurality, for
    23   baseline regression contributed to increases    23   example, will be correlated with the number
    24   in opioid shipments, the indirect approach      24   of doctors, the percent uninsured will be
    25   has the potential to overstate the impact of    25   correlated with the number of doctors, and I
                                              Page 587                                            Page 589
     1   promotion on shipments?                          1   believe the included variables in my model
     2            MR. SOBOL: Objection, asked             2   are sufficient to pick up those effects.
     3        and answered.                               3       Q. Okay. You did not include a
     4        A. I'm not aware of any variables           4   variable reflecting the number of hospitals
     5   that should be in the model that would make a    5   in a county?
     6   substantial effect here. If such a variable      6       A. I did not include a variable
     7   existed, it could affect the calculations in     7   reflecting the number of hospitals in the
     8   the way that you suggest.                        8   county, and again, I believe the demographic
     9   BY MR. ROTH:                                     9   and socioeconomic variables in my model will
    10        Q. Okay. You did not include a             10   be correlated with the presence of hospitals,
    11   variable reflecting the number of military      11   and therefore I am not concerned about the
    12   veterans in the counties, did you?              12   bias from that exclusion.
    13        A. No, I did not.                          13       Q. Would you agree the number of
    14        Q. Do you agree the number of              14   hospitals in a county could influence the
    15   veterans in a county could increase the         15   amount of MMEs prescribed and sold in that
    16   amount of MMEs sold?                            16   county?
    17        A. I don't know as I sit here              17       A. I believe as a factor it could
    18   whether that's a reasonable thing to posit.     18   have some effect, and that the variables that
    19        Q. You've not looked at any                19   I include in my model will be sufficiently
    20   literature as to whether veterans require       20   correlated with that, that the omission of
    21   more opioids than other citizens?               21   the number of hospitals will not bias my
    22        A. I have not, and you have to             22   results.
    23   keep in mind that there are a number of other   23       Q. You did not include a variable
    24   variables in the model that will be             24   reflecting the number of pharmacies in a
    25   correlated with the number of military          25   county?

   Golkow Litigation Services                                                Page 29 (586 - 589)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further30Confidentiality
                                                         of 95. PageID #: 471252
                                                                             Review
                                              Page 590                                            Page 592
     1       A. I did not include a variable              1   I believe that in particular, the percent
     2   reflecting the number of pharmacies, and like    2   uninsured will summarize the accessibility to
     3   any other measure of economic activity, I        3   coverage and that adding the pharmacy benefit
     4   believe that will be strongly correlated with    4   piece will contribute very little given the
     5   the socioeconomic variables that I do include    5   more than 90%, I think more than 95% of
     6   in my model.                                     6   people who have insurance also have a
     7       Q. Would you agree that the number           7   pharmacy benefit.
     8   of pharmacies in a county may increase the       8       Q. But as we spoke about
     9   amount of MMEs shipped to that county?           9   yesterday, the parameters of insurance
    10       A. Ignoring the fact that the               10   coverage including a pharmacy benefit can
    11   other factors that I include may well account   11   influence the prescription and utilization of
    12   for that effect as an independent matter, the   12   opioids?
    13   number of pharmacies may affect the number of   13            MR. SOBOL: Objection.
    14   shipments in a county.                          14       A. While it may be true for an
    15       Q. Did you include a variable on            15   individual patient, you can see that my
    16   the incidence of cancer in a county?            16   percent uninsured variable, is not
    17       A. I included cancer deaths rather          17   statistically significant in this model, so
    18   than cancer incidence.                          18   again, accounting already for the population
    19       Q. And is it your view that cancer          19   characteristics, the socioeconomic
    20   deaths is a sufficient proxy for the            20   characteristics of the county, percent
    21   incidence of cancer?                            21   uninsured, which is clearly the first order
    22       A. Well, of course, cancer deaths           22   measure, does not add any -- anything to this
    23   will be substantially correlated with cancer    23   model in terms of explanatory value, and so
    24   incidence, and I included cancer deaths on      24   getting even more granular than that I
    25   the premise that opioids are indicated for      25   believe would not change the model.
                                              Page 591                                            Page 593
     1   end-of-life cancer treatment.                    1   BY MR. ROTH:
     2       Q. Do you understand that opioids            2        Q. You did not include a variable
     3   may be indicated for cancer pain even if it's    3   reflecting the existence or number of pill
     4   not at end of life?                              4   mills in a county.
     5       A. I understand that according to            5        A. I did not include a variable
     6   clinical experts there are certain cases         6   reflecting the existence of pill mills. I
     7   where opioids may be indicated for cancer        7   think to control for that does not make a lot
     8   pain.                                            8   of sense to me, given that I believe it's --
     9       Q. Do you agree that cancer                  9   that those may have been caused by the
    10   incidence may increase the amount of MMEs       10   alleged misconduct.
    11   shipped to a county?                            11            Moreover, as with other
    12       A. Actually, I was -- it is                 12   variables not included of that supply side
    13   possible that cancer incidence does correlate   13   nature, I believe the socioeconomic variables
    14   with the number of MMEs per county, but very    14   are likely to explain a great deal of the
    15   unlikely to me that adding cancer incidence     15   variation in the existence of pill mills.
    16   to a model that has cancer deaths would         16        Q. So is it your position that the
    17   contribute anything to explaining the           17   manufacturers' promotion created the
    18   variation in county-level shipments.            18   diversion of prescription opioids through
    19       Q. You did not include a variable           19   pill mills?
    20   reflecting the number of individuals eligible   20            MR. SOBOL: Objection to the
    21   for a pharmacy benefit through their insurer    21        form.
    22   in a county?                                    22        A. I have not offered that
    23       A. I did not include a variable             23   opinion, but you asked me as to whether I
    24   reflecting the number of individuals eligible   24   would consider -- well, you asked me whether
    25   for a pharmacy benefit in the county. Again,    25   I included pill mills and my first reaction
   Golkow Litigation Services                                                Page 30 (590 - 593)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further31Confidentiality
                                                         of 95. PageID #: 471253
                                                                             Review
                                              Page 594                                            Page 596
     1   is that I would not consider that to be an       1   of coverage and accessibility is not
     2   appropriate variable to control for because      2   statistically significant in my model, I
     3   it would essentially say, oh, yeah, this         3   would not anticipate a more nuanced measure
     4   is -- this is expected. These pill mills are     4   of the nature of coverage to affect my
     5   expected, and only changes in opioid             5   results.
     6   prescribing outside of the pill mills would      6        Q. You did not include a variable
     7   be subject to recovery.                          7   to account for the introduction of Medicare
     8             As I understand the                    8   Part D in your model?
     9   allegations, I would be very surprised if        9        A. Well, the indirect model is a
    10   that would be an appropriate assumption.        10   cross-sectional model of 1997, which is a
    11        Q. So in your view, you think the          11   number of years in advance of Medicare
    12   manufacturers should be responsible for the     12   Part D. And again, given that the percent
    13   illegal prescription of opioids through pill    13   uninsured seems to have no relationship in
    14   mills?                                          14   the cross-section to opioid use, then
    15             MR. SOBOL: Objection.                 15   Medicare Part D would not play a role in the
    16        A. I think you've gone a little            16   model.
    17   too far, but in my view, I wouldn't just        17        Q. You did not include a variable
    18   include such a variable like that without       18   for promotion by non-defendants in the model,
    19   better understanding exactly what plaintiffs    19   correct?
    20   intend to prove.                                20        A. My time trend, as I describe
    21   BY MR. ROTH:                                    21   it, was intended to proxy for that, but --
    22        Q. Do you agree that the existence         22        Q. Right. So you have a separate
    23   of pill mills can increase the amount of MMEs   23   secular trend.
    24   shipped and utilized in a county?               24        A. Yes.
    25        A. I believe that that is the              25        Q. You don't have it as a separate
                                              Page 595                                            Page 597
     1   concern with pill mills. Perhaps by their        1   variable.
     2   derogatory name, that is my presumption, that    2       A. That's right, it's not a
     3   they do, in fact, make opioids more available    3   separate variable, and that's why I include
     4   than they otherwise would be.                    4   the time trend.
     5       Q. And more broadly, you did not             5       Q. Are you aware that
     6   include any variable reflecting the existence    6   non-defendant promotion accounts for
     7   or volume of illegal prescribing in the          7   approximately 32% of the promotional contacts
     8   county?                                          8   in the IPS data, on a national level?
     9            MR. SOBOL: Objection.                   9       A. I'm hoping somewhere that's in
    10       A. I do not have a variable on              10   my report. I'm willing to believe you. We
    11   illegal prescribing in the county, no, I do     11   certainly calculated that figure.
    12   not. And I would have the same concern about    12       Q. Okay.
    13   the extent to which that is to be considered    13       A. I just don't want to go back to
    14   an independent factor.                          14   the dreaded Table C.
    15   BY MR. ROTH:                                    15       Q. Yeah, we may later, but we'll
    16       Q. You don't have a variable for            16   stop for now on there.
    17   formulary placement of opioids in the           17       A. Okay.
    18   indirect model?                                 18       Q. All of the variables we just
    19       A. Did we not cover that?                   19   discussed that you excluded from your
    20       Q. We covered pharmacy benefits.            20   indirect model are likewise excluded from
    21       A. Oh, I'm sorry. I have not                21   your direct model?
    22   included a formulary measure and I'm not        22            MR. SOBOL: Objection.
    23   sure -- entirely sure what you mean by that.    23       A. The variables that we discussed
    24   But I would say again, given that the percent   24   do not appear in my direct model, and the
    25   uninsured, which is the first order measure     25   direct model as an aggregate time series

   Golkow Litigation Services                                                Page 31 (594 - 597)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further32Confidentiality
                                                         of 95. PageID #: 471254
                                                                             Review
                                              Page 598                                             Page 600
     1   model has different considerations in terms      1       A. That was very efficient.
     2   of what variables are appropriate to include.    2       Q. So do you have the Case and
     3   BY MR. ROTH:                                     3   Deaton article in front of you?
     4       Q. And because you did not include           4       A. I do.
     5   any of the excluded variables just discussed     5       Q. And if you look at page 444.
     6   in your indirect model, you did not expressly    6       A. These economics articles are
     7   measure the impact of those variables on the     7   very long.
     8   sales of opioids in Cuyahoga or Summit           8       Q. I think you cite this article
     9   Counties?                                        9   in your report, do you not?
    10             MR. SOBOL: Objection, asked           10       A. I think I do, yes.
    11       and answered.                               11       Q. Okay. Page 444, there's a
    12       A. While that is tautologically             12   comment from a friend.
    13   true, it is the case, as I started when we      13           Do you see that?
    14   were talking about omitted variable bias,       14       A. I do.
    15   that it's always possible to add more           15       Q. And that's Professor Cutler,
    16   variable to a model, and that is not -- that    16   who is a co-expert with you and your
    17   is not good without limit.                      17   colleague at Harvard?
    18   BY MR. ROTH:                                    18       A. Yes, that's correct.
    19       Q. Well, I understand you don't             19       Q. And so if you look at his
    20   want to add variables forever, but at what      20   comments on the next page, 445, starting in
    21   point does the number of variables in an        21   the middle of the page where he's talking
    22   indirect regression render the regression       22   about the article, he says: Their overall
    23   unstable?                                       23   suggestion is very much in the tradition of
    24       A. Well, it would depend on the             24   ?mile Durkheim: People despair when their
    25   correlation among those variables.              25   material and social circumstances are below
                                              Page 599                                             Page 601
     1            (Whereupon, Deposition Exhibit          1   what they had expected. This despair leads
     2       Rosenthal-23, Case and Deaton                2   people to act in ways that significantly harm
     3       Publication, was marked for                  3   their health. This may have a direct impact
     4       identification.)                             4   on death through suicide or an indirect
     5   BY MR. ROTH:                                     5   impact through heavy drinking, smoking, drug
     6       Q. Okay. Let me mark as                      6   abuse, or not taking preventative medications
     7   Exhibit 23 an article by Case and Deaton         7   for conditions such as heart disease. At
     8   entitled Mortality and Morbidity in the 21st     8   root is economic and social breakdown. This
     9   Century.                                         9   explanation is certainly correct.
    10            MR. ROTH: We're finding one            10            Do you see that?
    11       for you.                                    11       A. I do.
    12            (Comments off the stenographic         12       Q. And what variables in your
    13       record.)                                    13   indirect model address the despair points
    14            MR. SOBOL: Sounds like a               14   that Professor Cutler is talking about?
    15       fairly narrow topic for a paper.            15       A. Professor Cutler and Case and
    16            MR. ROTH: Why don't we take a          16   Deaton, they're talking about mortality.
    17       quick break. We'll look for the copy.       17   They're not talking about the use of opioids.
    18            THE WITNESS: Okay.                     18       Q. Well, except that he says that
    19            THE VIDEOGRAPHER: The time is          19   despair can lead people to abuse drugs.
    20       10:16 a.m., we're now off the record.       20       A. Yes, but it's quite a bit
    21            (Discussion off the record.)           21   different. So they're talking about the
    22            THE VIDEOGRAPHER: The time is          22   mortality effects, which go beyond the use of
    23       10:16 a.m. We're back on the record.        23   drugs.
    24   BY MR. ROTH:                                    24            As we've discussed somewhat
    25       Q. That's pretty efficient.                 25   over the last day and a half, the use of

   Golkow Litigation Services                                                Page 32 (598 - 601)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further33Confidentiality
                                                         of 95. PageID #: 471255
                                                                             Review
                                             Page 602                                             Page 604
     1   opioids in and of itself doesn't lead            1   abuse.
     2   everyone to die from an overdose. There's        2   BY MR. ROTH:
     3   tolerance and addiction, and all along that      3       Q. Well, there are drugs other
     4   chain, there are different factors that may      4   than opioids in the world that are abused,
     5   contribute to who actually dies of an            5   right?
     6   overdose. So this -- this paper is really        6       A. That may be true. Again, as a
     7   trying to get at the mortality results.          7   broader matter, the demographic and
     8            And moreover, the socioeconomic         8   socioeconomic variables that I do capture in
     9   variables included in my model have much to      9   my model are essentially the way Case and
    10   do with this idea of the expected material      10   Deaton look at this as well as these being
    11   and social circumstances, has to do with        11   the predictors of ultimately what contributes
    12   employment, whether people are in the labor     12   to mortality.
    13   force. All of those socioeconomic variables     13           MR. ROTH: Okay. Why don't we
    14   capture those factors.                          14       take another quick break.
    15       Q. But you don't include any                15           THE WITNESS: Okay.
    16   variable, for example, on the incidence of      16           THE VIDEOGRAPHER: The time is
    17   depression in the counties?                     17       10:21 a.m. We're now off the record.
    18            MR. SOBOL: Objection.                  18           (Recess taken, 10:21 a.m. to
    19       A. I do not include a variable on           19       10:34 a.m.)
    20   the incidence of depression. I have no          20           THE VIDEOGRAPHER: The time is
    21   reason to believe that that would predict       21       10:35 a.m., and we're back on the
    22   opioid use.                                     22       record.
    23   BY MR. ROTH:                                    23   BY MR. ROTH:
    24       Q. You don't include any variable           24       Q. So sticking with your indirect
    25   on the incidence of alcoholism in the           25   model.
                                             Page 603                                             Page 605
     1   counties?                                        1        A. Okay.
     2        A. I do not include a variable on           2        Q. So we talked about a couple of
     3   the incidence of alcoholism, nor would I         3   times now how because the ARCOS data is at
     4   expect it to predict opioid use.                 4   the molecule level, you couldn't back out the
     5        Q. You don't think that alcohol             5   Schedule III opioids; is that right?
     6   use is correlated with opioid use?               6        A. That's right. In those two
     7        A. Whether individuals who are              7   molecules that have a mix, right?
     8   likely to use opioids have some of the same      8        Q. And your report says you don't
     9   personal characteristics as those                9   believe this impacts the model because it
    10   individuals, that may well be true. But my      10   affects only less than 2?% of shipments, and
    11   demographic and socioeconomic factors are       11   then you further clarified actually that it's
    12   also capturing those underlying issues that     12   less than 1%.
    13   may be, according to this notion, that the      13            Did I hear that right?
    14   economic status of people is really what's      14        A. Right. So it's less than 2?%
    15   driving the addiction tendencies, and those     15   of shipments in those molecules -- I'm
    16   are the variables that I include in my model.   16   actually trying to look for the text. Do you
    17        Q. And similarly, you don't                17   have that paragraph?
    18   include any variable in your -- either of       18        Q. It's paragraph 83.
    19   your regression models related to drug abuse    19        A. Okay, great. Thank you. Less
    20   in the counties?                                20   than 2?% of the shipments in those molecules
    21             MR. SOBOL: Objection.                 21   that have a mix of Schedule II and Schedule
    22        A. If you think about my indirect          22   III, and that's hydrocodone and codeine, I
    23   model, predicting shipments to have drug        23   believe, are the two molecules that are
    24   abuse on the right-hand side would make very    24   relevant.
    25   little sense if the shipments caused the drug   25        Q. And did you test how removing
   Golkow Litigation Services                                                Page 33 (602 - 605)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further34Confidentiality
                                                         of 95. PageID #: 471256
                                                                             Review
                                              Page 606                                             Page 608
     1   all of the Schedule III opioids from the         1   been asked to assume that hydrocodone should
     2   ARCOS data would impact your model?              2   be included in my measure of impact for the
     3       A. I don't believe so, no. I                 3   whole period.
     4   mean, I assume what you mean is overremoving     4        Q. And how would it affect the
     5   since in the ARCOS data I couldn't               5   results of your indirect regression if the
     6   distinguish, but removing the molecules that     6   percentage of Schedule III molecules in the
     7   have any Schedule III, is that what you're       7   sales data changes over time?
     8   asking?                                          8        A. I don't think it would affect
     9       Q. Right?                                    9   the results. I mean, I think, again, to the
    10       A. Yeah. That, I did not test.              10   extent that it has an effect, it's a -- it's
    11       Q. And we established you used              11   a level effect.
    12   1997 as your baseline, right?                   12            For such a small quantum that's
    13       A. That's correct.                          13   in my analysis, the Schedule III drugs, it's
    14       Q. So I assume your assumption is           14   just next to impossible that it has any
    15   that the relationship between demographic,      15   effect on the coefficients. It overstates
    16   economic and healthcare variables for 1997      16   the set of molecules, the number of MMEs, and
    17   holds for all future years?                     17   that effect I know also is small. It's less
    18       A. That is the basic assumption of          18   than 1% of MMEs.
    19   the indirect model in general, is that the      19            In terms of the rescheduling of
    20   cross-sectional relationships are stable, and   20   hydrocodone, I haven't quantified that, so as
    21   just the variation in those variables changes   21   I sit here, I can't tell you. Again, I
    22   over time.                                      22   believe if it has an effect and if it's
    23       Q. Do you know what the                     23   deemed, for example, that hydrocodone should
    24   rescheduled Schedule III opioids were as a      24   only be included when it was Schedule II and
    25   percentage of sales in 1997?                    25   not when it was Schedule III, then those MMEs
                                              Page 607                                             Page 609
     1       A. When you say rescheduled,                 1   would just be backed out of the levels.
     2   you're just talking about hydrocodone?           2        Q. Okay. If we look back at
     3       Q. Well, let me reask the                    3   Table 5 on page 61.
     4   question.                                        4        A. Yes.
     5       A. Sure.                                     5        Q. How does the volume of MMEs
     6       Q. Do you know what the percentage           6   that you derive from your indirect regression
     7   of sales Schedule III opioids were in 1997?      7   compare to the volume of MMEs you derived in
     8       A. If -- I'm sorry. I don't know             8   your direct regression?
     9   that I understand the question because I know    9        A. The total volume, because I'm
    10   the answer to a version of that question,       10   looking at the large counties here, they're
    11   which I think is the relevant one.              11   about two-thirds of the national total, so it
    12            The percentage of the included         12   essentially should be about two-thirds.
    13   molecules that are Schedule III that I can't    13   Again, these are annual numbers and I use
    14   pull out is 2?%.                                14   monthly numbers as inputs into my direct
    15       Q. In 1997?                                 15   analysis.
    16       A. In 1997, yes.                            16        Q. And when you say you're looking
    17       Q. Okay. What about the rest of             17   at the large counties, can you explain that?
    18   the Schedule III, that later became Schedule    18        A. Sure. The ARCOS data that I
    19   II on the rescheduling, what was their          19   used for the indirect model is the large
    20   percentage of sales in 1997?                    20   county sample, so these are counties with
    21       A. So now we're talking about               21   populations of 100,000 or more.
    22   hydrocodone rescheduling?                       22        Q. So it's not limited to Cuyahoga
    23       Q. Correct.                                 23   and Summit specifically?
    24       A. I have not assessed that.                24        A. That's correct.
    25   Again, as we talked about yesterday, I've       25        Q. How do the peaks in the MMEs

   Golkow Litigation Services                                                Page 34 (606 - 609)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further35Confidentiality
                                                         of 95. PageID #: 471257
                                                                             Review
                                              Page 610                                             Page 612
     1   compare between the indirect regression and      1   We've been around all those issues.
     2   the direct regression?                           2             So is it fair to say that given
     3        A. Do you mean in the but-for or            3   the parameters of your direct regression,
     4   in the actual?                                   4   your but-for model is being more heavily
     5        Q. Well, in the -- looking just --          5   influenced by the 1995 to 2009 details than
     6   I'll be more clear.                              6   later details?
     7            In looking at Table 5, it looks         7        A. It is true based on Model B
     8   like the highest volume of total MMEs is         8   that those earlier detailing will -- I mean,
     9   actually in 2011.                                9   it has a longer time to compound effectively.
    10            Do you see that?                       10             What the level of detailing is,
    11        A. Yes, I mean, 2010 and 2011 are          11   as you know, it's sort of up and down, so
    12   very similar, but it is slightly higher.        12   it's not a strictly monotonic thing, given
    13        Q. Right. And I'm just trying to           13   that there were periods where the level of
    14   square that with your direct regression which   14   detailing was lower.
    15   found that there was this era turning point     15             But in general, the model
    16   in 2010 that resulted in a decline after        16   suggests that earlier detailing, because it
    17   that.                                           17   has longer time to contribute to sales, for a
    18        A. Well, let's have a look at when         18   given unit will have a bigger effect on the
    19   the peak MMEs are as opposed to when I          19   total.
    20   estimate the erosion begins to happen.          20        Q. And you have not run any
    21            So I'm just looking at                 21   regression model that attempts to show the
    22   Figure 2. So the absolute peak is in 2011,      22   effect of defendants' promotion beginning in
    23   but if you look at 2010, again, it's just a     23   2009 on prescriptions of opioids after that
    24   bit below 2011. There's sort of a flat spot     24   time?
    25   at the top of the curve there, so...            25        A. Well, my model incorporates the
                                              Page 611                                             Page 613
     1       Q. Okay. So in both regressions,             1   entire time period. I haven't separately run
     2   the peak is actually in 2011?                    2   a model from 2009 forward. I don't think it
     3       A. Yeah, I think the peak is in              3   would be appropriate to run a separate model.
     4   2011.                                            4   One could use my model to run a but-for
     5       Q. And you agree, based on the               5   scenario in the post-estimation sense.
     6   results of your direct regression, that          6        Q. But the issue there, though, is
     7   defendants' promotion for opioids had less       7   that you still have all these details
     8   effect after 2010?                               8   from '95 to 2009 in your model, which have
     9       A. According to my model, the                9   continuing -- continuing impact after 2009?
    10   incremental effect of promotion began           10        A. Well, just to be clear, I'm not
    11   declining in late 2010, yes.                    11   sure what your hypothetical is, but if I
    12       Q. Is it the case that the                  12   wanted to know for some reason only what
    13   majority of the conduct influencing the         13   impact detailing from 2009 or any other year
    14   but-for number in your direct model occurred    14   was from the present, I'd use the same model,
    15   before 2010?                                    15   but I would say that actual and but-for
    16       A. I'm just trying to think about           16   promotion are equal up until 2009, so not
    17   what's the right way to answer that question.   17   attributing impact to those earlier details.
    18   You're talking -- we're talking about the       18            And then from that point on,
    19   direct model now?                               19   then I would reduce the promotional stock by
    20       Q. Correct. Well, here's my sort            20   the amount of detailing that happened after
    21   of question. So you've got conduct over         21   that time, so that would be the right way, if
    22   time, right?                                    22   for some reason one wanted to look at a
    23       A. Yes.                                     23   shorter time period.
    24       Q. Starting in '95, right? And              24        Q. And that's not an analysis
    25   we've got a growing stock of promotion.         25   you've done so far?
   Golkow Litigation Services                                                Page 35 (610 - 613)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further36Confidentiality
                                                         of 95. PageID #: 471258
                                                                             Review
                                              Page 614                                              Page 616
     1       A. It's not, although I mention in           1       Q. So you'd have to use a
     2   Table 3 that I could limit my analysis to        2   different dataset mapped onto your indirect
     3   different time periods like that.                3   regression if you were to try to allocate the
     4       Q. Okay. Table 5 is measuring                4   indirect regression across and between
     5   annual estimates based on your indirect          5   defendants?
     6   method on an aggregate basis, correct?           6       A. If such allocation were
     7       A. As per my assignment, I'm                 7   necessary for whatever reason, I think that
     8   looking at aggregate impact in this model as     8   would be the best way to do it.
     9   I do in the direct model.                        9       Q. But as we sit here today, you
    10       Q. And it does not measure the              10   have not done that work and you have no
    11   impact of any specific manufacturer's           11   opinion as to what that allocation would be
    12   promotion, the indirect model?                  12   in your indirect regression?
    13       A. Again, I have been asked to              13       A. I have not offered an opinion
    14   calculate the aggregate impact, and because     14   on that matter as you can see in my report.
    15   there are spillover effects across              15       Q. Does your indirect regression
    16   manufacturers, I believe here, as I did in      16   exclude opioid shipments by the
    17   the direct model, that it is appropriate to     17   non-defendants?
    18   look not one defendant at a time, but to look   18       A. No, the indirect method is the
    19   overall at the underlying issues.               19   aggregate market, so it includes
    20       Q. You don't have any Table 3 or            20   non-defendants, and hence, the reason to
    21   related methodology for your indirect           21   include that secular trend.
    22   regression, correct?                            22       Q. So when we look at these excess
    23       A. I don't have a Table 3 for the           23   shares, that's not just for defendants'
    24   indirect method because, of course, it's        24   promotion, but it's for all promotion?
    25   indirect, and Table 3, as we have talked        25       A. These excess shares are
                                              Page 615                                              Page 617
     1   about at length, generates a different set of    1   analogous to the excess shares that are in
     2   but-for assumptions by treating promotion        2   Table 2, which is they are the excess share
     3   differently for the subset of defendants.        3   of opioid prescribing overall that is
     4       Q. And you don't have any                    4   associated with the misconduct, and again,
     5   IQVIA/IPS-type data for the indirect             5   that's the relevant parameter that I need to
     6   regression that you could use to generate an     6   pass on to Professor Cutler.
     7   allocation the way you have for the direct       7       Q. And Professor Cutler didn't
     8   regression?                                      8   actually use your indirect regression in the
     9       A. Again, here, the promotion is             9   body of his report; is that correct?
    10   not directly measured by nature, so that        10       A. I think in the body of his
    11   doesn't map to defendants in the way it did     11   report he uses the direct, and then he
    12   in the direct model. In -- and so I have not    12   replicates with the indirect in the -- one of
    13   thought about -- again, because it was not      13   his attachments.
    14   part of my assignment, I have not thought       14       Q. And did you have any
    15   about allocating this to defendants. I think    15   conversations with Professor Cutler about
    16   the logical way to do so might be based on      16   that decision to use the direct in his main
    17   MMEs.                                           17   analysis and address the indirect in an
    18       Q. But you can't actually allocate          18   attachment?
    19   by MMEs in your indirect model either because   19       A. No.
    20   the ARCOS data is at a molecular level, not     20       Q. Do you know whether Professor
    21   at an NDC level?                                21   McGuire uses your indirect regression as an
    22       A. While that is true, I have the           22   input to his analysis?
    23   IQVIA data for the same years that would        23       A. I do not.
    24   allow me to say within a molecule what share    24       Q. Did you have any direct
    25   is Purdue, et cetera.                           25   conversations with Professor McGuire about
   Golkow Litigation Services                                                Page 36 (614 - 617)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further37Confidentiality
                                                         of 95. PageID #: 471259
                                                                             Review
                                              Page 618                                            Page 620
     1   your analysis and how it would translate into    1       A. I do.
     2   his analysis?                                    2       Q. And is there any other
     3       A. Yes, at some point.                       3   empirical research on uncontrolled pain that
     4       Q. Okay. And you understand that             4   you reviewed in connection with your report
     5   there's an intermediate step between you and     5   that supports the statement in paragraph 91 I
     6   Professor McGuire that is Professor Cutler's     6   just read?
     7   analysis?                                        7       A. Obviously these are the
     8       A. Yes. As a general matter, yes,            8   articles that I rely on. My point here is
     9   I understand how these fit together.             9   simply to say that prior to the period of the
    10       Q. Okay. Let's turn to Section X            10   alleged misconduct, people were writing about
    11   on page 62.                                     11   the concerns about uncontrolled pain for
    12            So in Section X, the question          12   these particular areas, and I'm simply -- I'm
    13   you pose in the heading is Does a Theory of     13   not trying to be exhaustive about it; I'm
    14   Undertreated Pain Explain the Growth in         14   just simply showing that there is
    15   Opiate Prescribing.                             15   documentation in the academic literature of
    16            Do you see that?                       16   these concerns.
    17       A. Yes.                                     17       Q. And academic literature, by
    18       Q. And you say in paragraph 90:             18   that you're talking primarily about medical
    19   As an alternative to the defendants'            19   articles, correct?
    20   marketing as being the explanation for much     20       A. Well, undertreated pain
    21   of the rise in opioid prescribing in the        21   presumably is a medical issue.
    22   United States, I understand that some have      22       Q. Right. And then in
    23   argued an alternative explanation that pain     23   paragraph 91 you say, after the sentence I
    24   was previously undertreated and that the        24   read: In this section I use epidemiologic
    25   growth in opioid shipments is due either to     25   data and a simple simulation approach to
                                              Page 619                                            Page 621
     1   the amount of pain in the United States          1   approximate the portion of the increased
     2   increasing over time, or more likely to the      2   prescribing caused by the allegedly unlawful
     3   amount of the opioids used to properly treat     3   promotion could possibly be associated with
     4   pain increasing over time.                       4   using opioids to address ostensibly
     5            Do you see that?                        5   undertreated pain.
     6       A. I do.                                     6        A. It seems like I'm missing a
     7       Q. And then you say in                       7   word there.
     8   paragraph 91: To test this hypothesis, I         8        Q. Yeah, I think there's a typo,
     9   note there is empirical research on the          9   but I read that correctly?
    10   prevalence of uncontrolled pain among cancer    10        A. Yes, you did.
    11   patients and other patient groups that could    11        Q. Okay. So in paragraph 91 you
    12   help us understand how much of the growth in    12   describe the simple simulation approach,
    13   opioid shipments could, as a theoretical        13   which in paragraph 92 you describe as a
    14   matter, even possibly be attributed to using    14   thought experiment.
    15   more opioids to treat pain consistent with      15            Do you see that?
    16   medical evidence.                               16        A. Yes.
    17            Do you see that?                       17        Q. How would the economic
    18       A. I do.                                    18   literature describe the type of analysis
    19       Q. Then you've got a footnote that          19   you're conducting in paragraph 10 of your --
    20   cites to a few medical articles by              20   Section X of your report?
    21   Dr. Portenoy, Dr. Cleeland, Dr. Donovan, a      21        A. Generally, simulation is the
    22   Marks and Sachar article, and then I won't      22   word that economists would use to describe
    23   even attempt to say the name of the last        23   it.
    24   author.                                         24        Q. And is simulation a
    25            Do you see that?                       25   peer-reviewed methodology?
   Golkow Litigation Services                                                Page 37 (618 - 621)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further38Confidentiality
                                                         of 95. PageID #: 471260
                                                                             Review
                                              Page 622                                             Page 624
     1        A. Sure.                                    1       A. There is another one. Let me
     2        Q. And what papers would I read to          2   see if -- I just need to figure out what year
     3   describe how to conduct a proper simulation      3   it was.
     4   in economics?                                    4             Article 34.
     5             MR. SOBOL: This one.                   5       Q. It's helpful that you number
     6        A. Simulations are used in a whole          6   things, by the way.
     7   variety of settings. In general, the             7             So that's State and Federal
     8   cost-effectiveness literature uses simulation    8   approaches to health reform: What works for
     9   as a primary methodology.                        9   the working poor?
    10   BY MR. ROTH:                                    10       A. That's correct.
    11        Q. Okay. As you sit here now, can          11       Q. Okay. Anything beyond those
    12   you think of a specific economics               12   two?
    13   peer-reviewed paper that uses a simulation      13       A. I think that -- well, actually,
    14   approach akin to the approach you take in       14   I mention cost-effective analysis, and the
    15   Section X of your expert report?                15   article 115 is a cost-effectiveness analysis
    16        A. As I sit here, I couldn't come          16   that uses a microsimulation model.
    17   up with a citation for you. My -- my recall     17       Q. Cost-effectiveness of Financial
    18   for article names is not that good, but this    18   Incentives for Patients and Physicians to
    19   is -- this is a pretty common approach,         19   Manage Low-Density Lipoprotein Cholesterol
    20   particularly when it comes to looking at the    20   Levels?
    21   effects of policies, proposed policies.         21       A. That's correct.
    22        Q. Have you published any research         22       Q. Okay. So now we have three.
    23   yourself that utilizes the same type of         23   Any others?
    24   simulation approach that you outlined in        24       A. As far as I know, those are the
    25   Section X of your expert report?                25   relevant articles on my CV. Again, a
                                              Page 623                                             Page 625
     1       A. I have a recent paper that                1   simulation is commonly used as either a whole
     2   simulates a policy proposal that would, in       2   analysis or as part of an analysis.
     3   effect, tax companies that raise their           3   Sometimes researchers will take parameters
     4   prescription drug prices above either the CPI    4   that they estimate and then use them to
     5   or some other particular threshold, so that      5   simulate a policy change.
     6   uses a simulation approach.                      6        Q. And you've said a couple of
     7       Q. And if we look at Attachment A,           7   times now, it's used to simulate a policy
     8   which is your CV, can you show me which paper    8   change.
     9   you're talking about?                            9            Can you explain what you mean
    10       A. Yeah, let me just see. It was            10   by that?
    11   just published this year, but I think it        11        A. Well, in the case of the last
    12   should be on there. Sorry, that's my other      12   article that we just talked about that we
    13   documents.                                      13   undertook a randomized control trial of
    14            It's article 119.                      14   financial incentives for doctors and patients
    15       Q. Article 119. Generic                     15   to control cholesterol better, and we took
    16   prescription drug price increases, which        16   what we learned in that randomized control
    17   products will be affected by proposed           17   trial and said what would happen basically if
    18   anti-gouging legislation?                       18   employers were to adopt this widely or if
    19       A. That's correct.                          19   health insurance companies were to adopt this
    20       Q. Beyond that article in -- 119            20   widely, what would happen to cholesterol
    21   that you just identified, can you think of      21   control and downstream healthcare
    22   any other peer-reviewed publications you've     22   expenditures that would result.
    23   authored that utilize the same type of          23        Q. And to do that, you used a
    24   approach you outline in Section X of your       24   simulation similar to the one you used in
    25   report?                                         25   Section X of your report?

   Golkow Litigation Services                                                Page 38 (622 - 625)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further39Confidentiality
                                                         of 95. PageID #: 471261
                                                                             Review
                                              Page 626                                             Page 628
     1       A. Yes, it's based on the same               1   single methodological paper that would apply
     2   premise. We have some epidemiologic data and     2   here.
     3   then some information about the relevant         3       Q. Okay. So back to
     4   behaviors, and in this case, the treatment       4   paragraph 91 --
     5   patterns for the patients.                       5       A. Okay.
     6       Q. And you call this analysis a              6       Q. -- you say at the end of the
     7   simulation study or is there some other term     7   paragraph: In this section, I use
     8   I should be using?                               8   epidemiological data and a simple simulation
     9       A. I call it a simulation, and as            9   approach.
    10   you can see, I then call it a thought           10            We talked about that.
    11   experiment.                                     11            And then the rest of the
    12       Q. Yeah. And it's simple                    12   sentence says: To approximate the portion of
    13   simulation and a thought experiment, so I       13   the increased prescribing caused by the
    14   wasn't sure which is best. We may use both      14   allegedly unlawful promotion -- I think you
    15   interchangeably, if that's okay.                15   meant "that could possibly be associated."
    16       A. Sure.                                    16       A. Yes.
    17       Q. What is the appropriate                  17       Q. Okay. So when you say
    18   methodology in economics for conducting a       18   promotion that could possibly be associated
    19   simulation study such as the one that you       19   with using opioids, as we discussed, you're
    20   have in paragraph 10 of your report?            20   not a medical doctor, right?
    21       A. Well, again, as I mentioned, a           21       A. That's correct.
    22   simulation generally involves some relevant     22       Q. So you're relying on
    23   population and then some behavioral             23   plaintiffs' medical experts to tell you what
    24   parameters. And, I mean, the context will       24   those parameters should be?
    25   vary.                                           25       A. That's correct, in part, yes.
                                              Page 627                                             Page 629
     1            In other contexts, we're                1       Q. You did not make any
     2   looking at patients and their health             2   independent assumptions about the type of
     3   behaviors. Simulations are frequently done       3   patients that could have benefited medically
     4   around tax policy, so the relevant behaviors     4   from using opioids?
     5   have to do with labor supply, for example.       5            MR. SOBOL: Objection.
     6            And I do call this a simple             6       A. I -- as you can see and will
     7   simulation here because the only parameters      7   note I talk about, I cite to a number of
     8   I'm looking at are treatment patterns.           8   guidelines and articles, and I rely on
     9       Q. If I wanted to find some                  9   plaintiffs' clinical experts to validate my
    10   peer-reviewed treatise or article that told     10   assumptions.
    11   me what the appropriate methodology is for a    11   BY MR. ROTH:
    12   simple simulation such as the one you conduct   12       Q. Right, but since you're not a
    13   in Section X of your report, where would I      13   doctor, when you read the guidelines and
    14   look?                                           14   articles, I take it you took direction from
    15       A. I am not sure that there would           15   either a doctor or from counsel about what to
    16   be a single treatise. I think to the extent     16   take out of those articles?
    17   that there are methodological frameworks, I     17            MR. SOBOL: Objection.
    18   think they're likely context specific.          18       A. Yes, that's correct.
    19       Q. So to figure out what the                19   BY MR. ROTH:
    20   appropriate generally accepted economic         20       Q. Okay. And you don't have any
    21   methodology is for a simulation, I would have   21   medical expertise that you would need to make
    22   to review a bunch of articles that run          22   your own independent assumptions about the
    23   simulations and determine the best approach     23   type of patients that could benefit from
    24   myself?                                         24   using opioids?
    25       A. I don't know if there's a                25       A. I am not a medical expert.

   Golkow Litigation Services                                                Page 39 (626 - 629)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further40Confidentiality
                                                         of 95. PageID #: 471262
                                                                             Review
                                              Page 630                                            Page 632
     1       Q. I want to look at paragraph 94.           1   you made from plaintiffs' experts'
     2   So towards the bottom of that paragraph, you     2   explanation of appropriate uses as opposed to
     3   say: Note that because I am not documenting      3   a factual assessment of which prescriptions
     4   the diagnoses and dosing associated with         4   were medically necessary?
     5   actual uses of opioids, I am not able to         5        A. Yes. I mean, it is based on a
     6   calculate how much of the increased use of       6   set of facts, but it does not compute the
     7   opioids during the period in which the           7   share of prescriptions that were actually
     8   alleged misconduct occurred was in fact for      8   used for these indications.
     9   clinically appropriate indications, dosages      9        Q. So let's look at kind of the
    10   and durations.                                  10   foundational assumptions you've got in
    11            Did I read that correctly?             11   paragraph 92.
    12       A. You did.                                 12        A. Okay.
    13       Q. And that's similar to what we            13        Q. You say first: I conduct a
    14   discussed yesterday. None of your analyses      14   thought experiment that allows me to
    15   attempt to parse out whether the excess MMEs    15   calculate, in scare quotes, upper bound of
    16   you identified were for medically appropriate   16   how much of the growth in MMEs could be
    17   uses?                                           17   attributable to more intensive pain
    18       A. Yes. Again, here I'm trying to           18   management for patient groups that according
    19   calculate this maximum, just say let's just     19   to plaintiffs' experts could have benefit
    20   assume that, in fact, some portion of this      20   from treatment of -- with opioids.
    21   growth is driven by better treating cancer      21            Do you see that?
    22   patients, how much could that possibly be?      22        A. Yes.
    23   But I have not been -- I do not have            23        Q. And then you say: All of the
    24   diagnosis codes that would allow me to          24   underlying assumptions in this section have
    25   precisely capture that in the data.             25   been developed in reference to the opinions
                                              Page 631                                            Page 633
     1        Q. Do you know whether data with            1   of the plaintiffs' clinical experts,
     2   diagnosis codes for Cuyahoga and Summit          2   including Dr. Schumacher and Dr. Parran.
     3   County exists that you could use to do an        3            Do you see that?
     4   actual analysis?                                 4       A. Yes.
     5        A. I don't know about whether data          5       Q. Are there any plaintiffs'
     6   are available for Cuyahoga and Summit            6   clinical experts who you rely on that are not
     7   Counties specifically, no.                       7   Dr. Schumacher and Dr. Parran?
     8        Q. And I read the sentence that I           8       A. Not specifically that I rely
     9   just took from paragraph 94 which you have       9   on, no.
    10   emphasized a few times with italics as a        10       Q. Okay. I just was confused,
    11   limitation on your analysis, correct?           11   because you say including, but you only named
    12        A. It's a kind of a limitation.            12   two of them, so I didn't know if there was
    13   It's just a really important clarification      13   someone else that's missing here.
    14   because I would not want someone reading my     14       A. I understand that there are
    15   report to interpret the numbers that I've       15   other clinical experts. These are the
    16   simulated to be actually representative of      16   clinical experts that I rely on.
    17   how prescriptions were -- you know, according   17       Q. Did you review or rely on
    18   to what diagnoses prescriptions were written.   18   Dr. Ballantyne's report?
    19             So it's not really a                  19       A. I did not, no.
    20   limitation. The purpose of my analysis is to    20       Q. Are you aware that plaintiffs
    21   do something different, but it should not be    21   have withdrawn Dr. Parran's expert report?
    22   interpreted as showing how much was actually    22       A. I was not aware of that, no.
    23   used to address cancer pain.                    23       Q. Do you know which of the
    24        Q. Your simulation is a                    24   assumptions you made based on Dr. Parran's
    25   hypothetical analysis based on assumptions      25   report in this section of yours?

   Golkow Litigation Services                                                Page 40 (630 - 633)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further41Confidentiality
                                                         of 95. PageID #: 471263
                                                                             Review
                                             Page 634                                              Page 636
     1       A. I don't believe any of the                1   or post-herpetic neuralgia, which comprise a
     2   assumptions were solely based on Dr. Parran.     2   small percentage of chronic pain patients and
     3             MR. ROTH: And so the record is         3   for which opioids may be considered a
     4       clear for the reporter, we're actually       4   third-line therapy?
     5       talking about Parran, P-A-R-R-A-N, who       5            Do you see that?
     6       is actually different than Perri,            6       A. I do.
     7       P-E-R-R-I. And Schumacher is                 7       Q. And actually, really, the only
     8       S-C-H-U-M-A-C-H-E-R.                         8   ones you include in your thought experiment
     9   BY MR. ROTH:                                     9   are Romanette (i), which are trauma or
    10       Q. Okay. So based on the opinions           10   postsurgical pain and cancer pain?
    11   of Dr. Schumacher and Dr. Parran, you next      11       A. Yes, just -- I was going to
    12   set forth the assumptions you make about what   12   just clarify. In this section in
    13   could possibly have been an appropriate         13   paragraph 92, I'm summarizing what I
    14   medical use in paragraph 92?                    14   understand the opinions of the clinical
    15             MR. SOBOL: Objection.                 15   experts have put forward in terms of
    16       A. Yes, I put forth those three             16   appropriate uses broadly, and you're correct
    17   categories of conditions that I understand      17   that when I go to implement my analysis, I'm
    18   have clear benefit from opioids.                18   focusing really on section (i), and I try to
    19   BY MR. ROTH:                                    19   explain why.
    20       Q. Okay. So the first category is           20       Q. Okay. And we'll get there.
    21   short-term treatment of severe acute pain,      21       A. Yeah.
    22   e.g., trauma or postsurgical pain,              22       Q. So when you read plaintiffs'
    23   end-of-life pain/hospice care and cancer pain   23   medical experts' reports, what you gleaned
    24   from active malignant disease.                  24   from those reports was that the only
    25       A. That's right.                            25   conditions they believed opioids are
                                             Page 635                                              Page 637
     1       Q. The second category you list              1   indicated properly to treat are those
     2   based on Dr. Parran and Dr. Schumacher is        2   conditions listed in paragraph 92?
     3   actually sort of a noncategory, right?           3            MR. SOBOL: Objection.
     4       A. Yes.                                      4        A. When I read those reports, I
     5       Q. Which --                                  5   gleaned everything that I said in that -- in
     6       A. Again, I'm sorry to interrupt             6   that extremely long sentence, which is a
     7   you. Please finish.                              7   little more nuanced than I think what you
     8       Q. What you say in (ii) is:                  8   just said.
     9   Chronic opioid therapy is not recommended for    9   BY MR. ROTH:
    10   most common chronic pain conditions, defined    10        Q. Do you know whether plaintiffs'
    11   as moderate to severe pain lasting beyond 60    11   medical experts' positions regarding the
    12   to 90 days, including low back pain,            12   proper indication of opioids today were the
    13   centralized pain such as fibromyalgia and       13   prevailing medical guidelines for use of
    14   headache pain.                                  14   opioids from 1995 to the present?
    15            Do you see that?                       15            MR. SOBOL: Objection.
    16       A. I do.                                    16        A. I am probably not the person to
    17       Q. And we'll talk about this in a           17   best characterize that, but I have looked at
    18   minute, but you actually exclude that from      18   some of those guidelines, and I also have
    19   your thought experiment?                        19   read the complaint, and I know that
    20       A. That's correct.                          20   plaintiffs intend to prove that part of the
    21       Q. And then the third category              21   misconduct influenced guidelines that were
    22   which is included is less common chronic pain   22   broader than these opinions.
    23   conditions such as pain from advanced           23            So I believe by extension it
    24   multiple sclerosis, sickle cell disease, pain   24   must be true that there are guidelines from
    25   following spinal cord injury and paraplegia     25   that period that suggest that it is safe to
   Golkow Litigation Services                                                Page 41 (634 - 637)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further42Confidentiality
                                                         of 95. PageID #: 471264
                                                                             Review
                                             Page 638                                              Page 640
     1   use opioids for things like chronic pain.        1   of prescription?
     2   BY MR. ROTH:                                     2            MR. SOBOL: Objection, asked
     3       Q. And you also understand that              3       and answered.
     4   medical guidelines are not static, correct?      4       A. Those clinical standards are
     5       A. I understand that medical                 5   influenced by the misconduct.
     6   guidelines are not static.                       6   BY MR. ROTH:
     7       Q. I mean, as a healthcare                   7       Q. So that goes back to my
     8   economist, I'm sure you've studied lots of       8   question.
     9   drugs where indications and warnings and         9            An underlying assumption of
    10   appropriate uses change over time?              10   Section X, your simulation analysis, is that
    11       A. Well, more specifically, I know          11   plaintiffs can prove that defendants'
    12   in this case that there were updated            12   misconduct influenced the extant clinical
    13   guidelines issued.                              13   standards from 1995 until the present?
    14       Q. But in your thought experiment,          14            MR. SOBOL: Objection, asked
    15   you're imposing plaintiffs' experts' 2019       15       and answered.
    16   framework on opioid use from the entire         16       A. Again, I think that you're --
    17   period from 1995 to the present?                17   you're putting a sort of liability
    18       A. I think you mistake the purpose          18   interpretation on this that -- that -- this
    19   of my thought experiment. It is not to say      19   is not a but-for analysis. You sound like
    20   what would happen if we imposed 2019 beliefs    20   you're describing it as a but-for analysis.
    21   by these clinical experts, but rather to say    21            It's a thought experiment that
    22   in a world in which there was no misconduct,    22   says what if we use opioids to perfectly
    23   to what extent might the appropriate -- sort    23   treat the patients that we know can be safely
    24   of appropriate efforts to address               24   and effectively treated, what would that look
    25   undertreated pain have led to similar           25   like in comparison to the growth that we
                                             Page 639                                              Page 641
     1   patterns.                                        1   actually saw.
     2       Q. So if I understand you then,              2   BY MR. ROTH:
     3   your simulation is predicated on plaintiffs      3       Q. It's a thought experiment that
     4   proving that the existing medical guidelines     4   says if the plaintiffs' experts are right
     5   between 1995 and today were wrong as a result    5   about what opioids can be used for, then this
     6   of defendants' misconduct?                       6   shows how prescriptions compare to what they
     7       A. Well, I think that you're                 7   say opioids should be used for?
     8   giving a legal interpretation to my analysis     8            MR. SOBOL: Objection.
     9   that I'm not really in a good position to        9       A. The thought experiment does
    10   judge.                                          10   depend on the assumptions about which groups
    11            What -- the purpose of my              11   could be appropriately treated. That is
    12   analysis is to examine whether there might      12   correct.
    13   have been legitimate clinical drivers of the    13   BY MR. ROTH:
    14   increase in opioids that could have explained   14       Q. Put another way, your thought
    15   a similar pattern of growth.                    15   experiment does not measure opioid usage
    16            Again, as I understand it,             16   against the existing clinical standards in
    17   defendants in related matters have said, you    17   place at any point in time?
    18   know, physicians began using opioids more       18            MR. SOBOL: Objection.
    19   heavily in the 1990s because of the             19       A. The thought experiment measures
    20   recognition that pain was undertreated, so      20   the level of opioid use that would have
    21   I'm simply examining that premise.              21   occurred -- sort of the highest level of
    22       Q. But if your premise is to try            22   opioid use that would have occurred according
    23   to understand whether there were legitimate     23   to what I believe plaintiffs' experts intend
    24   clinical drivers, why would you not use the     24   to prove is appropriate.
    25   clinical standards in existence at the time     25            It is not based on any

   Golkow Litigation Services                                                Page 42 (638 - 641)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further43Confidentiality
                                                         of 95. PageID #: 471265
                                                                             Review
                                              Page 642                                             Page 644
     1   individual set of guidelines. As I               1   calculated by simulation, assuming that
     2   mentioned, I am relying on clinical experts'     2   instead of whatever markup was actually
     3   opinions in order to identify these groups,      3   charged, that there would have been only a
     4   and so it's not based on a set of guidelines.    4   30% markup, for example, on drugs.
     5            The treatments -- the treatment         5            So simulation is very commonly
     6   patterns do come from some guidelines that       6   used as a damage analysis. Although that's
     7   I'm sure we will talk about, but again,          7   not what I'm using it here for.
     8   there -- I do -- I do some sensitivity           8       Q. Have you used a simulation
     9   analysis, but naturally, the specific            9   outside of damages analysis in other cases as
    10   parameters I choose, including the patient      10   you do in Section X of your report?
    11   groups, do affect the analysis.                 11       A. I'm not sure whether I have.
    12            And the reason why I call it a         12       Q. So because Section X is based
    13   thought experiment is this is not intended to   13   on plaintiffs' medical experts' assumptions
    14   say this is -- there's only one version of      14   about appropriate use of pain, you do not
    15   this, but instead, to say, well, look, I've     15   calculate MMEs associated with treatments
    16   picked these three important groups, and I've   16   beyond what they include in your analysis?
    17   assumed that absolutely everyone gets           17            MR. SOBOL: Objection.
    18   treated, and -- and look how little of the      18       A. Oh, I'm sorry. I'm not totally
    19   growth in opioids that explains. If you want    19   sure what you're talking about.
    20   to add another 50%, it still explains very      20   BY MR. ROTH:
    21   little.                                         21       Q. So we can go through paragraph
    22   BY MR. ROTH:                                    22   by paragraph and see exactly what types of
    23        Q. And what would the basis be for         23   pain -- what types of opioid uses you permit
    24   adding 50%? Just rough justice?                 24   based on their opinions.
    25        A. If you thought for example that         25       A. Yes.
                                              Page 643                                             Page 645
     1   I was missing a group of patients or that        1       Q. And we'll do that. But my
     2   my -- that dosing, in fact, could safely be      2   question is a little different.
     3   50% higher or that duration could be 50%         3            My question is because you
     4   higher.                                          4   limit yourself to what you glean from
     5        Q. I forgot to ask you earlier              5   Dr. Schumacher and Dr. Parran are appropriate
     6   when we were talking about your methodology.     6   uses of opioids, you do not include other
     7   Have you utilized a simulation approach          7   uses of opioids that might be appropriate
     8   similar to the one in Section X of your          8   under medical guidelines in your simulation
     9   report in other expert work that you've done?    9   of MMEs?
    10   And feel free to take a drink.                  10       A. I think it's fair to say that I
    11        A. I'm sorry, now I have the               11   include the three categories of patients in
    12   reverse problem.                                12   my analysis, and by extension, I do not
    13        Q. Let me reask the question               13   include others.
    14   because the transcript is not clear.            14       Q. And looking back at
    15            Have you utilized a simulation         15   paragraph 92, you took from Dr. Schumacher
    16   approach like the one in Section X of your      16   and Dr. Parran that chronic opioid therapy is
    17   report in other expert work that you've done?   17   not recommended for most common chronic pain
    18        A. In effect, any but-for analysis         18   indications, correct?
    19   is a simulation. I usually call those           19       A. That's what I understood, yes.
    20   simulations because they abstract from the      20       Q. You understand that opioids are
    21   actual world by changing some set of facts.     21   indicated for and labeled for those uses?
    22   Those are simulations.                          22            MR. SOBOL: Objection.
    23            There have also been                   23       A. I do know that in some cases
    24   simulations in my expert work, for example,     24   they are labeled for chronic pain.
    25   in the AWP matter, the damages are basically    25            ///

   Golkow Litigation Services                                                Page 43 (642 - 645)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further44Confidentiality
                                                         of 95. PageID #: 471266
                                                                             Review
                                              Page 646                                            Page 648
     1   BY MR. ROTH:                                     1   the clinical opinions, as I've summarized
     2        Q. So your simulation depends not           2   them here. They're more qualitative.
     3   only on showing that the medical standards in    3             And when they refer to
     4   place at the time were wrong, but also that      4   third-line treatment, I think that is a
     5   the FDA should not have approved opioid use      5   concept that would require understanding what
     6   for chronic pain?                                6   percentage of chronic pain patients have
     7             MR. SOBOL: Objection, in part          7   tried and failed to use other therapies.
     8        asked and answered, misstates her           8       Q. So we saw yesterday morning,
     9        prior testimony.                            9   which feels like a long time ago, that
    10             Go ahead.                             10   Excellus Blue Cross Blue Shield in its
    11        A. I would not agree that it               11   guidelines still approves of the use of
    12   depends on that. My analysis conducts this      12   opioids for pain in some circumstances.
    13   thought experiment on this group for which it   13       A. In its formulary, yes, I think
    14   is clear that -- to clinical experts, as I      14   that's right.
    15   understand it, that opioids are appropriately   15       Q. Okay. And are you aware the
    16   used.                                           16   CDC guidelines also approve opioid use for
    17             For chronic pain patients, I          17   chronic pain in some instances?
    18   understand that the clinical opinions that      18             MR. SOBOL: Objection.
    19   are being offered by plaintiff experts are of   19       A. I do believe the CDC
    20   this mixed form, as I show here, and so I do    20   guidelines -- and I'm not sure that I've seen
    21   not include those patients in my analysis.      21   the most recent ones, but the CDC guidelines
    22             I don't believe that means the        22   do mention chronic pain as a use for opioids.
    23   analysis has no utility if, in fact, there's    23   BY MR. ROTH:
    24   some subgroup of patients for whom they are     24       Q. And in fact, Dr. Parran himself
    25   appropriate. But that's, in fact, captured      25   agrees that chronic pain may be clinically
                                              Page 647                                            Page 649
     1   in these opinions, and we'll go on to talk       1   appropriate for some subset of patients?
     2   about what the implications are.                 2            MR. SOBOL: Objection.
     3            I think my results can be               3       A. I believe those opinions again
     4   viewed in the context of the idea that there     4   which are nuanced here summarize that same
     5   may be this small group of chronic pain          5   conclusion that you've drawn, that for some
     6   patients who benefit from opioids.               6   small group of patients, opioids may be
     7   BY MR. ROTH:                                     7   appropriate.
     8       Q. And if you were to include any            8   BY MR. ROTH:
     9   number of chronic pain patients for whom         9       Q. Yeah. And I can mark this, but
    10   opioid use is appropriate in your simulation,   10   I don't know if you just remember. I mean, I
    11   that would increase the number of potentially   11   think he says in his report chronic opioid
    12   appropriate MMEs and thus, decrease the gap     12   therapy for persons with chronic pain
    13   between actual MMEs prescribed and your         13   conditions is at most indicated in less than
    14   potentially appropriate number?                 14   10% of patients with chronic pain, and likely
    15            MR. SOBOL: Objection.                  15   significantly fewer.
    16       A. If you were to add to the                16            Do you recall reading that?
    17   number of patients and the number of MMEs,      17       A. That sounds familiar.
    18   that would increase the total, yes.             18       Q. Okay.
    19   BY MR. ROTH:                                    19       A. Obviously that's -- less than
    20       Q. Have you done any study or               20   10% is a hard number to plug into a
    21   analysis as to what number of chronic pain      21   simulation.
    22   patients might be an appropriate quantum to     22       Q. It's some nonzero number, and
    23   add to your potentially appropriate group?      23   he's saying it's somewhere between zero and
    24       A. So I don't believe that there's          24   ten without really saying what it is, so I
    25   a single number that I've seen when I look at   25   would agree with you.
   Golkow Litigation Services                                                Page 44 (646 - 649)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further45Confidentiality
                                                         of 95. PageID #: 471267
                                                                             Review
                                             Page 650                                              Page 652
     1            But you recall seeing that he           1       Q. And have you reviewed the
     2   didn't say it was totally impermissible?         2   guidelines from 1980 or 1985?
     3            MR. SOBOL: Objection.                   3       A. I have not.
     4       A. He did not -- and I'll slow               4       Q. Okay. So you don't know that
     5   down. And again, I reflect that nuance in my     5   for sure; you're speculating.
     6   description here.                                6       A. That's correct.
     7   BY MR. ROTH:                                     7            MR. SOBOL: You asked her to
     8       Q. You reflect it in your                    8       speculate to begin with.
     9   description, but you don't reflect any number    9            MR. ROTH: I know, but now I
    10   of chronic pain patients in your simulation.    10       need to make clear on the record that
    11       A. That's correct, I explicitly             11       that's what she's doing.
    12   exclude them.                                   12   BY MR. ROTH:
    13            (Whereupon, Deposition Exhibit         13       Q. Okay. So these are published
    14       Rosenthal-24, CDC Guideline for             14   in 2016, which is well into period three of
    15       Prescribing Opioids for Chronic Pain,       15   your preferred direct regression, correct?
    16       United States, 2016, was marked for         16       A. That's correct.
    17       identification.)                            17       Q. And if you look at the summary
    18   BY MR. ROTH:                                    18   on the first page, it says: This guideline
    19       Q. All right. I'm going to show             19   provides recommendations for primary care
    20   you what I'll mark as Exhibit -- no, I don't    20   clinicians who are prescribing opioids for
    21   want this one. Sorry. She's been so good.       21   chronic pain outside of active cancer
    22       A. I know. She has a hard job               22   treatment, palliative care and end-of-life
    23   reading your mind.                              23   care.
    24       Q. I'm going to mark as Exhibit 24          24            Do you see that?
    25   the CDC guidelines for prescribing opioids      25       A. I do.
                                             Page 651                                              Page 653
     1   for chronic pain from 2016. And are these        1        Q. And do Dr. Parran or
     2   the guidelines you recall reviewing?             2   Dr. Schumacher include any appropriate use of
     3       A. Yes, I have reviewed the 2016             3   opioids for palliative care?
     4   guidelines.                                      4        A. Again, as I summarized their
     5       Q. And are there more recent                 5   statements, they include -- they include
     6   guidelines than 2016?                            6   virtually the same terms, and many of those
     7       A. I'm not sure. That's -- I was             7   palliative care patients of course are also
     8   just allowing for the possibility because I      8   cancer patients.
     9   think there are older guidelines.                9        Q. And they include cancer
    10       Q. Right. And the older                     10   patients who are not just in hospice in their
    11   guidelines it's fair to say are likely more     11   description, correct?
    12   generous in terms of what they suggest is       12        A. That's correct. Cancer
    13   appropriate usage for opioids with respect to   13   patients may be in hospice or not in hospice
    14   chronic pain than the more recent guidelines?   14   but at the end of life.
    15            MR. SOBOL: Objection.                  15        Q. And do you know how the
    16       A. I don't recall.                          16   journals define end of life?
    17   BY MR. ROTH:                                    17        A. Well, I think there are
    18       Q. Would you not expect that,               18   different ways of looking at end of life, and
    19   given the information in medical journals,      19   they vary by analysis. I think frequently
    20   et cetera, about an increased sensitivity       20   the last 90 days of life are considered end
    21   frankly just to addiction issues and opioids?   21   of life, but I'm -- I don't know that that's
    22       A. I guess it depends on what               22   a single way of thinking about it.
    23   we're comparing it to. If we had guidelines     23        Q. And of course, a doctor who's
    24   from 1990 or 1985, I would expect them to be    24   an oncologist with a patient may not actually
    25   even more cautionary.                           25   know at the time they're prescribing how

   Golkow Litigation Services                                                Page 45 (650 - 653)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further46Confidentiality
                                                         of 95. PageID #: 471268
                                                                             Review
                                              Page 654                                            Page 656
     1   close they are to the end of life to know        1   are not at the end of life who are
     2   whether they're within that definition,          2   experiencing cancer pain is -- that the same
     3   right?                                           3   challenges pertain to opioid prescribing in
     4        A. I'd be really impressed if they          4   terms of tradeoffs between possible addiction
     5   did know.                                        5   risks.
     6        Q. Yeah. I mean, we all have                6        Q. So looking back at the summary,
     7   stories of relatives or friends who were         7   it then says, after the first sentence: The
     8   given a month to live and magically lived        8   guideline addresses, 1, when to initiate or
     9   three or four years with cancer.                 9   continue opioids for chronic pain; 2, opioid
    10            MR. SOBOL: Objection.                  10   selection, dosage, duration, follow-up and
    11   BY MR. ROTH:                                    11   discontinuation; and 3, assessing risk and
    12        Q. Do you know people like that?           12   addressing harms of opioid use.
    13        A. I don't, but I'm glad that you          13            Do you see that?
    14   do.                                             14        A. I do.
    15            The idea of end of life as you         15        Q. And these guidelines were
    16   know in my analysis, I use the actual end of    16   developed by the CDC, correct?
    17   life for my simulation, but it may well be      17        A. Yes.
    18   that some of those people died without          18        Q. The Centers for Disease
    19   getting an opioid treatment because their       19   Control.
    20   doctors were not ready to decide that they      20        A. That's right.
    21   were at the end of life.                        21        Q. And they were developed in
    22        Q. And there may also be people            22   2016, well into sensitivity around opioid
    23   who the doctor thinks is at the end of life     23   use, addiction and mortality?
    24   that they give an opioid to who actually live   24            MR. SOBOL: Objection, scope.
    25   longer than the 90-day window in the            25        A. It is certainly true at that
                                              Page 655                                            Page 657
     1   definition?                                      1   time period that the opioid epidemic had been
     2        A. Yes. I think that that is less           2   recognized.
     3   often the case, given doctors' general           3   BY MR. ROTH:
     4   reluctance. It's sort of a well-known fact       4        Q. And then if you look at the
     5   in health policy that doctors are reluctant      5   introduction in the background section, the
     6   to acknowledge that the end of life has          6   first sentence says: Opioids are commonly
     7   arrived.                                         7   prescribed for pain.
     8        Q. But doctors may decide to treat          8            Do you see that?
     9   a cancer patient with an opioid even if they     9        A. Yes.
    10   don't believe that patient is near the end of   10        Q. An estimated 20% of patients
    11   life to treat their pain from the malignancy.   11   presenting to physician offices with
    12        A. That may well be true, but              12   noncancer pain symptoms or pain-related
    13   again, in my simulation, I'm looking at         13   diagnoses, including acute and chronic pain,
    14   patients who are actually at the end of life.   14   received an opioid prescription.
    15        Q. Okay. And by looking at only            15            Do you see that?
    16   patients who are actually at the end of life,   16        A. Yes. And I'm certainly
    17   you're undercounting cancer patients who may    17   familiar with that fact.
    18   be appropriately treated with an opioid to      18        Q. So if 20% of patients are
    19   address malignant cancer pain but are not yet   19   receiving opioids for pain, that's a fairly
    20   at the end of life?                             20   large population of people. Would you agree
    21        A. I will not be including those           21   with that?
    22   patients who are not at the end of life, and    22            MR. SOBOL: Objection.
    23   we can go back to paragraph 92 to see that,     23        A. Well, yes. I mean, you're
    24   like chronic pain, my understanding of          24   familiar with the litigation that we're all
    25   clinical experts' opinions about patients who   25   involved in, and that is the subject of this
   Golkow Litigation Services                                                Page 46 (654 - 657)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further47Confidentiality
                                                         of 95. PageID #: 471269
                                                                             Review
                                              Page 658                                             Page 660
     1   litigation.                                      1   would receive them?
     2             So even in 2016, as prescribing        2             MR. SOBOL: Objection, scope.
     3   rates have begun to fall, they are well above    3       A. Of course it depends on what
     4   the levels that are -- were observed 20 years    4   you mean, if there's a certain path
     5   ago. So this is precisely the issue that         5   dependence, as I'm sure you're well aware.
     6   we're talking about is that opioids are          6   If we come in today and try to unwind
     7   overused, according to clinical experts.         7   prescribing, there are patients who are
     8   BY MR. ROTH:                                     8   already addicted to opioids.
     9        Q. Well, they're well above the             9             But if a world happened in
    10   level of 20 years ago, but there have been a    10   which only the uses described by the clinical
    11   number of new drugs and generics that have      11   experts, plaintiffs' clinical experts were
    12   entered the market over the last 20 years,      12   those that for which opioids were used,
    13   correct?                                        13   you're right, that we would see a dramatic
    14             MR. SOBOL: Objection.                 14   reduction in opioid use. That is the entire
    15        A. Well, the fact that there are           15   purpose and conclusion of my analysis.
    16   new drugs and generics does not mean that       16   BY MR. ROTH:
    17   increased use is appropriate.                   17       Q. And if you look at paragraph 1
    18   BY MR. ROTH:                                    18   under the background section in this
    19        Q. And the mere fact that use has          19   article -- in the guidelines, the last
    20   increased over what it was 20 years ago in      20   sentence says: Rates of opioid prescribing
    21   and of itself does not mean that all of that    21   vary greatly across states in ways that
    22   increase is inappropriate either.               22   cannot be explained by the lack -- sorry, let
    23             MR. SOBOL: Objection, scope.          23   me start over.
    24        A. In my analysis, as I noted              24             The CDC guidelines say: Rates
    25   earlier, I'm not parsing the actual uses.       25   of opioid prescribing vary greatly across
                                              Page 659                                             Page 661
     1   And because that is not possible to do in the    1   states in ways that cannot be explained by
     2   data, I instead come from the other              2   the underlying health status of the
     3   direction, which is to say, okay, let's look     3   population, highlighting the lack of
     4   at those uses which are not contested. How       4   consensus among clinicians on how to use
     5   much of the growth could they possibly           5   opioid pain medication.
     6   explain.                                         6            Do you see that?
     7            So if the allegations are true,         7        A. I do.
     8   my direct analysis shows a large percentage      8        Q. So if marketing is national,
     9   of prescriptions were caused by the unlawful     9   and all physicians are equally affected by
    10   conduct, and then from this other direction,    10   marketing, what explains the geographic
    11   it appears that the uses that the clinical      11   variation in prescribing the CDC is
    12   experts in this matter for plaintiffs           12   highlighting?
    13   consider to be the most appropriate uses only   13            MR. SOBOL: Objection, scope.
    14   account for a very small percentage of the      14        A. Well, as we talked about
    15   total.                                          15   before, and as you can see in the indirect
    16            So the statements that you've          16   analysis, there are county-level factors that
    17   made are sweeping statements. Mine are much     17   explain variation in shipments.
    18   more precise.                                   18   BY MR. ROTH:
    19   BY MR. ROTH:                                    19        Q. My question was a little
    20       Q. Put another way, if Dr. Parran           20   different.
    21   and Dr. Schumacher and plaintiffs' opinions     21            This article is talking about
    22   about the appropriate use of opioids were the   22   variation in prescribing, and what I'm trying
    23   prevailing medical standard, there would be     23   to understand is if marketing is national and
    24   an extremely small percentage of patients who   24   all doctors are affected, how could it be
    25   currently receive opioids in our world that     25   that there is variation in prescribing on a
   Golkow Litigation Services                                                Page 47 (658 - 661)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further48Confidentiality
                                                         of 95. PageID #: 471270
                                                                             Review
                                             Page 662                                              Page 664
     1   geographic basis?                                1   physician level. That doesn't mean -- my
     2            MR. SOBOL: Objection, scope.            2   point was that physicians may start in
     3       A. There -- prescribing and                  3   different places, they may be -- they may
     4   shipments are not different things. They're      4   have a bigger effect because they have more
     5   the same thing. The shipments result from        5   patients of a particular type, but -- but
     6   prescriptions. And there are different           6   still, there's a total effect.
     7   baselines in different geographic areas,         7             And again, in this matter as I
     8   different baselines in terms of the level of     8   understand it, the court needs to know what
     9   use, in terms of all of those socioeconomic      9   the whole effect is, and the fact that it may
    10   and demographic factors.                        10   be smaller for one physician and larger for
    11            THE WITNESS: I hope you can't          11   another is -- does not seem relevant as I
    12       hear that on the tape.                      12   understand it to the task of proving impact.
    13       A. So that variation exists, and            13        Q. Understood. But even when
    14   then if a national promotional campaign will    14   aggregated up to a geographic level, the CDC
    15   have different effects based on the             15   is highlighting a lack of consensus among
    16   underlying area characteristics.                16   clinicians, and I agree that marketing may
    17   BY MR. ROTH:                                    17   not affect all doctors equally, but your
    18       Q. And the CDC highlights that              18   model seems to suggest that everyone is
    19   there's a lack of consensus among clinicians    19   equally affected by marketing.
    20   on how to use opioid medication.                20             MR. SOBOL: Objection, asked
    21            Do you see that?                       21        and answered.
    22       A. I do see that.                           22        A. You misunderstand the nature of
    23       Q. And again, that means that               23   an aggregate model. Again, I calculate an
    24   promotion alone is not driving some consensus   24   average effect. I do not assume that there's
    25   view as to the efficacy and safety of           25   no variation in that average.
                                             Page 663                                              Page 665
     1   opioids?                                         1   BY MR. ROTH:
     2            MR. SOBOL: Objection, scope.            2       Q. Right. So that gets back to
     3       A. Well, I'm not sure how you                3   the question I asked three questions ago.
     4   derive anything from this about promotion.       4            How much do you need to
     5   The fact that there's a lack of consensus        5   average? How far up the chain do you need to
     6   among clinicians does not mean that promotion    6   go? It's not at the doctor level, it's not
     7   hasn't driven this increase in the aggregate.    7   at the geographic level. Where do you start
     8   There may well be variation among clinicians     8   seeing the aggregative effects overcome
     9   in the extent to which they've responded to      9   variation in the effect of promotion?
    10   that promotion, but again, in the aggregate,    10       A. I'm sorry, I don't mean to
    11   that's really what my analysis is about, is     11   laugh, but that is just a very strange idea.
    12   what is the total.                              12            So anything you average over
    13            There may be variation across          13   has variation. So at any level the average
    14   areas and across physicians, and still the      14   captures variation. And again, what I'm
    15   question is sort of what has happened to the    15   interested in here is the aggregate effect,
    16   overall growth over this time period.           16   and so I have looked at that effect. If one
    17       Q. How much aggregation do you              17   were interested in ascertaining something
    18   need to do to show that promotion has an        18   about variability, then you would
    19   overall growth effect?                          19   disaggregate the data.
    20       A. I'm not sure I understand your           20            But the -- every average
    21   question.                                       21   contains some kind of variation unless it's
    22       Q. Well, we seem to be agreeing             22   not a very interesting average of things that
    23   that at a physician level there could be        23   are exactly alike.
    24   variation in the effect of promotion, right?    24       Q. Let's look at page 3, the top
    25       A. There can be variation at a              25   paragraph on the left side says:

   Golkow Litigation Services                                                Page 48 (662 - 665)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further49Confidentiality
                                                         of 95. PageID #: 471271
                                                                             Review
                                              Page 666                                             Page 668
     1   Professional organizations, states and           1   CDC is saying?
     2   federal agencies, e.g., the American Pain        2            MR. SOBOL: Objection, scope.
     3   Society/American Academy of Pain Medicine,       3        A. I think what the CDC is saying
     4   the Washington Agency Medical Directors Group    4   is that both across professional
     5   and the U.S. Department of Veteran               5   organizations -- I think it's a little
     6   Affairs/Department of Defense have developed     6   broader than the medical community, since
     7   guidelines for opioid prescribing.               7   we're talking about agencies, that guidelines
     8            Do you see that?                        8   vary.
     9        A. I do.                                    9   BY MR. ROTH:
    10        Q. And why do you think the                10        Q. And I assume, based on your
    11   Department of Veteran Affairs and Department    11   testimony throughout the last two days and
    12   of Defense has their own guidelines for         12   this sort of contagion effect that Dr. Perri
    13   opioid prescribing?                             13   coined, your view would be that those medical
    14            MR. SOBOL: Objection, scope.           14   associations are influenced by the effect of
    15        A. Because they provide medical            15   manufacturers' promotion as well?
    16   care or reimburse medical care for active       16        A. I believe that plaintiffs
    17   duty -- what is the general word -- military,   17   specifically point to those influences in the
    18   active duty military as well as veterans.       18   complaint, and so, of course, that is --
    19   BY MR. ROTH:                                    19   between that and Dr. Perri's report is where
    20        Q. And then it says: Existing              20   I get my information. I have not made an
    21   guidelines share some common elements,          21   individual assessment of this.
    22   including dosing thresholds, cautious           22        Q. Again I ask, if promotion is
    23   titration and risk mitigation strategies such   23   this unifying thing that influences all
    24   as using risk assessment tools, treatment       24   physicians equally, why is there a
    25   agreements and urine drug testing. However,     25   variability in the guidelines that
                                              Page 667                                             Page 669
     1   there is considerable variability in the         1   professional organizations come out with for
     2   specific recommendations, e.g., range of         2   the prescription and use of opioids?
     3   dosing thresholds of 90 morphine milligram       3             MR. SOBOL: Objection,
     4   equivalents a day to 200 morphine milligram      4       mischaracterizes prior testimony.
     5   equivalents a day, audience, e.g., primary       5       A. As I noted earlier, promotion
     6   care physicians versus specialists, use of       6   will have effects that are different for
     7   evidence, e.g., systematic review, grading of    7   different physicians, no doubt different
     8   evidence and recommendations and role of         8   professional organizations.
     9   expert opinion, and rigor of methods for         9             Because it has the same
    10   addressing conflict of interest.                10   direction of effect doesn't mean they all
    11            Do you see that?                       11   start in the same place or end in the same
    12       A. I do.                                    12   place, and so guidelines vary across a number
    13       Q. And then it says: Most                   13   of seemingly well-accepted clinical areas.
    14   guidelines, especially those that are not       14   BY MR. ROTH:
    15   based on evidence from scientific studies       15       Q. And the effect that promotion
    16   published in 2010 or later, also do not         16   has, if any, on those guidelines will also
    17   reflect the most recent scientific evidence     17   vary?
    18   about risks related to opioid dosage.           18       A. The effect of promotion on
    19            So not only is there regional          19   those guidelines may also vary.
    20   variation, but actually in the medical          20       Q. And neither your direct nor
    21   community, there's variation in prescribing     21   indirect regression models do anything to
    22   standards for opioids?                          22   measure the effect of medical guidelines on
    23            MR. SOBOL: Objection, scope.           23   the prescription and use of opioids?
    24   BY MR. ROTH:                                    24             MR. SOBOL: Objection, asked
    25       Q. Do you agree that's what the             25       and answered, mischaracterizes prior
   Golkow Litigation Services                                                Page 49 (666 - 669)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further50Confidentiality
                                                         of 95. PageID #: 471272
                                                                             Review
                                              Page 670                                             Page 672
     1       testimony.                                   1   it looks like.
     2       A. The direct model, Model C,                2        Q. Good clarification.
     3   includes events for guideline dissemination,     3             So page 17 is the start of a
     4   and -- and the guidelines are not included in    4   long discussion of 12 bolded points that
     5   the indirect model.                              5   clinicians should consider when prescribing
     6   BY MR. ROTH:                                     6   opioids for chronic pain.
     7       Q. In Model C you've got the five            7             Do you see that?
     8   events -- I don't remember all of them from      8        A. I see -- let's see.
     9   memory. I probably will soon. I think one        9        Q. There are headings in
    10   was the joint consensus statement, which was    10   between --
    11   a guideline; is that right?                     11        A. Yes.
    12       A. Yes, that's correct.                     12        Q. -- so it's hard to track,
    13       Q. Were any of the others                   13   but --
    14   guidelines?                                     14        A. I see 12, yes.
    15       A. The JCAHO standards are similar          15        Q. Okay. And again, this is not
    16   to guidelines in they set expectations for      16   consistent with the view that no patients
    17   hospitals.                                      17   should ever receive opioid for chronic pain;
    18       Q. Okay. And beyond those two, I            18   it just highlights thing clinicians should
    19   don't think the other three events were         19   consider before prescribing opioids for
    20   guideline related.                              20   chronic pain?
    21       A. Federation of State Medical              21             MR. SOBOL: Objection, scope.
    22   Boards, those, I believe, are focused really    22        A. I don't believe anywhere in my
    23   on liability issues.                            23   report I summarize a clinician's opinion that
    24       Q. Did you consider using, for              24   no patients should receive opioids for
    25   example, the CDC guidelines or other            25   chronic pain.
                                              Page 671                                             Page 673
     1   guidelines to test how your model would          1   BY MR. ROTH:
     2   respond in Model C?                              2       Q. I don't want to go through all
     3            MR. SOBOL: Objection.                   3   12, but I do want to ask about a couple.
     4       A. The CDC guidelines come out in            4       A. Okay.
     5   2016, which is at the tail end of my data,       5       Q. So if you look at page 21.
     6   and as we talked about before, it was            6       A. Sure.
     7   apparent to me when I included five events       7       Q. Number 4 in the section Opioid
     8   that simply adding more effects was not going    8   Selection, Dosage, Duration, Follow-Up and
     9   to improve the performance of the model.         9   Discontinuation.
    10   BY MR. ROTH:                                    10            Do you see that?
    11       Q. It wouldn't improve the                  11       A. I do.
    12   performance of the model, but it might show     12       Q. It says: When starting opioid
    13   that the performance of the model didn't        13   therapy for chronic pain, clinicians should
    14   stand up once you added multiple events?        14   prescribe immediate-release opioids instead
    15            MR. SOBOL: Objection, asked            15   of extended-release/long-acting, ER/LA,
    16       and answered.                               16   opioids, recommendation category A, evidence
    17       A. Well, the fact that a model              17   type, 4.
    18   with more events did not look good doesn't      18            Do you see that?
    19   mean the model that I chose with no events      19       A. I do.
    20   was unreliable.                                 20       Q. So the CDC is making some
    21   BY MR. ROTH:                                    21   distinction between immediate-release and
    22       Q. If you look at page 17 of the            22   extended-release long-acting opioids.
    23   CDC guidelines --                               23            Do you agree with that?
    24       A. Incidentally by the way, I               24       A. Yes, this recommendation
    25   didn't try that model, so I don't know what     25   specifically applies to immediate-release

   Golkow Litigation Services                                                Page 50 (670 - 673)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further51Confidentiality
                                                         of 95. PageID #: 471273
                                                                             Review
                                              Page 674                                            Page 676
     1   opioids, yes.                                    1   that the number of MMEs is what is clinically
     2       Q. And your models don't                     2   relevant when it comes to ultimately the
     3   distinguish between immediate-release or         3   harms that Professor Cutler looks at.
     4   extended-release opioids or any other            4            And so I do, in fact, capture
     5   distinguishing characteristics of opioids        5   MMEs in my model.
     6   other than calibrating them based on MMEs?       6        Q. Okay. So we had an extended
     7            MR. SOBOL: Objection.                   7   conversation yesterday about the depreciation
     8       A. In order to accurately capture            8   factor, and you said it was justified because
     9   the impact of the alleged misconduct, I          9   opioids are addictive and patients need to
    10   include all forms of opioids, including         10   titrate up.
    11   short- and long-acting.                         11            Do you remember that?
    12            My model is intended to capture        12        A. Yes.
    13   any spillover effects, and to the extent that   13        Q. How does that assumption hold
    14   marketing of one product affects use of         14   in light of the CDC's clinical guidelines
    15   another, it appropriately captures those        15   suggesting that physicians should maintain
    16   spillover effects.                              16   patients on lower doses?
    17            To the extent that marketing           17            MR. SOBOL: Objection, form.
    18   does not have spillover effects, they won't     18            You can answer.
    19   be detected inappropriately.                    19        A. Are you suggesting that because
    20   BY MR. ROTH:                                    20   the 2016 guidelines warn physicians on not
    21       Q. Number 5 says -- it's on                 21   increasing doses that none of that happened
    22   page 22 -- when opioids are started,            22   during the period of my analysis, 1995 to
    23   clinicians should prescribe the lowest          23   2018?
    24   effective dosage. Clinicians should use         24   BY MR. ROTH:
    25   caution when prescribing opioids of any         25        Q. Well, I'm asking the questions,
                                              Page 675                                            Page 677
     1   dosage, should carefully reassess evidence of    1   but I'm just suggesting that you didn't
     2   individual benefits and risks when               2   account for it in your analysis, including
     3   considering increasing dosage to greater than    3   after 2016 when these guidelines were
     4   or equal to 50 MME per day, and should avoid     4   published.
     5   increasing dosage to greater than or equal to    5            MR. SOBOL: Objection.
     6   90 MME per day, or carefully justify a           6            You can answer.
     7   decision to titrate dosage to greater than or    7       A. I would respectfully disagree
     8   equal to 90 MME per day.                         8   with that characterization. My analysis
     9            Do you see that?                        9   incorporates exactly that, and yesterday we
    10       A. I do.                                    10   had a brief conversation about a chart that
    11       Q. So the CDC seems to be making a          11   shows the increasing MMEs per prescription
    12   distinction in terms of potency with respect    12   that demonstrate that doctors were clearly
    13   to the clinical guidelines.                     13   not following this guideline.
    14            MR. SOBOL: Objection.                  14            This is precisely the concern
    15       A. Okay.                                    15   with the opioid epidemic is that dosing has
    16            MR. SOBOL: Scope.                      16   continued to ramp up, and, you know, whether
    17       A. So they're talking about                 17   or not this guideline has influenced
    18   effective dosing.                               18   physicians to date, there's certainly plenty
    19   BY MR. ROTH:                                    19   of evidence that there were increased dosing
    20       Q. And again, that's not something          20   patterns over time for patients who were on
    21   you control for in your regression models?      21   opioids.
    22       A. That doesn't make any sense as           22            MR. ROTH: Okay. Why don't we
    23   something to control for. Again, I              23       stop for a minute. I don't know if
    24   appropriately used the number of MMEs as the    24       lunch is here, but this would not be a
    25   dependent variable, so that is recognizing      25       bad time to break since it's around

   Golkow Litigation Services                                                Page 51 (674 - 677)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further52Confidentiality
                                                         of 95. PageID #: 471274
                                                                             Review
                                              Page 678                                             Page 680
     1       noon.                                        1   in footnote 121, I explain a bit there. I
     2            THE WITNESS: Sure, that's               2   say I do not attempt to separately identify
     3       great.                                       3   these patients for lack of complete data and
     4            THE VIDEOGRAPHER: The time is           4   because I understand there's more clinical
     5       11:54 a.m. We're now off the record.         5   nuance, so again, that doctors will need to
     6            (Recess taken, 11:54 a.m. to            6   trade off addiction risks in those patients
     7       12:30 p.m.)                                  7   as I understand the clinical opinions.
     8            THE VIDEOGRAPHER: The time is           8       Q. Okay. So your thought analysis
     9       12:30 p.m. We're back on the record.         9   just includes end-of-life cancer patients,
    10   BY MR. ROTH:                                    10   not other cancer parents with malignant
    11       Q. All right. So I'd like to go             11   disease for the reasons you say in
    12   kind of component by component through your     12   footnote 121?
    13   simulation on appropriate use, if that's        13       A. Yes, that's correct.
    14   okay.                                           14       Q. Why do you not include other
    15       A. Okay. Great. I'll just get to            15   patients in hospice beyond cancer patients?
    16   the right section.                              16       A. Yes, again, a two-part -- and
    17       Q. Paragraph 95 is the start of             17   I'm trying to see exactly what I say in
    18   the cancer pain section.                        18   footnote 121. But many patients in hospice
    19            Are you there?                         19   are in fact cancer patients. Cancer patients
    20       A. Yes.                                     20   are really the group of patients for whom
    21       Q. So you say: The first group of           21   hospice was originally designed, and while it
    22   patients with potentially undertreated pain     22   has spread to other reasons that people are
    23   includes cancer patients at the end of life/    23   facing the end of life, cancer patients are,
    24   in hospice. I use epidemiologic data on         24   particularly in the early years, I believe,
    25   cancer deaths in each year to identify the      25   based on the -- my general knowledge of
                                              Page 679                                             Page 681
     1   size of this population.                         1   hospice, the majority of those patients.
     2            And that's consistent with what         2       Q. Have you studied a breakdown of
     3   you said earlier, you just looked at             3   the demographics of hospice by diagnosis to
     4   end-of-life cancer patients, correct?            4   know that that's true?
     5       A. That's correct.                           5       A. I know just from my knowledge
     6       Q. Why just limit to end-of-life             6   of the area that cancer has been the
     7   cancer patients as opposed to patients with      7   condition around which hospice -- both
     8   other malignancy associated with cancer?         8   hospice and really palliative care have been
     9       A. Sure. As I understand clinical            9   focused in the beginning, and it's a general
    10   experts' opinions and just some of the basic    10   health policy debate, the need to expand
    11   risks of opioids, that, of course, people at    11   hospice and palliative care to other groups,
    12   the end of life, the -- any concern about       12   so I understand that cancer is a dominant
    13   addiction is attenuated because of the fact     13   condition for those groups.
    14   that their timeline is short.                   14       Q. You are aware that patients
    15            And so those patients are              15   with other medical diagnoses than cancer may
    16   distinct from patients who may have continued   16   wind up in hospice?
    17   use and continued life beyond -- beyond the     17       A. Yes, I'm aware of that.
    18   point of malignant cancer pain.                 18       Q. Congestive heart failure
    19       Q. So -- but in paragraph 92 when           19   patients could be in hospice, correct?
    20   you summarize Dr. Schumacher and Dr. Parran,    20       A. Yes.
    21   you separately refer to end-of-life pain,       21       Q. Or ALS patients, correct?
    22   hospice care and cancer pain from active        22       A. Yes.
    23   malignant disease.                              23       Q. And we can play this game --
    24            Do you see that?                       24       A. I am aware of that.
    25       A. Yes, that's correct. So again,           25       Q. -- with many conditions that
   Golkow Litigation Services                                                Page 52 (678 - 681)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further53Confidentiality
                                                         of 95. PageID #: 471275
                                                                             Review
                                              Page 682                                             Page 684
     1   are unfortunately terminal, but no matter,       1   reason.
     2   you only include the cancer hospice patients     2             Then you say: This assumption
     3   in your thought analysis.                        3   is extremely conservative in light of
     4        A. Well, I include cancer patients          4   plaintiffs' clinical expert, Dr. Parran's,
     5   at the end of life.                              5   opinion.
     6        Q. Right. You make no attempt to            6             Do you see that?
     7   capture other noncancer-diagnosed hospice        7        A. Yes.
     8   patients at the end of life?                     8        Q. And Parran's been withdrawn.
     9        A. I do not. And again, as I note           9   Do you have any other basis for saying that
    10   in footnote 121, I believe, my sensitivity      10   it's extremely conservative to assume that
    11   analysis will likely capture those groups.      11   all cancer patients at the end of life need
    12        Q. Well, in footnote 121, you're           12   and want a high dose of opioids?
    13   actually just talking about -- yeah, okay. I    13             MR. SOBOL: Objection.
    14   see, patients dying from other conditions.      14        A. Well, I think it's -- I'm not a
    15   Okay.                                           15   clinician, so I -- I think it's unreasonable
    16            And then in order to calculate         16   to assume that a hundred percent of patients
    17   the amount of -- well, let me backtrack         17   want anything, particularly given the side
    18   because I can't let this go.                    18   effects of opioids unrelated to addiction,
    19            So when you say your                   19   increased risk of death from respiratory
    20   sensitivity analysis, that's truly just         20   issues, et cetera.
    21   modeling a 50% increase in your parameters?     21             So I would say that a hundred
    22            MR. SOBOL: Objection.                  22   percent must be conservative.
    23        A. The sensitivity analysis is             23   BY MR. ROTH:
    24   modeling a 50% increase, so that could          24        Q. And then you say: For dosing,
    25   pertain to a 50% increase in the populations    25   my baseline assumption is 80 MMEs per day,
                                              Page 683                                             Page 685
     1   treated.                                         1   which is consistent with average dosing in
     2   BY MR. ROTH:                                     2   cancer patients reported in public studies.
     3       Q. And where did you come up with            3            Do you see that?
     4   50%?                                             4       A. I do.
     5       A. In simulation analysis, people            5       Q. Then you cite the Haider
     6   frequently use estimates to get at possible      6   Journal of Oncology article?
     7   measurement error, which are inherently          7       A. Yes, that's correct.
     8   speculative. So this was to me a very            8       Q. Are there any other published
     9   generous speculation about how big the error     9   studies you're relying on, or is that the one
    10   could be.                                       10   you're relying on?
    11       Q. It's a statistical choice, it's          11       A. That's the one I rely on, and
    12   not a choice based on any analysis of medical   12   as noted, those choices were reviewed by
    13   data?                                           13   Dr. Schumacher and Parran.
    14       A. It is a modeling choice, yes.            14       Q. And I assume, since you're not
    15       Q. Okay. And then in paragraph 96           15   a doctor, the Haider study was something that
    16   you say: For my simulation I take a             16   either Dr. Schumacher, Dr. Parran or counsel
    17   conservative approach and assume that 100% of   17   directed you to?
    18   cancer patients at the end of life need and     18       A. I believe that I identified
    19   want a high dose of oral extended-release       19   that article.
    20   opioids.                                        20       Q. Okay. Spending time on PubMed?
    21            Do you see that?                       21       A. I spend a lot of time on
    22       A. I do, except you corrected my            22   PubMed. As you know, the clinical literature
    23   order.                                          23   and the health services research literature
    24       Q. I transposed -- I think your             24   are quite overlapping. If you've looked at
    25   order is fine, I just transposed it for some    25   my CVs, I have -- have I published in an
   Golkow Litigation Services                                                Page 53 (682 - 685)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further54Confidentiality
                                                         of 95. PageID #: 471276
                                                                             Review
                                              Page 686                                             Page 688
     1   oncology journal? I believe I have.              1   BY MR. ROTH:
     2        Q. So we talked about dosing,               2       Q. It's like with your other
     3   which we'll talk about again in a minute, but    3   model, it's an average. So there are going
     4   then you say for duration, that you use the      4   to be people above and below the average with
     5   average duration of treatment reported for       5   respect to treatment time?
     6   cancer palliative care as your baseline,         6       A. And nonetheless, the aggregate
     7   which is roughly 64 days.                        7   will still be representative.
     8        A. That's correct.                          8       Q. You can average anything,
     9        Q. And where -- that is based on            9   right?
    10   the Carlson study, it looks like?               10             MR. SOBOL: Objection.
    11        A. Yes, it is.                             11       A. Well, if I'm trying to
    12        Q. Okay. And so in your thought            12   calculate a total, which is what I'm trying
    13   experiment, if a cancer patient lives a year    13   to do here, then the average is a sufficient
    14   in excruciating pain, there would be no         14   statistic for that total, and so that's --
    15   medically appropriate use for opioids for       15   that's why I use it here.
    16   that patient?                                   16   BY MR. ROTH:
    17            MR. SOBOL: Objection.                  17       Q. Just so I understand it,
    18        A. Well, I'm not offering a                18   though, obviously there's sample size issues
    19   clinical opinion here. I'm conducting an        19   when you average something, correct?
    20   economic simulation based on clinical           20       A. Sample size issues pertain to
    21   parameters that are identified from the         21   standard deviations, not to the mean, and
    22   literature and plaintiffs' clinical experts.    22   here again, I'm using this simulation
    23            So I'm not saying one way or           23   approach to show an average and not to
    24   another whether someone who lives beyond        24   characterize the variance around that.
    25   those expectations should or shouldn't get an   25             (Whereupon, Deposition Exhibit
                                              Page 687                                             Page 689
     1   opioid.                                          1       Rosenthal-25, 2017 Haider et al
     2   BY MR. ROTH:                                     2       Publication, was marked for
     3        Q. So you're not making a medical           3       identification.)
     4   judgment or a qualitative judgment, but          4   BY MR. ROTH:
     5   you're still deciding not to include that        5       Q. I'm going to mark as Exhibit 25
     6   patient in your potentially acceptable           6   an article entitled Opioid Prescription
     7   population?                                      7   Trends Among Patients with Cancer Referred to
     8            MR. SOBOL: Objection. Excuse            8   Outpatient Palliative Care Over a 6-Year
     9        me. Objection.                              9   Period.
    10        A. The simulation again, it                10            Is this the Haider study that
    11   assumes that every single patient gets some     11   you cite in footnote 124 of your report?
    12   opioid, and then assigns a typical payment      12       A. It is.
    13   based on the sources that I've cited. The       13       Q. And that's the study you relied
    14   length of stay there is an average, so          14   on to come up with the baseline assumption of
    15   unfortunately, we know that many patients do    15   80 MMEs per day?
    16   not actually know that they're dying more       16       A. That's right.
    17   than a week or two before they die. As we       17       Q. Okay. So if you look on the
    18   talked about before, physicians tend to be      18   cover page, under Material and Methods, the
    19   reluctant to address those issues.              19   last sentence says: Data collected included
    20            So I would imagine there are           20   demographics, cancer type and stage, symptom
    21   many patients who in fact would get this kind   21   assessment, performance status, opioid type
    22   of opioid treatment for much less than the      22   and opioid dose defined as the morphine
    23   64 days, and there may well be some that get    23   equivalent daily dose.
    24   it for more. But if the duration on average     24            Do you see that?
    25   captures that, my simulation will reflect it.   25       A. I do.

   Golkow Litigation Services                                                Page 54 (686 - 689)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further55Confidentiality
                                                         of 95. PageID #: 471277
                                                                             Review
                                              Page 690                                             Page 692
     1       Q. And then in Results, it says:             1       A. Again, I refer these
     2   In 2010, median morphine equivalent daily        2   assumptions to the clinical experts for them
     3   dose before referral was 78 milligrams per       3   to validate or contradict them.
     4   day. However, by 2015, the morphine              4   BY MR. ROTH:
     5   equivalent daily dose had progressively          5       Q. And did one of the clinical
     6   decreased to 40 milligrams per day.              6   experts review this part of your report and
     7       A. I see that.                               7   give you feedback?
     8       Q. And this study looks at the               8       A. That review was done through
     9   number of MMEs prescribed to 750 patients who    9   counsel.
    10   were seen as new consultations at MD Anderson   10       Q. Do you know which clinical
    11   Cancer Center between January 1st and           11   expert reviewed your report and endorsed the
    12   April 30th each year from 2010 and 2015?        12   80 milligrams morphine equivalent for the
    13       A. That's correct.                          13   daily dose for hospice patients?
    14       Q. And this is the only article             14       A. I believe that both
    15   you rely on for your conclusion that the        15   Dr. Schumacher and Dr. Parran reviewed this
    16   appropriate treatment is 80 morphine            16   section of my report, specifically to look at
    17   milligram equivalents per day?                  17   the assumptions.
    18       A. Again, yes, this is the article          18       Q. If you look at e977 of the same
    19   where I found that dosing and referred it to    19   article.
    20   the clinical experts for their input.           20       A. Sorry, you're still on there.
    21       Q. And this dosing, again, is for           21       Q. We're still on Haider.
    22   patients who were at the cancer center's        22       A. Sure.
    23   outpatient palliative care clinic, correct?     23       Q. So on the second column, last
    24       A. That's correct.                          24   paragraph, it says: Despite a robust
    25       Q. It's not at a hospice facility?          25   dataset, there are several limitations to
                                              Page 691                                             Page 693
     1       A. It was not.                               1   this study. First, patients were treated at
     2       Q. So you don't have any articles            2   a comprehensive cancer center where dedicated
     3   that you relied on to evaluate the               3   palliative care services are available.
     4   appropriate dosage in MMEs given to              4   Hence, data from this single institution
     5   end-of-life cancer patients at hospice?          5   cannot be generalized to other clinical
     6       A. This high dose estimate was the           6   settings such as community-based programs.
     7   estimate that I found that was closest to        7            Do you see that limitation?
     8   what I was looking for. I think some of          8       A. I do.
     9   these patients may be at the end of life and     9       Q. And is that something you
    10   some are not.                                   10   considered when deciding this was the study
    11       Q. And if patients are not yet at           11   to rely on?
    12   the end of life, would you expect their         12       A. Well, again, because I was
    13   opioid dosing to be higher or lower than        13   seeking an estimate associated with
    14   patients in hospice?                            14   palliative care, end-of-life care in
    15       A. It may be, again, that this 80           15   particular, I don't think that limitation
    16   number is lower. I don't know for sure.         16   would pertain to my use of dosing from this
    17   Again, why I do the sensitivity analysis by     17   study. I, of course, can't know what's in
    18   saying what if it were 50% higher, so not 80,   18   the authors' minds, but I think what they're
    19   but 120.                                        19   talking about is about treatment patterns,
    20       Q. And again, you're not a medical          20   and a cancer center may be different than
    21   doctor, so beyond the Haider article, do you    21   less well organized cancer treatment.
    22   have any basis to say what an appropriate       22       Q. So you think when the authors
    23   opioid dosage is in MMEs for a hospice          23   say data from the single institution cannot
    24   patient?                                        24   be generalized to other clinical settings,
    25            MR. SOBOL: Objection.                  25   they mean data from the single institution

   Golkow Litigation Services                                                Page 55 (690 - 693)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further56Confidentiality
                                                         of 95. PageID #: 471278
                                                                             Review
                                              Page 694                                             Page 696
     1   can be generalized to hospice patients?          1       A. Well, I chose 64 days from
     2            MR. SOBOL: Objection.                   2   another article. I didn't choose 64 as
     3        A. That is not what I said, but,            3   arbitrarily just below 70 days. I'm sorry if
     4   for example, they are looking at prescribing     4   you read that sentence that way.
     5   patterns across molecules and not just           5       Q. Yeah. I mean, it says 64,
     6   dosages, and so it may well be that the kind     6   which is just below the average number of
     7   of prescribing over time that patients get in    7   days. I was trying to figure out why you
     8   a cancer center is different.                    8   didn't pick 69 or 68 or 70 itself.
     9            The -- it's not immediately             9       A. I apologize for the lack of
    10   obvious to me why dosing in a cancer center     10   clarity. If you go back to footnote 125, the
    11   would be different than dosing in -- outside    11   second article by Wachterman, et al.
    12   of it. There may be some difference. It's       12       Q. That one has 64 days?
    13   always true that any article relies on a        13       A. That's the length of stay
    14   particular dataset, and they will all say       14   article, yes.
    15   that you can't generalize outside of that       15       Q. And what did the Carlson
    16   dataset.                                        16   article or the website you cite report as the
    17   BY MR. ROTH:                                    17   average length of stay?
    18        Q. And we've been over this, but           18       A. Right. So the 64 days comes
    19   you're not an oncologist, correct?              19   from the Wachterman article. The 70 comes
    20        A. I'm not an oncologist.                  20   from the website.
    21        Q. So to ascertain the differences         21       Q. And why did you choose to
    22   between treatment in a cancer center versus     22   credit Wachterman's article over the average
    23   hospice, you would just be speculating as to    23   from the National Hospice and Palliative Care
    24   what that might be?                             24   Organization website -- or research, I should
    25            MR. SOBOL: Objection.                  25   say.
                                              Page 695                                             Page 697
     1       A. Well, I am a health economist             1        A. Sure. Because not every
     2   who has worked on cancer treatment as the        2   patient at the end of life is in hospice, so
     3   subject of some of my research, so -- so yes,    3   the -- the data in the Wachterman article
     4   I don't know exactly what differences the        4   are -- they -- sorry.
     5   authors had in mind, but I can make an           5            What I mean is not every
     6   informed speculation.                            6   patient in the second set of statistics has
     7   BY MR. ROTH:                                     7   cancer, whereas the Wachterman article has a
     8       Q. Informed speculation. That's a            8   cancer subpopulation in it, so it's just more
     9   good one.                                        9   precise. They're very similar. The
    10       A. Yes.                                     10   difference would be about a 10% difference.
    11       Q. Is that more admissible than             11        Q. And I assume you'll tell me
    12   normal speculation?                             12   that that's captured in your 50% sensitivity
    13            MR. SOBOL: Sounds like to me.          13   analysis.
    14            THE WITNESS: Absolutely.               14        A. Well, that I can tell you, 10%
    15       Speculation with a Ph.D.                    15   is definitely less than 50%.
    16            MR. SOBOL: Shouldn't have              16        Q. And what did the Carlson
    17       asked that.                                 17   article say the average length of stay was?
    18   BY MR. ROTH:                                    18        A. I actually don't recall looking
    19       Q. So then if we look at                    19   at the length of stay in the Carlson article.
    20   paragraph 96, we talked about the duration,     20        Q. Okay.
    21   you said 64 days.                               21        A. We can look at it.
    22       A. Yes.                                     22        Q. So now we're going to do math,
    23       Q. And you say you chose 64 days            23   which is a little dangerous for me, but we're
    24   because it's just below the average number of   24   going to try it.
    25   days spent in hospice, which is 70.             25            So for one patient receiving
   Golkow Litigation Services                                                Page 56 (694 - 697)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further57Confidentiality
                                                         of 95. PageID #: 471279
                                                                             Review
                                              Page 698                                             Page 700
     1   end-of-life cancer pain, your two assumptions    1       A. That's correct.
     2   of 64 and 80 MMEs would get you to 5,120         2       Q. So acute pain related to labor
     3   MMEs?                                            3   and childbirth would not be something that
     4       A. Okay. I also can't do math                4   opioids are appropriate for?
     5   without at least a pen.                          5       A. Well, I'm not a clinical expert
     6       Q. We have an iPhone, so let's try           6   but I have actually not heard of people using
     7   it.                                              7   opioids for labor pain.
     8       A. Let's try it.                             8       Q. What about for pain associated
     9       Q. This is the best deposition               9   with a cesarean section?
    10   tool I've found. So 64 times 80 is 5,120.       10       A. I'm not a clinician, so I think
    11       A. Great.                                   11   we shouldn't go there.
    12       Q. And so to calculate the total            12       Q. What about for nontraumatic
    13   number of --                                    13   injuries causing acute pain? Those aren't
    14            MR. SOBOL: How does she know           14   captured by your analysis, correct?
    15       you just didn't type in 5,120?              15       A. Well, the -- we can go through
    16            MR. ROTH: She can do it if she         16   in the technical appendix exactly which
    17       wants.                                      17   diagnosis codes are captured, so I'm not sure
    18            THE WITNESS: He has an honest          18   what you're referring to as nontraumatic
    19       face.                                       19   injuries, but I think we should probably look
    20            MR. SOBOL: Go ahead. Sorry.            20   at Attachment D.
    21   BY MR. ROTH:                                    21       Q. Okay. Let's do that. So where
    22       Q. To calculate the total number            22   in Attachment D should we go?
    23   of MMEs associated with end-of-life cancer      23       A. Okay. Let's -- I'm starting on
    24   patients and hospice care for cancer            24   page -- as opposed to table -- D8 and working
    25   patients, you multiplied the number of cancer   25   my way over, so for the clinical
                                              Page 699                                             Page 701
     1   deaths each year by 5,120 MMEs?                  1   classification codes, we include our external
     2       A. Yes. And just to be clear, you            2   causes of injury except for poisoning,
     3   added "and hospice," but I'm very clear that     3   overexertion, suffocation, adverse effects of
     4   I'm calculating treatment for end-of-life        4   medical care and drugs and other or
     5   cancer patients.                                 5   unspecified causes.
     6       Q. Right. Right. And you're not              6       Q. So let me pause there.
     7   calculating at all for other hospice             7            I assume you -- well, maybe I
     8   patients, which is the conversation we just      8   shouldn't assume. Let me just ask.
     9   had.                                             9            Why do you take out the
    10       A. That's correct.                          10   categories of poisoning, overexertion,
    11       Q. And then where do you get the            11   suffocation, adverse effects of medical
    12   number of cancer deaths from, which of the      12   care/drugs and other or unspecified causes?
    13   datasets is that?                               13       A. Yes. I -- from what my
    14       A. So that comes, excuse me, from           14   understanding of the definition of
    15   the SEER data.                                  15   appropriate uses under acute pain from the
    16       Q. Okay. So then the next                   16   guidelines, these would not fit that
    17   category you calculate potentially acceptable   17   category. And again, the underlying
    18   MMEs for are patients with acute pain.          18   assumptions were shared with clinicians.
    19       A. Uh-huh.                                  19       Q. This does lead me to a question
    20       Q. And on page 66, and that's               20   I meant to ask you earlier.
    21   subdivided into trauma patients and surgical    21            Do your models, direct or
    22   patients.                                       22   indirect, include any opioid used to treat
    23       A. Correct.                                 23   opioid use disorder, like naloxone or
    24       Q. You don't consider any other             24   Suboxone, or were those taken out?
    25   type of acute pain?                             25       A. Those were taken out.
   Golkow Litigation Services                                                Page 57 (698 - 701)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further58Confidentiality
                                                         of 95. PageID #: 471280
                                                                             Review
                                             Page 702                                             Page 704
     1       Q. Okay. So in this analysis, you            1       Acute Pain Management in the Emergency
     2   include all of the IDC-9 trauma codes except     2       Department, was marked for
     3   for the one specified on page D9?                3       identification.)
     4       A. That's correct.                           4   BY MR. ROTH:
     5       Q. And apart from what you told me           5       Q. And this is the white paper you
     6   that the clinicians stated these would not be    6   rely on as support for using 30 milligrams
     7   appropriate uses of opioids, you did not have    7   for three to seven days for trauma patients.
     8   any other basis for excluding them from your     8       A. You've printed it very small,
     9   trauma numbers?                                  9   so --
    10       A. Well, I'm not a clinical                 10       Q. I did not, but someone did, and
    11   expert, but I would say, on the face of it,     11   I apologize.
    12   the notion that opioids would be appropriate    12       A. That's okay.
    13   for adverse effects of medical care or drugs    13       Q. Do we need a magnifying glass?
    14   or poisoning is not something I would expect    14       A. I'm not bothering your glasses.
    15   to be true, but I'm not a clinical expert, so   15   I'm going to hold it two feet in front of me.
    16   I certainly use my judgment as a starting       16       Q. Well, then my next question is
    17   point.                                          17   going to be particularly hard for you to
    18       Q. And certain opioids like                 18   answer.
    19   Suboxone or naloxone might be, but are those    19            MR. SOBOL: Is there a footnote
    20   taken out of this simulation as well?           20       on this?
    21       A. They are not in my analysis.             21   BY MR. ROTH:
    22       Q. Okay. So back to paragraph 98.           22       Q. I was going to ask where you
    23       A. Yeah, way back.                          23   see the 30 milligrams of an immediate-release
    24       Q. So essentially, to measure the           24   opioid such as hydrocodone, because I didn't,
    25   incidence of trauma, you use the data with      25   but you may not be able to see even the text,
                                             Page 703                                             Page 705
     1   the codes removed as specified in                1   so that might be a bigger problem.
     2   Attachment D?                                    2       A. Yeah, I'm -- I believe the
     3        A. That's correct.                          3   guidelines -- some of the guidelines say
     4        Q. And you assume that a hundred            4   start at the lowest possible dose. I'm not
     5   percent of those patients are treated with       5   sure the 30 milligrams is in this guideline.
     6   opioids?                                         6             I believe that they all say use
     7        A. That's correct.                          7   immediate release. Here, the second bullet
     8        Q. And then you assume, according           8   under Upon Discharge From the ED: Emergency
     9   to paragraph 98, that each of these patients     9   medicine clinicians should prescribe only
    10   is treated with 30 MMEs of immediate-release    10   immediate-release formulations at the lowest
    11   opioids for three to seven days?                11   effective dose and for the shortest course,
    12        A. Correct.                                12   generally two to three days' supply.
    13        Q. And for that statement, it              13             I think the CDC guidelines say
    14   looks like you are relying on a white paper     14   three to seven.
    15   from the American Academy of Emergency          15   BY MR. ROTH:
    16   Medicine, and then the CDC guidelines that we   16       Q. And is the 30 also in the CDC
    17   reviewed earlier. Or is it just from the        17   guidelines or is that somewhere else?
    18   AAEM white paper?                               18       A. I don't think it actually is,
    19        A. I think they agree on these             19   and when I referred clinicians to this
    20   points.                                         20   language, around the lowest effective dose, I
    21        Q. Okay. So let's look at the              21   believe that the 30 milligrams comes from
    22   AAEM white paper, which I'll mark as            22   getting a translation from clinical experts
    23   Exhibit 26.                                     23   of what that lowest effective dose is.
    24            (Whereupon, Deposition Exhibit         24       Q. Okay. So that's clear now.
    25        Rosenthal-26, AAEM White Paper on          25             So now as I understand it, your

   Golkow Litigation Services                                                Page 58 (702 - 705)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further59Confidentiality
                                                         of 95. PageID #: 471281
                                                                             Review
                                              Page 706                                             Page 708
     1   assumption for 30 morphine milligram             1        Q. And according to studies
     2   equivalents for trauma patients comes from       2   published around the time of the alleged
     3   Dr. Parran and Dr. Schumacher telling you        3   misconduct, 41% -- sorry. Let me reread
     4   that's what you should use?                      4   that.
     5            MR. SOBOL: Objection.                   5            According to studies published
     6       A. There's some other guidelines             6   around the time the alleged misconduct began,
     7   that we'll get to around surgery that have       7   41% of postsurgical inpatients experienced
     8   some more specific doses, where I had those      8   moderate to severe pain.
     9   numbers to say, you know, should I use one of    9            Did I read that correctly?
    10   these. But they're not in this document.        10        A. Yes, you did.
    11   We'll get to them in the next section.          11        Q. What do you mean by the time
    12   BY MR. ROTH:                                    12   the alleged misconduct began?
    13       Q. So for trauma, your dosage               13        A. Again, where I reference
    14   assumption comes from plaintiffs' experts?      14   literature on undertreatment -- well, it's
    15       A. It is -- yes. The -- the                 15   upset, so now I have to go back. I was
    16   assumption, again, I did -- I used the          16   looking for literature that predated the
    17   guidelines to have that qualitative             17   alleged misconduct, so that -- I just have to
    18   assumption, and I required assistance from      18   see where I first cite the Marks and Sachar
    19   clinical experts to make sure that I            19   paper in that footnote 117. So those are the
    20   understood how to translate that.               20   studies that we talked about at the very
    21            But there were other guidelines        21   beginning of this analysis.
    22   that had some quantitative starting points,     22        Q. Is there any allegation that
    23   but not in these ones.                          23   you're aware of that the alleged misconduct
    24       Q. And when you say clinical                24   influenced the prescribing of opioids for
    25   experts, that's Drs. Schumacher and Parran?     25   surgical patients?
                                              Page 707                                             Page 709
     1       A. That's correct.                           1            MR. SOBOL: Objection.
     2       Q. So for one patient receiving              2       A. I -- as I understand the
     3   treatment for trauma in an emergency room        3   misconduct, the misinformation would affect
     4   setting, you assume 210 MMEs, which is 30        4   the treatment of patients being discharged
     5   times the 7?                                     5   from surgery like any other patients, yes.
     6       A. And which we do without a                 6   BY MR. ROTH:
     7   calculator, yes.                                 7       Q. So in your view, discharging
     8       Q. That's true.                              8   patients from surgery with opioid
     9            And so to calculate the total           9   prescriptions beyond those prescriptions that
    10   number of MMEs for all patients who visited     10   you classify as potentially acceptable would
    11   an emergency room for trauma, you multiplied    11   be something that plaintiffs are trying to
    12   the patients in the data times 210?             12   recover for?
    13       A. The patients in the data times           13            MR. SOBOL: Objection.
    14   210, yes.                                       14       A. Well, it sounds like there's
    15       Q. With the patients in the data            15   both a clinical and nonclinical opinion
    16   being the page D9 description of which          16   there, but again, remember this analysis is
    17   patients you looked at for trauma?              17   not decomposing actual use but trying to
    18       A. That's correct.                          18   build up to a set of uses that according to
    19       Q. Okay. So now let's talk about            19   clinical experts could have reasonably
    20   surgery, which is paragraph 99. So to           20   consumed opioid quantities over this period.
    21   identify patients treated with opioids          21            So again, we're not -- we're
    22   related to surgery, you say the universe is     22   not sort of looking at what was done and
    23   patients who underwent surgery on either an     23   parsing between appropriate and
    24   inpatient or an outpatient basis.               24   inappropriate. Just say, okay, well, there's
    25       A. That's correct.                          25   going to be a set of people with surgery, and
   Golkow Litigation Services                                                Page 59 (706 - 709)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further60Confidentiality
                                                         of 95. PageID #: 471282
                                                                             Review
                                             Page 710                                             Page 712
     1   those people surely will have opioid use for    1       A. That's right.
     2   some period of time. What would it look like    2       Q. And it identifies different
     3   if they all got treated.                        3   types of pain and the recommended treatment
     4   BY MR. ROTH:                                    4   options.
     5        Q. So in paragraph 99, you again           5       A. Yes.
     6   come up with 30 MMEs and seven days for         6       Q. So if you look at page 5,
     7   surgery.                                        7   Appendix A describes the pain score, and it
     8        A. Yes, that's correct.                    8   may or may not have highlighting on it.
     9        Q. So same as trauma?                      9       A. It does. I appreciate the
    10        A. Yes, the guidelines are quite          10   highlighting.
    11   similar.                                       11       Q. Now you can see where we're
    12        Q. And for that conclusion that 30        12   going.
    13   MMEs each day is appropriate, you cite the     13       A. That's great.
    14   MD Anderson Cancer Center Postoperative Pain   14       Q. So if you look at page 5 in
    15   Management Guidelines.                         15   Appendix A, it says no pain is zero, mild is
    16        A. That's right. So that's the --         16   1 to 3, moderate is 4 to 6 and severe is 7 to
    17   the document that I mentioned did have some    17   10.
    18   quantitative benchmarks in it.                 18            Do you see that?
    19            (Whereupon, Deposition Exhibit        19       A. I do.
    20        Rosenthal-27, MD Anderson Cancer          20       Q. And then if you go back to
    21        Center Postoperative Pain Management      21   page 3.
    22        Guidelines, was marked for                22       A. To page 3, okay.
    23        identification.)                          23       Q. So for patients with a pain
    24   BY MR. ROTH:                                   24   score of less than 3 who are not currently
    25        Q. So let me mark as Exhibit 27           25   taking opioids, they recommend using
                                             Page 711                                             Page 713
     1   the MD Anderson Cancer Center Postoperative     1   nonopioids or weak opioids.
     2   Pain Management Guidelines.                     2            Do you see that?
     3            And is this the document you           3       A. Yes.
     4   were citing in your report?                     4       Q. And then for opioid treatment
     5       A. It is.                                   5   they refer to Appendix E, which is page 10,
     6       Q. So it looks like this was                6   which we'll talk about in a minute.
     7   approved, if you look at the bottom of the      7       A. Okay.
     8   page, on October 30th, 2018.                    8       Q. Correct?
     9       A. Yes, that's correct.                     9       A. Yep.
    10       Q. And are you aware that the              10       Q. For patients with a pain score
    11   algorithm used by MD Anderson to evaluate      11   less than 3 who are currently taking opioids,
    12   doses of pain management is what was used to   12   MD Anderson recommends continuing the use of
    13   come up with the dosage number? Strike that.   13   opioids and again refers to Appendix E.
    14   That's not a good question. Let's just turn    14       A. Yes.
    15   to page 3.                                     15       Q. For patients with a pain score
    16       A. Okay. At some point, I would            16   greater to or equal than 4 and who are not
    17   direct you to page 10, but we can go to        17   taking opioids, MD Anderson recommends
    18   page 3 first.                                  18   short-acting opioids.
    19       Q. Okay. We will get to page 10,           19            Do you see that?
    20   I promise. It's in here.                       20       A. I do.
    21       A. Okay. Good.                             21       Q. And again refers to Appendix E,
    22       Q. So it looks like they have sort         22   correct?
    23   of like a decision tree flow as to how         23       A. Yes.
    24   they're going to come up with dosing for       24       Q. And then for patients with a
    25   surgical patients, based on pain score.        25   pain score greater than or equal to 4 who are

   Golkow Litigation Services                                               Page 60 (710 - 713)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further61Confidentiality
                                                         of 95. PageID #: 471283
                                                                             Review
                                              Page 714                                            Page 716
     1   currently taking -- who are not currently        1        Q. It's the average.
     2   taking opioids, MD Anderson recommends           2        A. It's the midpoint, it's the
     3   short-acting opioids -- we just did that one.    3   average. Yes.
     4   Okay. Strike that. I'm getting tired.            4        Q. But then if you look at
     5            For patients with a pain score          5   morphine, which is on the next page, that's
     6   greater than or equal to 4 who are currently     6   also a short-acting opioid?
     7   taking opioids, MD Anderson recommends           7        A. Yes.
     8   increasing the scheduled opioid dose.            8        Q. And it's 5 to 10 milligrams
     9       A. Yes.                                      9   every four hours, which by math would get you
    10       Q. All right. So now let's go to            10   30 to 60.
    11   Appendix E on page 10. And we've                11        A. Yes.
    12   conveniently highlighted this for you.          12        Q. So I guess what I'm trying to
    13            So if you look at                      13   understand is how you get to 30 when one
    14   hydrocodone --                                  14   range is 20 to 40 and the other range is
    15       A. Yes.                                     15   all -- is 30 to 60.
    16       Q. -- it recommends 30 milligrams           16        A. Sure. Again, that's why --
    17   a day, right, 5 to 10 milligrams every six      17   because the guidelines don't give one number,
    18   hours?                                          18   I referred this question to the clinical
    19       A. Yes. So 5 would be 20, right?            19   experts through counsel, and -- and was
    20       Q. Sorry, let me back up the                20   advised to focus on hydrocodone and was told
    21   truck. Okay. This is wrong.                     21   that 30 milligrams was a reasonable baseline.
    22       A. Yes.                                     22             Again, assuming that there's
    23       Q. So first we need to look at              23   some patients who will only get 20, some
    24   codeine, which is on the top of the page. So    24   patients who will get more.
    25   for codeine, it recommends 30 to                25        Q. So again, like with trauma for
                                              Page 715                                            Page 717
     1   60 milligrams.                                   1   surgical pain, your decision to take 30
     2            Do you see that?                        2   morphine milligram equivalents per day was
     3       A. Yes. I did not consider                   3   driven by plaintiffs' experts' advice?
     4   codeine in the simulation per se, but go         4        A. And it's grounded in these
     5   ahead.                                           5   guidelines. And again, while the other
     6       Q. Okay. And now if we look at               6   guidelines that we looked at are qualitative
     7   hydrocodone, it says for short-acting            7   in nature, as I understand the notion of
     8   opioids, it's 5 to 10 milligrams every six       8   starting with the lowest dose, that seems
     9   hours.                                           9   quite consistent with choosing 30.
    10       A. Correct.                                 10        Q. And so like with trauma, 30
    11       Q. Which if we do the math on that          11   times seven is 210, and then you multiply 210
    12   would be between 20 to 40 a day.                12   for surgery with the number of surgical
    13       A. Yes. And 30 is right in the              13   patients in the data?
    14   middle.                                         14        A. That's correct.
    15       Q. Okay. And for long-acting                15        Q. And then we should maybe just
    16   opioids, 20 milligrams a day of Hysingla or     16   close the loop on this. So if we go back to
    17   10 milligrams every ten hours.                  17   the Attachment D.
    18       A. I think in the flowchart we              18        A. Sure.
    19   just looked at -- and again, according to       19        Q. Just to understand what data
    20   clinical experts in this case, long-acting      20   you're looking at for surgery.
    21   opioids are not recommended.                    21        A. Yeah.
    22       Q. Right. So it's 20 to 40 for              22        Q. So it looks like page D10.
    23   immediate-release hydrocodone?                  23        A. Oh, you're in -- it's page D14.
    24       A. That's right, and 30 is in the           24   I think we're on the same page. Aren't we?
    25   middle of that.                                 25        Q. Page D10 talks about surgery.
   Golkow Litigation Services                                                Page 61 (714 - 717)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further62Confidentiality
                                                         of 95. PageID #: 471284
                                                                             Review
                                              Page 718                                                  Page 720
     1       A. Oh.                                       1   clinically justifiable with the 50% increase?
     2       Q. Page D14 is surgery in Cuyahoga           2        A. Yes.
     3   and Summit.                                      3        Q. And that's actually higher than
     4       A. I see. I was ahead of you.                4   the actual MMEs sold in that year?
     5   We'll get to that, I'm sure.                     5        A. That's correct. So that first
     6       Q. Yes.                                      6   number should be a negative.
     7       A. Yes. Yes. So Table D(b),                  7        Q. The first number should be a
     8   which is also terrible labeling.                 8   negative? I'm not sure I follow.
     9       Q. Yes, so Table D(b) explains how           9        A. Well, of the total plus 50%, I
    10   you identified surgical procedures, and it      10   guess the first -- the percentage there is of
    11   says they're identified from the Area Health    11   the -- of the unadjusted one, so it's
    12   Resource File and the Health Resources &        12   correct, but --
    13   Services Administration data.                   13        Q. Yeah, it's correct. And
    14            Do you see that?                       14   what --
    15       A. Yes, that's correct.                     15        A. It actually would be negative
    16       Q. But then data was only                   16   if you did the plus 50%.
    17   available for 2005, 2010 and 2014?              17        Q. Right. Okay. Thank you for
    18       A. That's correct.                          18   that clarification.
    19       Q. And so you had to linearly               19        A. It shows up in the chart more
    20   interpolate all the other values.               20   clearly.
    21       A. Yes, and as you can see, they            21        Q. And actually, if we just look
    22   barely change.                                  22   at '95 alone, even under your methodology,
    23       Q. But in any event, you only had           23   75% of the actual MMEs sold -- or nearly 75%,
    24   data for three years, and so the rest of it     24   would be potentially clinically justifiable?
    25   was interpolated with the data that you had?    25        A. Could have been accounted for
                                              Page 719                                                    Page 721
     1       A. I did interpolate.                        1   justifiable use by -- by justifiable uses,
     2       Q. Okay. And so if you go back to            2   right? So again, just to be clear that I'm
     3   the body of your report, Table 6, which is at    3   not saying that 75% of actual uses were --
     4   page 70, essentially presents the math           4   were delivered in that way, but they could
     5   exercise we've been talking about, correct?      5   have been.
     6       A. That's correct.                           6            The level of use was reasonably
     7       Q. It has kind of the cancer,                7   explained by this measure of need, if you
     8   trauma and surgical MMEs by year from 1995 to    8   would allow me to use that shorthand.
     9   2018 based on the inputs and assumptions         9        Q. And so if you use your
    10   we've been discussing.                          10   potentially justifiable use methodology,
    11       A. Yes.                                     11   including your 50% sensitivity analysis, it's
    12       Q. And so according to Table 6,             12   not until 1997 that you start seeing more
    13   just looking at 1995, for example, there were   13   than a small departure from the actual MMEs
    14   13,896,635,025 MMEs potentially clinically      14   sold?
    15   justifiable?                                    15        A. Right. So in 1997, the actual
    16       A. Yes.                                     16   is about 25% higher than the -- those
    17       Q. And then the next column is              17   justified by need.
    18   your sensitivity where you just multiply that   18        Q. And then where is this actual
    19   number by 50%?                                  19   MMEs sold number coming from? The IQVIA data
    20       A. Correct.                                 20   it looks like? It says: Actual MMEs
    21       Q. And so for 1995, your                    21   nationally from IQVIA, NPA, ARCOS, CDC.
    22   sensitivity shows 20,844 -- sorry,              22            (Clarification requested by the
    23   20,844,950 -- start over.                       23   reporter.)
    24            For 1995, your sensitivity             24            MR. ROTH: Okay. Sorry.
    25   shows 20,844,952,537 MMEs were potentially      25   BY MR. ROTH:

   Golkow Litigation Services                                                  Page 62 (718 - 721)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further63Confidentiality
                                                         of 95. PageID #: 471285
                                                                             Review
                                              Page 722                                             Page 724
     1        Q. The note on this chart is                1   nation as a whole these uses were present in
     2   confusing to me because it says: Actual MMEs     2   the way that I simulate them.
     3   nationally from IQVIA, NPA, ARCOS and CDC.       3   BY MR. ROTH:
     4        A. The actual MMEs comes from               4       Q. And I think we did talk about
     5   IQVIA. The CDC part relates to the MME           5   this earlier during the course of the last
     6   translation. As I sit here, I cannot think       6   two days, but you don't have any mechanism
     7   of a reason that the ARCOS data are used in      7   for translating your calculation of
     8   the actual MMEs sold.                            8   potentially justifiable MMEs in your thought
     9            MR. SOBOL: Choice of drugs.             9   analysis to either of your regression models?
    10   BY MR. ROTH:                                    10       A. Well, maybe I'm getting tired,
    11        Q. We may have found another               11   but I'm not sure I understand that statement
    12   errata.                                         12   in the form of a question or question in the
    13        A. No, it's more likely that I             13   form of a statement. So how would I
    14   just can't remember that detail as I sit        14   translate this to my regression model?
    15   here.                                           15       Q. Your regression models don't
    16        Q. Okay. And then if you look              16   remove from the impact of defendants'
    17   at -- so you've got the chart, and then the     17   promotion the clinically justifiable MMEs you
    18   next few paragraphs -- or the next paragraph,   18   calculate in your last opinion?
    19   102 on page 71, says --                         19       A. Again, I simulate them. I'm
    20        A. Yes.                                    20   not identifying them as actually having
    21        Q. -- The analysis described above         21   occurred. And the purpose of my direct and
    22   can be applied at the county level. Table 7     22   indirect analysis is to quantify the impact
    23   shows comparable results for the bellwether     23   of alleged misconduct, whether it resulted in
    24   counties.                                       24   a clinically justifiable use or otherwise.
    25            Do you see that?                       25       Q. Okay. Did you review or rely
                                              Page 723                                             Page 725
     1       A. Yes.                                      1   on Dr. Kessler's report in this case?
     2       Q. And so then you've got a                  2       A. I did not review or rely on it
     3   Table 7 with the counties.                       3   prior to filing my report.
     4            How was the translation of the          4       Q. Do you know who Dr. Kessler is?
     5   national analysis to the counties done?          5       A. I do.
     6       A. So beginning with the number of           6       Q. Have you seen him testify in
     7   patients in each category, there are             7   other cases you've been involved in?
     8   county-level data available both on cancer       8       A. I think he has testified in
     9   deaths and from the Area Health Resource         9   other cases I'm involved with. I want to say
    10   File, where the surgical cases come from, for   10   that one of the -- one of my old reports that
    11   the trauma patients they're allocated           11   you put in front of me somehow mentioned him.
    12   according to population.                        12             But I certainly know who he is,
    13       Q. And who did that translation?            13   and I believe he has testified in other cases
    14       A. That would be my staff at GMA.           14   I've been on, but I've not seen him testify.
    15       Q. Would you agree that opioids             15       Q. I'm trying to streamline
    16   that plaintiffs' experts believe were           16   simultaneously.
    17   clinically justifiable are less likely to       17       A. That's fine. Take your time.
    18   cause overdose deaths?                          18       Q. Do you agree with the statement
    19            MR. SOBOL: Objection.                  19   that it is not a drug by itself that is
    20       A. I do not know the answer to              20   regulated or that receives approval from the
    21   that question, and again, this is a             21   FDA; it is a drug for an intended use that is
    22   simulation about what might have been a         22   reviewed and approved by the FDA?
    23   clinically reasonable increase in opioid use.   23       A. Well, again, as a layperson,
    24            It is not an assessment of             24   not an FDA expert, I do understand that drugs
    25   whether, in fact, in these counties or in the   25   are approved for specific uses.

   Golkow Litigation Services                                                Page 63 (722 - 725)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further64Confidentiality
                                                         of 95. PageID #: 471286
                                                                             Review
                                              Page 726                                             Page 728
     1        Q. All right. And we talked a               1        Q. And there's a big black box on
     2   little bit at the beginning of your              2   the left side of the front page.
     3   deposition and a couple of other times about     3             Do you see that?
     4   drug labels, so I just want to show you one      4        A. I see the black box.
     5   for now.                                         5        Q. And in all capital letters at
     6        A. Sure.                                    6   the top of the box it says: Warning:
     7             (Whereupon, Deposition Exhibit         7   Addiction, abuse, and misuse; risk evaluation
     8        Rosenthal-28, Kadian Instructions for       8   and mitigation strategy, REMS;
     9        Use, was marked for identification.)        9   life-threatening respiratory depression;
    10   BY MR. ROTH:                                    10   accidental ingestion; neonatal opioid
    11        Q. And refresh me. I think you             11   withdrawal syndrome; interaction with
    12   said you did not review any -- I think that's   12   alcohol; and risks from concomitant use with
    13   wrong. I think you said you'd seen maybe the    13   benzodiazapines or other CNS depressants.
    14   hydrocodone and OxyContin drug labels?          14             Do you see that?
    15        A. I specifically remember seeing          15        A. I see that.
    16   those, reviewing those at some point during     16        Q. And that's in all capital
    17   my analysis.                                    17   letters.
    18        Q. But you did not do a                    18        A. It is.
    19   comprehensive review of all the drug labels     19        Q. And then there are seven
    20   for all of the opioids at issue in this case?   20   bullets in all bold that follow underneath in
    21             MR. SOBOL: Objection, asked           21   that same black box.
    22        and answered.                              22             Do you see that?
    23        A. I did not systemically analyze          23        A. I do.
    24   the drug labels.                                24        Q. And have you read a black box
    25             ///                                   25   warning like this one before?
                                              Page 727                                             Page 729
     1   BY MR. ROTH:                                     1        A. I have.
     2       Q. All right. I'm going to mark              2        Q. In what context?
     3   as Exhibit 28 the drug label for Kadian.         3        A. Well, when we were talking --
     4       A. I really am going to have to              4   I'm -- I may have seen black box warnings in
     5   get glasses.                                     5   this case. When we were talking about this
     6       Q. I apologize, these are printed            6   yesterday, I mentioned that black box
     7   so small.                                        7   warnings were a part of the factual base for
     8             Do you know what Kadian is?            8   the Zyprexa in other antipsychotic litigation
     9       A. I'm aware that it's in this               9   I was involved in.
    10   case. I have -- I think I cite to some          10        Q. Have you done, or are you aware
    11   documents involving Kadian in my report.        11   of any research trying to ascertain whether
    12       Q. Do you know who marketed                 12   marketing convinces doctors to ignore black
    13   Kadian?                                         13   box warnings such as the one in front of you?
    14       A. Well, it's probably not a great          14            MR. SOBOL: Objection.
    15   idea for me to guess. When I was reviewing      15        A. As I mentioned yesterday, I am
    16   some of those documents in preparation for my   16   aware of research about black box warnings
    17   deposition, I did run across one, and I         17   and the instances in which they have not been
    18   remember looking for the manufacturer. But I    18   effective, and therefore, ignored by
    19   think it's Mallinckrodt, but I'm not a          19   prescribing physicians.
    20   hundred percent sure.                           20            And in the antipsychotic
    21       Q. So if you look at the top of             21   litigation I was involved in, I did some
    22   the first page, Kadian is a morphine sulfate    22   analysis that showed that while there was a
    23   extended-release capsule.                       23   short-run response to the black box warning,
    24             Do you see that?                      24   that prescribing returned to its original
    25       A. Yes.                                     25   trend.
   Golkow Litigation Services                                                Page 64 (726 - 729)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further65Confidentiality
                                                         of 95. PageID #: 471287
                                                                             Review
                                             Page 730                                              Page 732
     1   BY MR. ROTH:                                     1        Q. I think we've made it through
     2       Q. Which antipsychotic drug were             2   all of them now.
     3   you involved in?                                 3        A. Impressive.
     4       A. Well, you know about Zyprexa --           4        Q. There may be one we didn't, so
     5       Q. Right.                                    5   that's what I want to talk about.
     6       A. -- from the case you put in               6        A. Okay. Good.
     7   front of me. I was an expert in several          7        Q. If you look back at
     8   Risperdal cases as well, and the black box       8   paragraph 11, the second bullet in your
     9   warning for atypical antipsychotics is common    9   summary says -- well, the first bullet,
    10   to all the second-generation drugs.             10   Promotion of pharmaceuticals increase their
    11       Q. Okay. If you look at the                 11   sales.
    12   section is labeled Indications and Usage on     12             We talked about that I think a
    13   the same page below the black box warning?      13   lot yesterday.
    14       A. Yes.                                     14        A. I think so.
    15       Q. It says: Kadian is an opioid             15        Q. The second bullet. The alleged
    16   agonist indicated for the management of pain    16   unlawful promotion of opioids, if proven,
    17   severe enough to require daily                  17   resulted in increased sales of opioids.
    18   around-the-clock long-term opioid treatment,    18             We talked about that some as
    19   and for which alternative treatment options     19   well.
    20   are inadequate.                                 20             And then if you look at the
    21            Do you see that?                       21   table, I think those opinions are captured by
    22       A. I do.                                    22   Section VI of your report; is that right?
    23       Q. And that's the FDA-approved              23        A. Section VI and VII generally go
    24   indication and usage?                           24   to the first bullet point, which is, you
    25            MR. SOBOL: Objection.                  25   know, at a high level, promotion increases
                                             Page 731                                              Page 733
     1       A. Again, as I understand the FDA            1   sales.
     2   label, it contains information on the            2       Q. I guess what I'm getting at is
     3   approved usage. I'm not -- neither a             3   your econometric models are not cited as a
     4   clinician nor an FDA expert. That is my          4   basis for your opinions that either promotion
     5   layperson's understanding.                       5   increases sales or that the unlawful
     6   BY MR. ROTH:                                     6   promotion, if proven, resulted in an increase
     7       Q. Okay. And do you have any                 7   in sales.
     8   reason to doubt that when the FDA approved       8       A. Yes. So the econometric models
     9   the label for Kadian or any other opioid         9   clearly show that the alleged unlawful
    10   involved in this case, that it underwent the    10   promotion of opioids caused sales. I don't
    11   regulatory process required by federal          11   specifically cite to the econometric models
    12   regulations, including receiving studies of     12   there, but when I reach my conclusions from
    13   efficacy and safety?                            13   the models, we can go to that text, I do
    14             MR. SOBOL: Objection, scope.          14   conclude that the model shows a causal
    15       A. I could not say one way or               15   relationship.
    16   another. I don't have the information to        16             So even though I don't mention
    17   evaluate such a proposition.                    17   the econometric model specifically until I
    18   BY MR. ROTH:                                    18   get to the next bullet point, the fact that
    19       Q. Okay. Let's look at your                 19   I'm identifying the extent there is also
    20   report, paragraph 11, which was the summary     20   premised on the existence of an effect.
    21   of your opinions.                               21       Q. Okay. I understand now.
    22       A. Yes. Not the table, just the             22             So if you look at the second
    23   paragraph?                                      23   bullet point, the last sentence says: As a
    24       Q. We can look at both.                     24   result, I am of the opinion that the combined
    25       A. Okay.                                    25   effect of the defendant manufacturers'
   Golkow Litigation Services                                                Page 65 (730 - 733)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further66Confidentiality
                                                         of 95. PageID #: 471288
                                                                             Review
                                             Page 734                                              Page 736
     1   promotion of prescription opioids since 1995     1   prescriber?
     2   was a substantial contributing factor to the     2            MR. SOBOL: Objection, asked
     3   increase in the use of prescription opioids      3        and answered.
     4   in the bellwether communities.                   4        A. I think what you're suggesting
     5            Did I read that correctly?              5   is that detailing may involve an interaction
     6       A. You did.                                  6   with someone else in the office? Is that
     7       Q. And that is based largely on              7   what you're referring to?
     8   the econometric models?                          8            And, yes, as I understand the
     9       A. It's based on all the                     9   matter at hand, that the entire promotional
    10   foregoing.                                      10   enterprise is what is at issue here, and so I
    11       Q. Okay. And I noticed the way              11   have appropriately captured all detailing in
    12   you worded that sentence was that the           12   my econometric model.
    13   promotion was a substantial contributing        13   BY MR. ROTH:
    14   factor; is that right?                          14        Q. Your analysis includes all
    15       A. That's right.                            15   promotion by defendants even if that
    16       Q. Not that the unlawful promotion          16   promotion did not result in any change in the
    17   was a substantial contributing factor,          17   prescriber's behavior after they were
    18   because as we've discussed, you have no         18   detailed?
    19   opinion on whether defendants' promotion was    19        A. Well --
    20   unlawful or not; you're relying on counsel's    20            MR. SOBOL: Objection.
    21   assumption.                                     21        A. -- actually, I would
    22            MR. SOBOL: Objection, asked            22   respectfully disagree with that. My analysis
    23       and answered.                               23   only attributes impact where promotion
    24       A. Again, I -- perhaps I should             24   resulted in an increase in sales.
    25   have repeated the unlawful promotion, if        25            ///
                                             Page 735                                              Page 737
     1   proven. So as you say, I demonstrate that        1   BY MR. ROTH:
     2   promotion caused sales, and I assume that        2        Q. But you include in your
     3   plaintiffs will prove that all promotion was     3   analysis details that may have had no effect
     4   unlawful.                                        4   on the particular prescriber's behavior?
     5            MR. SOBOL: By the defendants.           5            MR. SOBOL: Objection, asked
     6        A. All promotion by the defendants          6        and answered.
     7   was unlawful.                                    7        A. And if that is the case, then
     8   BY MR. ROTH:                                     8   it reduces the incremental effectiveness of
     9        Q. And because you assumed that             9   promotion that I observe, and therefore, the
    10   all promotion by the defendants was unlawful,   10   calculated impact. The possibility that some
    11   that assumption would include promotion even    11   details did not produce change is
    12   if a sales representative only dropped off      12   incorporated into the estimates.
    13   peer-reviewed literature at a doctor's          13   BY MR. ROTH:
    14   office?                                         14        Q. You include in your analysis
    15            MR. SOBOL: Objection, asked            15   detailing where the prescriber's rate of
    16        and answered.                              16   prescription may have actually decreased
    17        A. My analysis includes all                17   after the detail?
    18   promotion by defendants. When I calculate       18            MR. SOBOL: Objection, asked
    19   the but-for scenario, I remove that             19        and answered.
    20   regardless if some of that promotion used       20        A. My analysis will incorporate
    21   materials that were FDA approved.               21   the effects, negative or positive. Obviously
    22   BY MR. ROTH:                                    22   on average they're positive. If there are
    23        Q. Your analysis also includes             23   some negative changes after a detail for some
    24   promotion by defendants even if the sales       24   reason, those again will reduce the measure
    25   representative had no interaction with the      25   of impact.
   Golkow Litigation Services                                                Page 66 (734 - 737)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further67Confidentiality
                                                         of 95. PageID #: 471289
                                                                             Review
                                              Page 738                                            Page 740
     1   BY MR. ROTH:                                     1   the alleged misconduct. Regardless of how
     2       Q. You include in your analysis              2   those opioid prescriptions were used in
     3   detailing even if the prescriber never           3   practice, as I understand, is appropriate to
     4   prescribed the medicine he or she was            4   my assignment.
     5   detailed on?                                     5       Q. Stated differently, your
     6             MR. SOBOL: Objection.                  6   analysis includes any detailing in the data
     7       A. Yes. Again, just like the --              7   regardless of to whom it was -- let me start
     8   any detailing that has no effect or a lower      8   over.
     9   effect, I guess that would be a version of no    9            Stated differently, your
    10   effect, if the individual detailed never        10   analysis -- can we just get a clean question
    11   prescribed. And again, that will reduce the     11   and answer. Say something.
    12   impact of detailing in my model.                12       A. Yes. What was the question? I
    13   BY MR. ROTH:                                    13   don't know what the question is.
    14       Q. You include in your analysis             14       Q. Stated differently, your
    15   detailing to prescribers who were already the   15   analysis includes any detail in the data,
    16   lead authors of journal articles on the         16   regardless of who was detailed, what was said
    17   addiction risk of opioids at the time they      17   or what behavior changed or did not after the
    18   were detailed?                                  18   detail?
    19             MR. SOBOL: Objection.                 19       A. So my analysis is consistent
    20       A. If there is such detailing in            20   with my assignment in that I examine and
    21   my data, again, my estimates will               21   quantify the aggregate market expansion that
    22   appropriately reflect a reduced effectiveness   22   occurred as a result of defendants' promotion
    23   of promotion for those details.                 23   during the period from 1995 to the end of my
    24   BY MR. ROTH:                                    24   data in 2018. I do not disentangle the types
    25       Q. Your analysis includes                   25   of detailing; however, to the extent there
                                              Page 739                                            Page 741
     1   detailing to oncologists prescribing for         1   are differential effects of detailing across
     2   end-of-life cancer pain?                         2   groups, those will be incorporated into the
     3       A. Again, to the extent that my              3   estimates.
     4   analysis does not grow the size -- sorry, to     4             MR. ROTH: Our time may be
     5   the extent that promotion does not grow the      5        done. Let's take a quick break. And
     6   size of the market by expanding the use of       6        I may have more questions or someone
     7   opioids, detailing, for example, to              7        else may.
     8   oncologists who may already have been            8             THE WITNESS: Okay.
     9   prescribing opioids will not result in           9             THE VIDEOGRAPHER: The time is
    10   impact.                                         10        1:35 p.m. We're now off the record.
    11       Q. Your analysis includes                   11             (Recess taken, 1:35 p.m. to
    12   detailing to prescribers who are hospice        12        1:51 p.m.)
    13   specialists for end-of-life pain.               13             THE VIDEOGRAPHER: The time is
    14       A. To the extent that there is              14        1:51 p.m. We're back on the record.
    15   detailing to hospice providers in my data and   15   BY MR. ROTH:
    16   those uses would have occurred regardless of    16        Q. Professor Rosenthal, in Table 2
    17   the promotion, my analysis will appropriately   17   you calculate the total percent of MMEs
    18   capture those effects.                          18   attributable to defendants' promotion to be
    19       Q. Your analysis includes                   19   44.9% of MMEs; is that right?
    20   detailing to prescribers who may be             20        A. That's right.
    21   performing surgery or trauma intervention in    21        Q. To what do we owe the other
    22   the emergency room?                             22   55.1% of MMEs?
    23       A. Again, to the extent that                23        A. The other 55 -- excuse me -- .1
    24   those -- my analysis will calculate the uses    24   percent of MMEs are owed to the promotion
    25   that occurred in this market as a result of     25   that is not excluded in the but-for scenario,
   Golkow Litigation Services                                                Page 67 (738 - 741)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further68Confidentiality
                                                         of 95. PageID #: 471290
                                                                             Review
                                              Page 742                                             Page 744
     1   so again, because I start my data as early as    1   similar kinds of diagrams.
     2   I can in '93, there's a stock of promotion       2       Q. And if we look at your diagram,
     3   that builds up, and then there's                 3   you have the ecosystem of promotion in all of
     4   non-defendant promotion. So all those things     4   the lines between the various constituencies,
     5   are left in the model.                           5   and in the box in the middle, there's
     6       Q. So it's promotion prior to '95            6   detailing, professional journals, samples,
     7   by anyone and non-defendant promotion            7   and meetings and events.
     8   thereafter?                                      8            Do you see that?
     9       A. That's correct.                           9       A. Yes.
    10       Q. And that explains 55.1% of the           10       Q. And as we discussed, your model
    11   MMEs with the remainder being explained by      11   only accounts for detailing promotion, not
    12   defendants' promotion from 1995 to 2018?        12   for any of the other items in the box or any
    13       A. That's generally correct. You            13   of the other boxes on Figure 1?
    14   know, there's a constant in the model, which    14            MR. SOBOL: Objection,
    15   I think we could go to Table 1 and in           15       mischaracterizes the testimony, asked
    16   Model B, so there's a baseline level of         16       and answered.
    17   2.4 million MMEs.                               17       A. The direct model includes the
    18       Q. Okay.                                    18   measure of detailing only. The indirect
    19       A. So that's in there as well.              19   model is intended to capture all of these
    20       Q. And then the same question for           20   kinds of marketing tools.
    21   the indirect model, you calculate 67% of MMEs   21   BY MR. ROTH:
    22   due to excess shipments, so is it fair to say   22       Q. And then Table 3, which we've
    23   based on your approach that the other 33% is    23   been round and around on, to the extent that
    24   due to the demographic and socioeconomic and    24   you used Table 3 to assess the delta between
    25   other factors you model for?                    25   a defendant's promotion percentage and the
                                              Page 743                                             Page 745
     1            MR. SOBOL: Objection.                   1   baseline percentage, that delta is capturing
     2       A. That would be due to the                  2   how that defendant's promotion relates to the
     3   changes in all of those factors. Again,          3   aggregate average; is that right?
     4   price actually has a negative effect, but the    4              MR. SOBOL: Objection, asked
     5   trend which is intended to proxy for             5        and answered.
     6   non-defendant promotion and those other          6        A. As we discussed earlier, I
     7   demographic, socioeconomic and healthcare        7   don't use the table in that way. I'm using
     8   variables.                                       8   it to narrow the aggregate by excluding
     9   BY MR. ROTH:                                     9   individual defendants.
    10       Q. Okay. And then if you look               10              And when I do that, for
    11   back at page 19 of your report, Figure 1.       11   example, to exclude Aventis, just as an
    12       A. Sorry, excuse me. I should               12   alphabetically first choice, I am excluding
    13   just say again, in the indirect model as in     13   ultimately the effect that I observe in the
    14   the direct model there's also a baseline,       14   econometric model of Aventis' marketing,
    15   right, so we're projecting growth from '95      15   whether that generates sales for its product
    16   forward. So there's a baseline level.           16   or someone else's product.
    17       Q. Got it.                                  17              MR. ROTH: Okay. I think with
    18            So if you look on Figure 1 on          18        that I am done for the time being.
    19   page 19, we haven't actually talked about       19        It's been a pleasure. I believe
    20   this diagram yet.                               20        Mr. Metz has some questions, so I will
    21       A. Okay. Page 19. Yes.                      21        be passing the microphone to him. And
    22       Q. And is this a diagram you've             22        I can't promise I won't come back,
    23   used in other expert reports before?            23        depending on what else happens, but
    24       A. I tailored this one                      24        thank you so much.
    25   specifically for this report, but I have used   25              THE WITNESS: Okay. Thank you.
   Golkow Litigation Services                                                Page 68 (742 - 745)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further69Confidentiality
                                                         of 95. PageID #: 471291
                                                                             Review
                                              Page 746                                             Page 748
     1            THE VIDEOGRAPHER: The time is           1       A. In this paragraph in
     2       1:56 p.m. We're now off record.              2   particular, I'm talking about the defendants
     3            (Recess taken, 1:56 p.m. to             3   who have detailing that I'm measuring in my
     4       1:58 p.m.)                                   4   data, so those would be the marketing
     5            THE VIDEOGRAPHER: The time is           5   defendants.
     6       1:58 p.m. We're back on the record.          6   BY MR. METZ:
     7              EXAMINATION                           7       Q. Okay. And by marketing
     8   BY MR. METZ:                                     8   defendants, you're not including any of the
     9       Q. Good afternoon, Professor                 9   distributor defendants, correct?
    10   Rosenthal.                                      10       A. I don't believe that they have
    11       A. Good afternoon.                          11   marketing data in my data, so there may be
    12       Q. My name is Carl Metz. I                  12   places in my report where I refer to
    13   represent Cardinal Health, which is one of      13   defendants where it's appropriate to talk
    14   the distributor defendants in this case.        14   about them more generally, for example, when
    15       A. I apologize for forgetting the           15   I'm summarizing the complaint, but here I
    16   name of your employer as it were.               16   intend to describe the defendants who have
    17       Q. That's all right. You're                 17   detailing that is measured in the IQVIA data.
    18   referring to testimony yesterday where you      18       Q. Okay. So just to be clear,
    19   were asked about the distributor defendants,    19   not -- as you believe it, not -- that does
    20   you named two companies, and the third name,    20   not include the distributor defendants,
    21   Cardinal, eluded you. Yes?                      21   correct?
    22       A. Exactly, yes.                            22            MR. SOBOL: Objection, asked
    23       Q. Okay. At various places in               23       and answered.
    24   your report, you refer to marketing             24       A. I believe that is true.
    25   defendants, correct?                            25            ///
                                              Page 747                                             Page 749
     1       A. Yes, I do.                                1   BY MR. METZ:
     2       Q. And then in other places, and             2        Q. Okay. And it also does not
     3   I'm sure this is not by design, you refer to     3   include the pharmacy defendants, correct?
     4   the word "defendants" without                    4             MR. SOBOL: Objection, asked
     5   differentiation.                                 5        and answered.
     6           MR. SOBOL: Objection to the              6        A. Yes, that is correct.
     7       form.                                        7   BY MR. METZ:
     8           You can answer.                          8        Q. So we take another example,
     9       A. Yes, I believe I use that term.           9   paragraph 78, where you say, quote: An
    10   We could look to see how I use it.              10   alternative method of identifying the impact
    11   BY MR. METZ:                                    11   of the defendants', possessive, misconduct,
    12       Q. For example, in paragraph 64,            12   is to use an indirect method.
    13   which you're welcome to look at, and I'll       13             Do you see that?
    14   quote this just partially. You say, quote:      14        A. Yes.
    15   A causal relationship between the               15        Q. And there again, you're using
    16   defendants', possessive, promotion and          16   the term "defendants," but how we should
    17   prescriptions of opioids.                       17   understand that is the marketing defendants,
    18           Do you see that?                        18   correct?
    19       A. Yes.                                     19        A. Well, the -- in -- excuse me,
    20       Q. And do I understand based on             20   the indirect approach -- it is getting to be
    21   your testimony over the last two days that      21   late -- is, as you know, a residual approach,
    22   despite using the singular term "defendants,"   22   so it inherently is looking at all of these
    23   we should not read that as referring to all     23   demographic, socioeconomic and healthcare
    24   defendants, correct?                            24   factors that could have driven higher opioid
    25           MR. SOBOL: Objection.                   25   use and attributes that which is left to the
   Golkow Litigation Services                                                Page 69 (746 - 749)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further70Confidentiality
                                                         of 95. PageID #: 471292
                                                                             Review
                                              Page 750                                             Page 752
     1   misconduct.                                      1   set of prescriptions that combine to make up
     2            I think it's a little bit less          2   the additional MMEs you've identified in your
     3   clear about how that analysis might be used      3   analysis, correct?
     4   to assess liability for distributors. I have     4       A. The way my analysis works is to
     5   not been asked to do that, but the indirect      5   analyze the actual data and identify a
     6   analysis, because it's not measuring the         6   quantity of prescriptions in aggregate that
     7   conduct of a specific group, could be open to    7   would not have been filled absent the
     8   a broader interpretation.                        8   promotional misconduct.
     9       Q. Have you disclosed any opinions           9            As I noted yesterday, because
    10   that, based upon your indirect model, you       10   the but-for scenario did not occur, we cannot
    11   draw conclusions about distributor              11   explicitly observe which individual
    12   defendants' conduct?                            12   prescriptions would not have been filled. So
    13       A. I have not. I have not drawn             13   there's a conceptual impossibility to the
    14   those conclusions.                              14   statement that you're describing.
    15       Q. And you mentioned the detailing          15       Q. Okay. So just to be clear,
    16   data, but just to be clear, you did not         16   your answer is yes, but for the reason that
    17   include in your direct model any data series    17   it would be impossible?
    18   that you understood were measuring the          18            MR. SOBOL: Objection, asked
    19   conduct of the distributor defendants; is       19       and answered.
    20   that correct?                                   20       A. Yes, and my analysis -- as you
    21            MR. SOBOL: Objection, asked            21   know, my assignment was to estimate the
    22       and answered.                               22   impact of the alleged misconduct and to
    23       A. I have not measured the conduct          23   quantify that in aggregate.
    24   of the distributors or included that in my      24   BY MR. METZ:
    25   model.                                          25       Q. I understand. The alleged
                                              Page 751                                             Page 753
     1   BY MR. METZ:                                     1   marketing misconduct, correct?
     2       Q. And the same would be true of             2       A. The alleged marketing
     3   the pharmacy defendants, correct?                3   misconduct.
     4            MR. SOBOL: Objection, asked             4       Q. And am I correct that the data
     5       and answered.                                5   that you use in your calculation does not
     6       A. I have not measured the conduct           6   contain identifying information for
     7   of the pharmacies and included that in my        7   individual prescriptions, correct?
     8   models.                                          8       A. My data do not contain
     9            MR. METZ: Just so it's not              9   individual prescription identifiers. I
    10       recurring, I'm five questions in.           10   assume by that you mean something like a
    11       What have I asked and answered? Or          11   member identifier.
    12       what have I asked previously?               12       Q. Anything that would enable you
    13            MR. SOBOL: All of this was             13   to identify a specific prescription that's
    14       covered by Mr. Roth this morning and        14   within the sum of your conclusions?
    15       yesterday.                                  15       A. No. Again, because of -- for
    16            MR. METZ: Okay. I disagree.            16   privacy reasons, my data are deidentified.
    17   BY MR. METZ:                                    17       Q. Okay. Now, you testified
    18       Q. You testified at several points          18   yesterday that you have not formed any
    19   that the design of your model is intended to    19   opinions about the separate role of doctors
    20   capture an aggregate effect on MMEs sold,       20   in causing an increase in the MMEs that you
    21   correct?                                        21   measured.
    22       A. That's correct.                          22            Do you recall that testimony?
    23       Q. And in part what that means is           23       A. I believe I described the fact
    24   you've not reported your results in a way       24   that of course doctors are in the causal
    25   that allows you to identify any particular      25   chain, they're the ones writing the
   Golkow Litigation Services                                                Page 70 (750 - 753)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further71Confidentiality
                                                         of 95. PageID #: 471293
                                                                             Review
                                             Page 754                                              Page 756
     1   prescriptions.                                   1   BY MR. METZ:
     2        Q. Right. You testified that                2       Q. Okay. And you've not done that
     3   the conduct you're attempting to measure         3   for an aggregate sum of prescriptions either,
     4   flows through doctors, but you're not forming    4   correct?
     5   a separate opinion about their independent       5             MR. SOBOL: Objection, asked
     6   role in the causal chain, what influence they    6       and answered.
     7   exerted in the causal chain, correct?            7       A. I have not evaluated medical
     8             MR. SOBOL: Objection.                  8   necessity of any prescriptions.
     9        A. I have not separately examined,          9   BY MR. METZ:
    10   I guess, doctor behavior. Again, because        10       Q. All right. Am I correct that
    11   it's tautologically true that every             11   you've also not undertaken to identify any
    12   prescription is written by a physician, I       12   subset of your total MME increase that
    13   struggle with that concept.                     13   consists of prescriptions a pharmacist should
    14   BY MR. METZ:                                    14   have refused to fill for whatever reason
    15        Q. I understand.                           15   after it was presented by a patient?
    16             Now, you also testified               16             MR. SOBOL: Objection.
    17   yesterday that you've not formed any opinions   17       A. I have not been asked to
    18   about whether any quantity of the increase in   18   examine the decisions of pharmacists or the
    19   MMEs identified in your opinions was            19   conduct of pharmacists as it relates to this
    20   medically necessary or unnecessary, correct?    20   matter.
    21             MR. SOBOL: Objection. On the          21   BY MR. METZ:
    22        direct model, you mean?                    22       Q. Okay. So you've not done that
    23   BY MR. METZ:                                    23   for the reason you just stated?
    24        Q. On the direct model, do you             24             MR. SOBOL: Objection, asked
    25   recall that testimony?                          25       and answered.
                                             Page 755                                              Page 757
     1        A. Yes. In the direct and                   1       A. I have not examined the conduct
     2   indirect models, I do not differentiate          2   of pharmacists.
     3   between medically necessary and unnecessary      3   BY MR. METZ:
     4   prescriptions.                                   4       Q. Okay. And you're not an expert
     5        Q. Okay. And in part what that              5   in what constitutes responsible conduct of
     6   means is you have not endeavored to identify     6   pharmacists, correct?
     7   any subset of your total measured MME            7       A. I'm not an expert in what
     8   increase that consists of prescriptions that     8   constitutes responsible conduct for
     9   do not meet an appropriate standard of           9   pharmacists.
    10   medical care; is that correct?                  10       Q. Based on your role as a
    11             MR. SOBOL: Objection, asked           11   healthcare economist, are you, though,
    12        and answered.                              12   generally aware that pharmacists have certain
    13        A. I have not evaluated the -- nor         13   obligations relating to the dispensing of
    14   am I a clinical expert, just to be clear --     14   pharmaceuticals?
    15   the medical necessity of any of the             15       A. I am aware generally where
    16   prescriptions that I find were caused by the    16   pharmacists fit in the supply chain. I am
    17   alleged misconduct.                             17   not familiar with the specifics of their
    18   BY MR. METZ:                                    18   professional guidelines.
    19        Q. Right. You've not done that at          19       Q. Okay. And recognizing that
    20   the level of individual prescriptions in the    20   you've already told me you do not have the
    21   first instance, correct?                        21   expertise to do this, it was not your
    22             MR. SOBOL: Objection, asked           22   assignment, and you do not have the
    23        and answered.                              23   visibility at the prescription level -- I
    24        A. I have not done analysis at the         24   just want to confirm for the record -- you
    25   level of individual prescriptions at all.       25   have not evaluated whether individual
   Golkow Litigation Services                                                Page 71 (754 - 757)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further72Confidentiality
                                                         of 95. PageID #: 471294
                                                                             Review
                                              Page 758                                             Page 760
     1   prescriptions that are somehow within your       1   BY MR. METZ:
     2   total MME calculation were properly filled       2        Q. And you've not evaluated that
     3   from the perspective of a pharmacist?            3   at the level of chains of pharmacies,
     4             MR. SOBOL: Objection.                  4   correct?
     5        Objection, asked and answered.              5            MR. SOBOL: Objection, asked
     6        A. I have not evaluated -- I guess          6        and answered.
     7   it sounds to me like you're just saying that     7        A. I have not evaluated the
     8   there's a notion of medical necessity that       8   conduct of pharmaceutical chains or pharmacy
     9   applies to pharmacists, but I have not           9   chains to the opioid prescriptions.
    10   evaluated the medical circumstances around a    10   BY MR. METZ:
    11   particular prescription, whether it pertains    11        Q. Now, in Table 2 of your report,
    12   to the doctor's decisions or the pharmacist's   12   you disclose some information on a percentage
    13   decisions.                                      13   basis under a heading that it is the percent
    14   BY MR. METZ:                                    14   of MMEs attributable to challenged promotion,
    15        Q. Thank you for that. And just            15   correct?
    16   to be clear, because that's not what I was,     16        A. I think that's right. I'm
    17   in fact, suggesting, I'm just trying to         17   sorry, just let me get the table. Percent of
    18   confirm what is not done within the contours    18   MMEs attributable to challenged promotion,
    19   of your opinions, not necessarily the reasons   19   yes.
    20   for them or suggesting that you should have     20        Q. Okay. Now, would I be correct
    21   done these things.                              21   in surmising that for all the reasons we've
    22             MR. SOBOL: Well, she's going          22   been discussing, it would not be correct to
    23        to give complete answers to the            23   characterize the results reflected in Table 2
    24        questions.                                 24   as reflecting a percentage of MMEs prescribed
    25             MR. METZ: I don't mind her            25   in excess of legitimate medical need?
                                              Page 759                                             Page 761
     1       giving complete answers.                     1             MR. SOBOL: Objection, asked
     2           MR. SOBOL: Okay.                         2       and answered.
     3   BY MR. METZ:                                     3       A. It is -- I do not describe my
     4       Q. You similarly have not -- it              4   calculations that way, and as we discussed
     5   follows, I think, by not having done that        5   earlier, I have not evaluated the medical
     6   analysis at the level of individual              6   necessity of any prescriptions.
     7   prescriptions, you've also not evaluated         7   BY MR. METZ:
     8   whether individual pharmacists improperly        8       Q. Okay. My question was close to
     9   dispensed in response to prescriptions they      9   that, but it's not that.
    10   were presented with, correct?                   10             They're not described that way,
    11           MR. SOBOL: Objection, asked             11   and it would be incorrect to describe them
    12       and answered.                               12   that way based on the analysis you conducted,
    13       A. I have not evaluated the                 13   correct?
    14   conduct of individual pharmacists in my         14             MR. SOBOL: Objection, form,
    15   analysis.                                       15       asked and answered.
    16   BY MR. METZ:                                    16       A. I did not analyze medical
    17       Q. Okay. And you've not                     17   necessity. My results do not pertain to
    18   undertaken such an evaluation at the level of   18   medical necessity and, like anything, they
    19   pharmacies as a whole, correct?                 19   are not, it would be incorrect to label them
    20           MR. SOBOL: Objection, asked             20   medical necessity or anything else that they
    21       and answered.                               21   are not.
    22       A. I have not evaluated the                 22   BY MR. METZ:
    23   contribution of pharmacies to these             23       Q. Thank you.
    24   prescriptions.                                  24             You would also agree with me
    25           ///                                     25   that again, for the same reasons we've been
   Golkow Litigation Services                                                Page 72 (758 - 761)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further73Confidentiality
                                                         of 95. PageID #: 471295
                                                                             Review
                                              Page 762                                             Page 764
     1   discussing, it would not be correct to           1            MR. SOBOL: Objection.
     2   characterize Table 2 as reflecting a percent     2   BY MR. METZ:
     3   of MMEs dispensed by pharmacies or               3       Q. That's not the basis on which
     4   pharmacists in excess of legitimate              4   Table 2 is compiled, correct, as its author?
     5   prescriptions?                                   5            MR. SOBOL: Objection, asked
     6            MR. SOBOL: Objection, asked             6       and answered several times now.
     7       and answered.                                7       A. I have not in my analysis
     8       A. I am not sure whether --                  8   analyzed the behavior of pharmacies or
     9   because I have not analyzed the conduct of       9   pharmacists, and so I cannot describe these
    10   pharmacists or pharmacies -- whether another    10   data as reflecting the behavior of pharmacies
    11   expert might deem these same units that I       11   or pharmacists.
    12   calculate are caused by promotion to have       12            Because of this issue around
    13   been in excess from the point of view of the    13   the causal chain that pharmacies, in fact,
    14   conduct of pharmacists or pharmacies.           14   dispense prescriptions, I don't know if
    15            I have not done that analysis.         15   someone else would attribute this -- these
    16   So you're asking me a question about how        16   same excess units to pharmacies. I haven't
    17   these -- these analyses might be used by        17   done that analysis.
    18   others, as far as I'm concerned.                18            I am not attributing these to
    19   BY MR. METZ:                                    19   pharmacists' behavior, but they are in the
    20       Q. I'm asking the author of the             20   causal chain. So I'm saying I have described
    21   analysis the proper interpretation of the       21   these as those units that are caused by the
    22   analysis, and as the author of the analysis,    22   allegedly unlawful promotion. That's what
    23   it would not be a proper interpretation that    23   they are.
    24   what this reflects is a quantity of opioid      24            Whether or not the pharmacists'
    25   pharmaceuticals dispensed in excess of          25   or pharmacies' conduct is fully overlapping
                                              Page 763                                             Page 765
     1   legitimate prescriptions, correct?               1   with the marketing manufacturers here, I
     2            MR. SOBOL: Objection, asked             2   don't know. I haven't been asked to look at
     3       and answered, mischaracterizes prior         3   that question.
     4       testimony.                                   4   BY MR. METZ:
     5       A. When you use the word                     5       Q. In running the analyses that
     6   "legitimate," to me that sounds like it -- I     6   resulted in the numbers in Table 2, it was
     7   mean, literally it's a legal term, and so        7   never at any point your intention to compile
     8   what I've calculated here, which I have          8   a table from which one would interpret that
     9   labeled absolutely clearly, is the percent of    9   as a volume of opioid prescriptions that were
    10   MMEs attributable to allegedly unlawful -- I    10   dispensed in excess of legitimate --
    11   say challenged -- unlawful promotion.           11   prescriptions that a pharmacist should have
    12            So that is illegitimate in a           12   fulfilled after being presented with such
    13   sense, in the sense that I understand           13   prescriptions.
    14   plaintiffs' counsel intend to prove that the    14            MR. SOBOL: Objection, asked
    15   defendants' promotion from 1995 through 2018    15       and answered, mischaracterizes prior
    16   was unlawful.                                   16       testimony.
    17   BY MR. METZ:                                    17   BY MR. METZ:
    18       Q. Okay. Let me ask it in a                 18       Q. Isn't that correct?
    19   different way.                                  19            MR. SOBOL: Well, objection.
    20            The information compiled in            20       Answer -- asked and answered,
    21   Table 2 could not be correctly characterized    21       mischaracterizes prior testimony.
    22   as having been compiled so that it would show   22            If you want to give the same
    23   an amount of opioid prescriptions that were     23       answer or whatever, go ahead.
    24   dispensed based on prescriptions a pharmacist   24       A. I'm not sure. In my analysis,
    25   should have refused?                            25   I did not consider whether a pharmacist or
   Golkow Litigation Services                                                Page 73 (762 - 765)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further74Confidentiality
                                                         of 95. PageID #: 471296
                                                                             Review
                                              Page 766                                             Page 768
     1   pharmacy should have done one thing or           1   on aggregate data for total MMEs, they do not
     2   another. Again, they're in the causal chain.     2   contain the identifying information that
     3   They must have been involved in filling these    3   would allow you to trace them back to
     4   prescriptions, but I have not separately         4   individual prescriptions, correct?
     5   analyzed the conduct of those pharmacists or     5            MR. SOBOL: Objection, asked
     6   pharmacies; and moreover, when you use the       6       and answered.
     7   word "should," that sounds like there's          7       A. The data I have from the
     8   either a professional judgment or a legal        8   National Prescription Audit do not have
     9   judgment, and I have not analyzed that kind      9   identifiers, so in these data, I cannot trace
    10   of judgment.                                    10   them back to individuals.
    11   BY MR. METZ:                                    11   BY MR. METZ:
    12       Q. Okay. I think I asked a                  12       Q. Okay. And therefore, those
    13   complicated question, more so than I intended   13   MMEs are also not traceable back to
    14   to be. Mine is just very simple.                14   individual pharmacies, correct?
    15             As the person who compiled the        15            MR. SOBOL: Objection, asked
    16   information in that table, it was not done      16       and answered.
    17   for the purpose of making the sort of claim     17       A. Again, in the aggregate data I
    18   that I just -- just stated in my previous       18   have, that is correct.
    19   question, correct? That was not the purpose     19   BY MR. METZ:
    20   of compiling the information in that table.     20       Q. And you've not attempted to
    21             MR. SOBOL: Objection, asked           21   trace them, correct?
    22       and answered.                               22            MR. SOBOL: Objection, asked
    23       A. The purpose of Table 2 was to            23       and answered.
    24   fulfill the part of my assignment where I was   24       A. I would have to get a different
    25   asked to quantify the impact of allegedly       25   dataset for that.
                                              Page 767                                             Page 769
     1   unlawful promotion on MMEs. That was the         1   BY MR. METZ:
     2   purpose of Table 2.                              2       Q. Okay. And therefore, those
     3   BY MR. METZ:                                     3   MMEs are also not traceable back to
     4       Q. Okay. Now, you testified this             4   individual orders that pharmacies placed with
     5   morning that you've not conducted any            5   their wholesale distributors, correct?
     6   analyses relating to suspicious order            6            MR. SOBOL: Objection, asked
     7   monitoring for any defendant.                    7       and answered.
     8           Do you recall that?                      8       A. My data are not at the right
     9           MR. SOBOL: Objection, asked              9   level of disaggregation to track orders to or
    10       and answered.                               10   from pharmacies.
    11       A. Yes.                                     11   BY MR. METZ:
    12   BY MR. METZ:                                    12       Q. And for that reason or other
    13       Q. To take that one step further,           13   reasons, you've not attempted to make any
    14   you conducted no analysis seeking to identify   14   such linkage, correct?
    15   any subset of your total MMEs increase that     15            MR. SOBOL: Objection, asked
    16   consists of opioid medications that were part   16       and answered.
    17   of any order that plaintiffs or their experts   17       A. I have not been asked to make
    18   have alleged to be suspicious. You've not       18   any such linkage, and so, therefore, I have
    19   conducted that analysis, correct?               19   not acquired the data or undertaken that
    20       A. I have not conducted an                  20   assignment.
    21   analysis of suspicious orders in -- within      21   BY MR. METZ:
    22   the context of my analysis and any suspicious   22       Q. And for that reason, if not
    23   order analysis.                                 23   others, would you agree with me that it would
    24       Q. And as we discussed a few                24   not be correct to characterize Table 2 as
    25   minutes ago, because your results are based     25   reflecting a percentage of MMEs distributed
   Golkow Litigation Services                                                Page 74 (766 - 769)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further75Confidentiality
                                                         of 95. PageID #: 471297
                                                                             Review
                                             Page 770                                              Page 772
     1   as a result of suspicious orders?                1   been asked to examine that question in any
     2            MR. SOBOL: Objection.                   2   way in my analysis.
     3       A. These are -- oh, as a result of           3       Q. And it follows you've also not
     4   suspicious orders, sorry. It is -- these are     4   looked for empirical evidence of any such
     5   a percentage of MMEs that were distributed as    5   causal relationship, correct?
     6   it were. They reached patients at a pharmacy     6           MR. SOBOL: Objection, asked
     7   as a result of promotional misconduct. I         7       and answered.
     8   have not analyzed suspicious orders. I do        8       A. Yes, I have not -- I have not
     9   not know how those two things would              9   undertaken an analysis of suspicious orders.
    10   intersect. These percentages reflect            10   BY MR. METZ:
    11   promotional impact.                             11       Q. Okay. New topic.
    12            MR. METZ: Thank you. Whoever           12           In paragraph 56 of your report,
    13       is on the phone, if you would hit           13   you -- and I'm reading a truncated version of
    14       mute, please. We're hearing some            14   the quote, but, quote: While documents
    15       background. Thank you.                      15   produced in discovery show many --
    16   BY MR. METZ:                                    16           MR. SOBOL: Wait one second,
    17       Q. Would you agree with me that as          17       please, if it's going to be truncated.
    18   a general proposition, in a regression          18           MR. METZ: Please.
    19   analysis, causality cannot be inferred by       19       A. 56? Yeah.
    20   data analysis alone, rather, one must infer     20           MR. SOBOL: Where are you?
    21   that the causal relationship exists on the      21           THE WITNESS: At the bottom of
    22   basis of an underlying causal theory that       22       page 38?
    23   explains the relationship between the two       23           MR. METZ: I believe so.
    24   variables?                                      24           THE WITNESS: Yes.
    25       A. It sounds like you're reading            25           ///
                                             Page 771                                              Page 773
     1   from a textbook. Generally, causation begins     1   BY MR. METZ:
     2   with an economic theory. I would agree with      2        Q. You state: While documents
     3   the general premise of that statement.           3   produced in discovery show many examples of
     4       Q. And would you also agree that             4   such promotional efforts beyond detailing,
     5   as a general proposition in regression           5   for the purposes of my econometric analysis,
     6   analysis, even when an appropriate theory has    6   I rely on detailing contacts to measure
     7   been identified, causality can never be          7   promotion for several reasons.
     8   inferred directly; one must also look for        8             Do you see that?
     9   empirical evidence that there is a causal        9        A. I do.
    10   relationship?                                   10        Q. Okay. Now, you testified about
    11            MR. SOBOL: Objection, asked            11   this yesterday, but I have a few follow-up
    12       and answered.                               12   questions.
    13       A. I would agree that in general,           13        A. Sure.
    14   economists use both theory and empirical        14        Q. As I understand your testimony
    15   evidence to make causal inferences, yes.        15   and your report, one reason you rely upon
    16   BY MR. METZ:                                    16   detailing is that it's a form of marketing
    17       Q. And consistent with those                17   for which you have enough data to enable you
    18   principles for your work in this matter, you    18   to perform a time series regression; is that
    19   have not posited a causal theory of how your    19   correct?
    20   calculation of the increase in total MMEs       20             MR. SOBOL: Objection.
    21   might be causally related to any alleged        21        A. That is one of the reasons that
    22   suspicious order by distributor defendants,     22   I state in this paragraph, in addition and
    23   correct?                                        23   first and foremost, to it being a very
    24       A. I have not posited a theory              24   important form of marketing, if not the
    25   related to suspicious orders. I have not        25   dominant form of marketing.

   Golkow Litigation Services                                                Page 75 (770 - 773)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further76Confidentiality
                                                         of 95. PageID #: 471298
                                                                             Review
                                              Page 774                                            Page 776
     1   BY MR. METZ:                                     1       A. No, I did not.
     2       Q. Okay. So some of the other                2       Q. With reference to the events
     3   forms of marketing are not systematically        3   flagged in green, what were your criteria for
     4   tracked in data in the same way that the         4   inclusion from among the various events that
     5   detailing is, correct?                           5   were candidates based on those sources?
     6       A. Yes, that's correct.                      6       A. Sure. Again, as I said earlier
     7       Q. And you also believe, do you              7   yesterday, I believe, I sought to describe
     8   not, that -- this is a quote: From an            8   some of the key events that were going on at
     9   econometric standpoint, detailing is a good      9   different stages of the analysis during the
    10   proxy for total promotional effort,             10   time frame, so I was looking to identify
    11   including -- and closed quote -- including      11   events over time.
    12   those other forms of marketing for which        12            In some cases there might be
    13   there's not systematic data, correct?           13   other events that coincide with these same
    14       A. Yes, that's correct.                     14   events. I focused in terms of the events in
    15       Q. All right. Now, in the                   15   green in particular ones that are highlighted
    16   following paragraph, paragraph 57, and then     16   in the complaint and in Dr. Perri's report.
    17   in Figure 5, you identify a series of what      17       Q. Now, in your testimony
    18   are labeled key events that would have          18   yesterday, you were asked about one of these
    19   affected the receptiveness of prescribers and   19   events. It was the consensus statement of
    20   patients to promotional messages about the      20   the American Academy of Pain Management and
    21   safety and effectiveness of opioids.            21   the American Pain Society.
    22            Do you see that?                       22       A. Yes.
    23       A. I do.                                    23       Q. Do you recall that?
    24       Q. Okay. And your understanding             24       A. I do.
    25   is plaintiffs allege that manufacturer          25       Q. And I want to ask a little
                                              Page 775                                            Page 777
     1   defendants were responsible for those key        1   follow-up about your testimony which, based
     2   events?                                          2   on the rough transcript, was in part that
     3       A. As you can see, looking at                3   that consensus statement related to the
     4   Figure 5, the events in red include many         4   undertreatment of pain and the need for more
     5   policy/regulatory events, so the events in       5   attention to the treatment of pain and the
     6   green are ones that are described in             6   effective use of opioids for such treatment.
     7   Dr. Perri's report, among other places.          7            Do you recall that?
     8       Q. Okay. So the answer to my                 8       A. Yes, that was my summary of it.
     9   question would be yes, for the green-flagged     9       Q. And why would that make that
    10   key events?                                     10   event significant?
    11       A. Yes.                                     11       A. I don't know what you mean by
    12       Q. How did you --                           12   why would that summary make it significant.
    13           MR. SOBOL: Or the answer she            13   Again, it's an event that's talked about in
    14       gave.                                       14   Dr. Perri's report and talked about in the
    15   BY MR. METZ:                                    15   complaint.
    16       Q. How did you identify this list           16       Q. This is a -- this is an event
    17   of key events?                                  17   that, based on the information referred to in
    18       A. The list comes from -- there's           18   those places, you were hypothesizing could
    19   an FDA timeline that's available on their       19   have had a causal relationship with the sales
    20   website that is included in my documents        20   of MMEs, correct?
    21   relied upon; the complaint, Dr. Perri's         21       A. That's right. I understand
    22   report. It's an aggregation of all those        22   that Dr. Perri's opinion and plaintiffs
    23   places.                                         23   intend to prove that these kinds of
    24       Q. Okay. Did you include every              24   professional society recommendations were
    25   event that's listed in those sources?           25   manipulated by defendants.
   Golkow Litigation Services                                                Page 76 (774 - 777)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further77Confidentiality
                                                         of 95. PageID #: 471299
                                                                             Review
                                              Page 778                                             Page 780
     1       Q. Okay. And one of the reasons              1   including the VA.
     2   why that statement as you described it           2        Q. Okay. And as you say
     3   yesterday would be hypothesized to have a        3   "defendants" in that testimony, you mean
     4   causal influence is it referred to the notion    4   marketing defendants?
     5   that there's an undertreatment of pain,          5        A. Yes, marketing defendants.
     6   correct?                                         6        Q. Do you recall anything else
     7       A. Yes.                                      7   about the VA's message other than it was
     8       Q. And another of the reasons was            8   around a need to more closely monitor and
     9   because it referred to the notion that           9   treat pain?
    10   opioids could be effective treatment for such   10        A. I don't recall all the details
    11   pain, correct?                                  11   of it. I believe it's cited in my documents,
    12       A. That's correct.                          12   so we could pull it up.
    13       Q. Does the reputation of these             13        Q. Okay. But it is, as you recall
    14   two bodies play a role in its being             14   it, thematically consistent with the previous
    15   considered a key event?                         15   document in that it identified a need to have
    16       A. Again, for my purposes, it's a           16   more expansive treatment of pain and
    17   notable event because it is featured in         17   identified opioids as one way of doing that?
    18   Dr. Perri's analysis and others, and I'm        18        A. Yes. And I think what it
    19   using Figure 5 to talk about particularly the   19   became known for was this notion of the fifth
    20   nonmarketing mechanisms that were allegedly     20   vital sign.
    21   part of the overall effort to grow the market   21        Q. That pain is the fifth vital
    22   for opioids.                                    22   sign?
    23            So the reputation of the               23        A. That's correct.
    24   professional societies is likely a reason for   24        Q. Okay. And again, in the
    25   which the marketing defendants allegedly        25   language we were referring to a few minutes
                                              Page 779                                             Page 781
     1   influenced those -- that consensus statement     1   before, you had a causal theory that a
     2   and those guidelines because that is an          2   publication like that by an organization like
     3   effective way of delivering their message.       3   the VA could have been causally related to
     4       Q. Now, looking again at Figure 5,           4   the sale of opioids, correct?
     5   I see you have it in front of you, another of    5       A. Yes. I believe that's what I
     6   the key events that's flagged reads capital      6   describe in my report, that all of these
     7   V, cap A, "Pain as 5th Vital Sign."              7   events collectively created an environment in
     8            Do you see that?                        8   which physicians were more receptive to
     9       A. I do.                                     9   pharmaceutical marketing.
    10       Q. Do you have an understanding of          10       Q. And because it's flagged in
    11   what that's referring to?                       11   green, the causal theory is that it would be
    12       A. It was a VA statement, again,            12   positively correlated with sales, correct?
    13   around the need to more closely monitor and     13       A. That was my causal theory, yes.
    14   treat pain.                                     14       Q. And so can we look at Table 1
    15       Q. And the VA that you're                   15   in your report, which is the --
    16   referencing there is the U.S. Department of     16       A. Regression results.
    17   Veteran Affairs?                                17       Q. Well, it's the output from your
    18       A. It is.                                   18   direct regression.
    19       Q. And why would that be                    19       A. Yes.
    20   significant?                                    20            MR. SOBOL: Do you have a page?
    21       A. Again, this is something that            21            MR. METZ: I do.
    22   is described in Dr. Perri's report and is       22            THE WITNESS: 47.
    23   another example of the way defendants'          23            MR. SOBOL: Thank you.
    24   message was legitimized through the             24   BY MR. METZ:
    25   activities of other stakeholder groups,         25       Q. And you testified about this
   Golkow Litigation Services                                                Page 77 (778 - 781)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further78Confidentiality
                                                         of 95. PageID #: 471300
                                                                             Review
                                              Page 782                                            Page 784
     1   yesterday and over the course of today, and      1   an event based on their timing. They are
     2   I'm just going to reference a couple of          2   not -- they don't reflect a quantum, other
     3   things to orient us and then I have some         3   than existence, and so hence, the name dummy
     4   follow-up questions.                             4   variable.
     5            In your Model B, as you've              5   BY MR. METZ:
     6   testified, you do not include a variable for     6       Q. Okay.
     7   marketing conduct other than -- other than       7       A. But they are still intended to
     8   detailing; isn't that correct?                   8   capture some kind of timing.
     9       A. The variable that I included in           9       Q. They're intended to capture
    10   my model is detailing, the stock of             10   the -- an effect that's occurring with that
    11   detailing, yes.                                 11   time and an effect that may be correlated
    12       Q. Okay. And your findings based            12   with the variable of interest, correct?
    13   on that model purport to explain more than      13       A. Yes, an effect on the variable
    14   99% of the variation in total MMEs, correct?    14   of interest.
    15       A. Based on this model, which also          15       Q. Okay. And so it's in contrast
    16   includes the price index, yes.                  16   with, for example, your detailing data, which
    17       Q. Okay. And that 99% is based on           17   is populated by data that changes month to
    18   the R-squared statistic, correct?               18   month. A dummy variable, especially as
    19       A. Yes.                                     19   you've used it, has two settings, correct?
    20       Q. And then in your Model C, you            20       A. A dummy variable, as anyone
    21   include five additional dummy variables to      21   would use it, as it's defined, is either a
    22   test for whether specific events from your      22   one or a zero. They're very commonly used in
    23   Figure 5 are having an influence on total       23   regression analysis, as you may know.
    24   MMEs, correct?                                  24       Q. I know.
    25       A. That's correct.                          25            And so -- and you described
                                              Page 783                                            Page 785
     1        Q. And you talk about that a                1   this in paragraph 73. In your model you have
     2   little in paragraph 73 of your report?           2   a series of months where the dummy variable's
     3        A. Yes.                                     3   value or the value of the data associated
     4        Q. And in -- as you disclose                4   with it is zero, correct?
     5   there, in your -- and as reflected, I think,     5        A. That's correct.
     6   in Table 1, when you ran the model, including    6        Q. And at a point in time that you
     7   those five dummy variables, you found that       7   determine for purposes of trying to capture
     8   two of them were statistically significant at    8   the effects of some event of interest, you
     9   the 5% level, correct?                           9   changed that value from zero to one, correct?
    10        A. That's correct.                         10        A. That's correct.
    11        Q. One is what you've titled the           11        Q. And in your model you leave it
    12   1999 Federation of State Medical Boards Model   12   turned on as it were --
    13   Guidelines dummy variable, correct?             13        A. Yes.
    14        A. Yes.                                    14        Q. -- from then to the end of your
    15        Q. And the other is the                    15   data series, correct?
    16   rescheduling of hydrocodone, correct?           16        A. True.
    17        A. That's correct.                         17        Q. And that's not an automatic
    18        Q. Now, you've assigned names to           18   design feature one could turn a dummy
    19   these dummy variables, but wouldn't you agree   19   variable on and off, correct?
    20   that by definition, a dummy variable is not     20        A. You can do whatever you like,
    21   actually testing for the influence of the       21   of course, but for the most part, when we
    22   specific event described in its name?           22   think about something that is released, that
    23             MR. SOBOL: Objection.                 23   it's on and that it stays on. Unless, for
    24        A. Well, I'm not sure I would              24   example, there was a policy that was then
    25   agree with that. They're intended to capture    25   reversed and then it would make sense to turn

   Golkow Litigation Services                                                Page 78 (782 - 785)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further79Confidentiality
                                                         of 95. PageID #: 471301
                                                                             Review
                                              Page 786                                             Page 788
     1   it off.                                          1   robustness test purpose.
     2        Q. Right. So I understand that              2             The purpose of a robustness
     3   you selected the timing of these dummy           3   test is to see the extent to which the
     4   variables based on their proximity to the        4   results of a regression model are sensitive
     5   events after which they're named, correct?       5   to changes in the underlying assumptions of
     6        A. Yes.                                     6   that model; is that correct?
     7        Q. But to be precise, regardless            7       A. Yes.
     8   of the names, what they're capturing are         8       Q. And you agree that robustness
     9   changes in the dependent variable, which in      9   is important to the validity of a regression
    10   this case are the total MMEs, that are          10   model and its interpreted results?
    11   correlated with influences existing at the      11             MR. SOBOL: Objection, form.
    12   time the dummy variable is turned on,           12       A. It's one way that we look at
    13   correct?                                        13   the validity of the model.
    14            MR. SOBOL: Objection, form.            14   BY MR. METZ:
    15        A. Yes, they are capturing any             15       Q. And so specifically here, to
    16   shift that occurred around that time.           16   the extent your purpose was a robustness
    17   BY MR. METZ:                                    17   test, you were testing the assumption -- and
    18        Q. And if there are multiple               18   I'm quoting again from paragraph 73 -- the
    19   events around that same time that are           19   validity of the assumption that, quote,
    20   correlated with the explanatory variable in a   20   Model B implicitly accounts for non-detailing
    21   similar way, the dummy variable will pick up    21   events and policies, closed quote, correct?
    22   their collective influence, correct?            22       A. Yes.
    23        A. Yes. I believe I said the same          23       Q. And you tested that by
    24   thing when I explained why ultimately I do      24   examining whether indicators of specific
    25   not use Model C.                                25   events and policies should be explicitly
                                              Page 787                                             Page 789
     1        Q. And you originally created               1   included in the model, correct?
     2   Model C as a robustness test, correct?           2       A. Yes.
     3        A. It is a check on Model B to              3       Q. Now, when you originally
     4   see, well, we had these events, if we picked     4   disclosed your report, you concluded that
     5   the ones that we think are important, do we      5   jointly all five events are not statistically
     6   see any shift around that time period.           6   different from zero, correct?
     7             So it's a check in that sense,         7            MR. SOBOL: Objection.
     8   and it seems to me based on the results that     8       A. Yes, that was -- it was -- the
     9   it's not a sensible direction to go.             9   wrong test was referenced when the write-up
    10        Q. Well, maybe my question is              10   was, although the right test was included in
    11   meant to be -- I meant it to be a little bit    11   the results, but I was looking at the wrong
    12   simpler.                                        12   test when I summarized that.
    13             You designed Model C as a test        13   BY MR. METZ:
    14   of the robustness of Model B, rather than       14       Q. Okay. And so just to hone in
    15   running that as a fully formed model. Isn't     15   on the particular language that's used in
    16   that what you say in your report?               16   your report, when you say jointly, all five
    17             MR. SOBOL: Objection, asked           17   events are not statistically different from
    18        and answered.                              18   zero, based on the discussion we had a minute
    19        A. I describe it in that way as            19   ago, you mean the five dummy variables named
    20   well, and in doing so, I look at Model C on     20   after events as listed in Table 1 were not
    21   its own merits as well.                         21   statistically different from zero as stated
    22   BY MR. METZ:                                    22   in your report originally?
    23        Q. Okay. And the purpose -- so             23            MR. SOBOL: Objection. Well,
    24   leaving aside your valuation of the merits of   24       you want her to testify on the basis
    25   Model C on its own, I want to focus on the      25       before the errata?

   Golkow Litigation Services                                                Page 79 (786 - 789)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further80Confidentiality
                                                         of 95. PageID #: 471302
                                                                             Review
                                              Page 790                                             Page 792
     1            MR. METZ: I'd like her to               1   that's actually going on at that place, just
     2       answer my question. But she's doing a        2   not one that you had hypothesized?
     3       fine job. If you don't understand my         3            MR. SOBOL: Objection, form,
     4       question, I'm happy to clarify.              4       asked and answered.
     5       A. No, I think you just said                 5       A. Yes, it is possible that it is
     6   something that would be -- I understand is       6   appropriately capturing something.
     7   accessible, but it would be a strange way to     7   BY MR. METZ:
     8   describe the results.                            8       Q. Okay. And that was one of two
     9            So I say that the dummies are           9   events that you found that individually was
    10   or aren't significant, so I'm inferring from    10   statistically significant at the 5% level,
    11   the dummy variables what I can learn about      11   correct?
    12   modeling those events in that on/off way.       12       A. That's correct.
    13   BY MR. METZ:                                    13       Q. And you also, as you now
    14       Q. Well, if I -- if we took the             14   disclosed in your errata, you also found that
    15   sentence that's in your report that I quoted,   15   jointly, all five events are statistically
    16   the one beginning "jointly," and replaced the   16   different from zero, correct?
    17   word "events" with "dummies," would it cease    17       A. That's correct.
    18   to be accurate?                                 18       Q. Okay. And returning to the
    19       A. It would not. I'm just saying            19   robustness test purpose of creating Model C
    20   it would not be unusual for someone to          20   in the first place, that shows, does it not,
    21   describe their statistical results using        21   that your Model B is sensitive to some events
    22   dummy variables based on what the dummy         22   outside the construct of Model B that are
    23   variables are intended to represent.            23   being captured by those dummy variables?
    24       Q. Okay. And one of the reasons             24            MR. SOBOL: Objection.
    25   you've given for rejecting Model C was you      25       A. I would disagree. If you
                                              Page 791                                             Page 793
     1   found a counterintuitive result for your         1   look -- if we go to look at the charts and
     2   hydrocodone event, correct?                      2   you look at the extent to which my
     3             MR. SOBOL: Objection.                  3   predictions changed, they hardly change at
     4       A. I gave that reason in addition            4   all. The coefficients on the variables of
     5   to the fact that it does not fundamentally       5   interest, they hardly change at all.
     6   change my results.                               6   BY MR. METZ:
     7   BY MR. METZ:                                     7        Q. Well --
     8       Q. Okay. But that was one of your            8        A. The results are virtually the
     9   reasons?                                         9   same.
    10       A. That's correct.                          10        Q. Your coefficient for -- you
    11       Q. And because it's a dummy                 11   have three time period coefficients for the
    12   variable, that result may not be                12   detailing variable, correct?
    13   counterintuitive. It may be capturing an        13        A. That's correct.
    14   effect other than hydrocodone, correct?         14        Q. And as you've discussed, you
    15             MR. SOBOL: Objection.                 15   also construct the detailing variable
    16       A. Again, it's counterintuitive             16   differently in the different periods,
    17   based on the event I put the dummy variable     17   correct?
    18   in to model, and like you, I wonder if it's     18        A. We discussed that. We can go
    19   capturing something else.                       19   over it again, but yes.
    20   BY MR. METZ:                                    20        Q. I'm just referencing that.
    21       Q. Okay. It would be contrary to            21        A. Yes, let's reference that.
    22   your expectations for why you put a dummy       22        Q. All right. The first time
    23   there in the first place and why you named it   23   period detailing variable changes from
    24   the way you did. But that doesn't rule out      24   Model B to Model C, does it not?
    25   that it's accurately measuring some event       25        A. It changes a small bit, but
   Golkow Litigation Services                                                Page 80 (790 - 793)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further81Confidentiality
                                                         of 95. PageID #: 471303
                                                                             Review
                                              Page 794                                             Page 796
     1   again, if you look at the predictions of         1   and the third coefficient is the same.
     2   actual versus but-for, the differences are       2       Q. Now, you've said many times
     3   minute.                                          3   that it is a small decrease, but a couple of
     4        Q. I'll get to that in a second.            4   follow-ups about that.
     5             It changes, yes?                       5             Is it standard practice in
     6             MR. SOBOL: Well, no,                   6   econometrics to actually make qualitative
     7        objection. She answered the question.       7   judgments about the differences between
     8             MR. METZ: Fair enough.                 8   coefficients based solely on their numeric
     9             THE WITNESS: In my opinion --          9   values?
    10   BY MR. METZ:                                    10             MR. SOBOL: Objection.
    11        Q. I'll ask a different question.          11       A. I do not include a conclusion
    12        A. Okay.                                   12   about the quantitative difference between
    13        Q. Specifically, it changed by             13   these coefficients. I explain my reasons for
    14   reporting a lower value in Model C for that     14   selecting Model B, and we've talked about
    15   coefficient as compared to Model B.             15   them. In terms of the results of Model C,
    16             MR. SOBOL: Objection, asked           16   not based on the magnitude of that
    17        and answered.                              17   difference.
    18        A. The coefficient is lower, yes.          18             Had there been a larger
    19   BY MR. METZ:                                    19   magnitude of difference, I might have
    20        Q. And the interpretation of that          20   considered the challenges with Model C
    21   is that in that Model C, when you include       21   differently.
    22   these dummy variables, some amount of the --    22   BY MR. METZ:
    23   what had previously been reported as the        23       Q. I'm asking a simpler question,
    24   influence of the detailing is now being no      24   which is: To an econometrician, do the --
    25   longer reported as the influence of the         25   what I'll call the real numbers -- so not
                                              Page 795                                             Page 797
     1   detailing, and it is being ascribed to one or    1   their weighted or contextualized or --
     2   more of the dummy variables. Yes?                2   versions, but just the pure number, comparing
     3            MR. SOBOL: Objection.                   3   coefficients, coefficient A to coefficient B,
     4        A. There is some quantum. It is a           4   based solely on the number associated with
     5   very small difference. In my view, given the     5   them, is that a comparison that
     6   limitations of Model C and given the fact the    6   econometricians would typically make when
     7   results are different by such a small amount,    7   evaluating the significance of a change?
     8   Model B is preferred.                            8            MR. SOBOL: Objection, asked
     9   BY MR. METZ:                                     9       and answered, form.
    10        Q. Okay. And you have a second             10       A. I -- economists,
    11   period in which you report the detailing        11   econometricians, almost always make
    12   variable, and the coefficient on that           12   qualitative judgments about models because of
    13   variable also changes from Model B to           13   course there's part of it that is based on
    14   Model C, correct?                               14   theory as we've described.
    15        A. Yes, they do. The point                 15            So might an econometrician make
    16   estimates are different.                        16   a quantitative analysis? Maybe. She might
    17        Q. Okay. And they change in the            17   also make qualitative judgments about which
    18   same direction in that, again, the detailing    18   model is preferred. Not everything can be
    19   is credited with less of an influence, and --   19   described quantitatively.
    20        A. I'd actually have to look.              20            If I wanted to know exactly how
    21        Q. -- some of that influence is            21   different these models are, I could make that
    22   credited instead to the dummy variables,        22   quantitative comparison. I was not
    23   correct?                                        23   attempting to do that here.
    24        A. There's -- you're right. There          24   BY MR. METZ:
    25   is a small decrease in the second coefficient   25       Q. I'm just referring back to

   Golkow Litigation Services                                                Page 81 (794 - 797)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further82Confidentiality
                                                         of 95. PageID #: 471304
                                                                             Review
                                              Page 798                                            Page 800
     1   where in response to my questions you kept       1   as small, are the result of five dummy
     2   saying the difference was small.                 2   variables you included as a singular
     3            And so as further explanation           3   robustness test, not a comprehensively
     4   on that, in comparing coefficients, don't you    4   designed model attempting to comprehensively
     5   also need to know the scale against which        5   control for these kinds of external events,
     6   they're being measured?                          6   correct?
     7            MR. SOBOL: Objection, asked             7            MR. SOBOL: Objection, form,
     8       and answered.                                8       asked and answered, mischaracterizes
     9   BY MR. METZ:                                     9       prior testimony.
    10       Q. If you're comparing just the             10       A. As I described yesterday, and I
    11   real numbers, you need to know the scale to     11   would restate now, given the performance of
    12   which those correspond, correct?                12   these selected dummy variables, given the
    13            MR. SOBOL: Objection, asked            13   adjusted R-squared of the model, the notion
    14       and answered, mischaracterizes prior        14   that adding all of the events would improve
    15       testimony.                                  15   the performance of the model makes little
    16       A. Yes, and the scale is evident            16   sense to me. And that is why I did not run a
    17   here, and again, if we go to the predicted      17   model with every dummy variable in it.
    18   values, the scale is evident there as well.     18   BY MR. METZ:
    19   BY MR. METZ:                                    19       Q. Well, after running a model
    20       Q. Did you not testify repeatedly           20   with dummy variables, two of which
    21   yesterday that the reason it doesn't matter     21   individually were statistically significant,
    22   that you have an inflationary depreciation      22   and the five of which were collectively
    23   rate is because all that that does is it gets   23   statistically significant, you did not
    24   caught up in muting the impact of the           24   attempt to construct a further model with
    25   coefficients on the particular variables at     25   more dummy variables to see whether or not
                                              Page 799                                            Page 801
     1   the particular times that they're measured?      1   that had a greater impact on your measure of
     2            MR. SOBOL: Objection, asked             2   the relationship between detailing and MMEs,
     3       and answered.                                3   did you?
     4   BY MR. METZ:                                     4            MR. SOBOL: Objection.
     5       Q. Didn't you testify to that?               5       A. Having run Model C and
     6            MR. SOBOL: Objection, form,             6   comparing the results to Model B, I deemed
     7       asked and answered.                          7   that it would not be fruitful to add further
     8       A. I don't believe that I stated             8   dummy variables and run a more expansive
     9   that in the way that you have. All I said is     9   version of Model C.
    10   that the fact that promotional stock inflates   10   BY MR. METZ:
    11   doesn't necessarily mean that the effect has    11       Q. Do you agree that as a general
    12   to inflate in the same way because the          12   matter in regression analysis failure to
    13   measured promotional effectiveness, as we see   13   include a major explanatory variable that is
    14   in both of these models, I find it decreasing   14   correlated with the variable of interest in
    15   over time, and that counteracts.                15   the regression model may cause an included
    16            I didn't say it doesn't -- it          16   variable to be credited within an effect that
    17   doesn't have any effect. I'm just saying        17   actually is caused by the excluded variable?
    18   that the effect of the misconduct is a          18       A. As we discussed earlier today,
    19   function both of the magnitude of the stock     19   that notion which you just describe of
    20   and of the promotional effectiveness.           20   omitted variable bias is a factor in any
    21   BY MR. METZ:                                    21   analysis, and there are constraints on how
    22       Q. And also in reference to your            22   many variables one can include in an
    23   answers to me that these changes don't matter   23   analysis.
    24   because the effect was small, it's also the     24            So while it's always going to
    25   case that those changes, as you characterized   25   be true that there is a possibility of
   Golkow Litigation Services                                                Page 82 (798 - 801)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further83Confidentiality
                                                         of 95. PageID #: 471305
                                                                             Review
                                              Page 802                                            Page 804
     1   omitted variable bias, it's my opinion that      1   compared to Model C, again, has qualitatively
     2   including more of these event variables in       2   similar promotional effects that adding
     3   the model would not improve the performance      3   further dummy variables would simply
     4   of the model.                                    4   interfere with the meaning of the dummy
     5       Q. You mentioned the word                    5   variables that are already in them. They
     6   "constraint" in that answer. And in previous     6   would be impossible to differentiate.
     7   testimony you've mentioned a term called         7   BY MR. METZ:
     8   "degrees of freedom."                            8       Q. What's the basis for your
     9       A. Yes.                                      9   statement that would likely be the
    10       Q. Can you explain what degrees of          10   consequence of adding additional dummy
    11   freedom are as related to a constraint on the   11   variables?
    12   number of variables that can be included in a   12       A. Just we talked before that
    13   model?                                          13   these dummy variables are zero until they
    14       A. It has to do with the number of          14   turn on and one after, and if we add one
    15   observations and the number of included         15   every six months, then we have a whole lot of
    16   variables. It also has to do with the           16   vectors that are zero. You know, sort of in
    17   correlation in these data, so as we add more    17   a staggered way, they're going to be highly
    18   and more dummy variables, the chances that we   18   correlated.
    19   get colinearity are higher.                     19       Q. And nonetheless, you did not
    20       Q. And degree of freedom refers in          20   test whether that would be the outcome of
    21   part to a point beyond which there's            21   adding additional dummy variables or other
    22   insufficient data to account for the number     22   explanatory variables, correct?
    23   of permutations that more and more variables    23       A. I did not consider adding other
    24   will introduce into the model; is that fair?    24   dummy variables.
    25       A. In effect, it makes it                   25       Q. Okay. And there are
                                              Page 803                                            Page 805
     1   impossible to estimate the model.                1   conceivably other variables that are not
     2       Q. Okay. Did you have adequate               2   dummy variables that one could add to test
     3   data to add additional dummy variables beyond    3   for the presence of additional factors,
     4   the five you included without running into       4   correct?
     5   the limit imposed by however many degrees of     5            MR. SOBOL: Objection.
     6   freedom you had?                                 6       A. I include the standard factors
     7             MR. SOBOL: Objection, assumes          7   that are included in an aggregate time series
     8       a fact not in evidence.                      8   analysis of pharmaceutical promotion, which
     9       A. I have adequate data in terms             9   are -- I'm sorry, of pharmaceutical sales,
    10   of degrees of freedom. In terms of concerns     10   which are promotion and price.
    11   about adding more dummy variables and having    11   BY MR. METZ:
    12   them be correlated with one another to the      12       Q. Okay. But there are -- in any
    13   point where I'm getting results like the ones   13   regression, one of the tasks is to
    14   I can see in Model C, where the coefficients    14   hypothesize as to other conduct that could
    15   are clearly picking up something different,     15   affect the variable of interest, and where
    16   that is the concern.                            16   available, to include data that would capture
    17   BY MR. METZ:                                    17   that conduct, correct?
    18       Q. So if I understand, your                 18            MR. SOBOL: Objection, asked
    19   concern is that had you inquired further, you   19       and answered.
    20   might have found nonsensical results?           20       A. Starting with the theory of
    21             MR. SOBOL: Objection,                 21   demand for pharmaceuticals, I've constructed
    22       mischaracterizes the testimony.             22   this model, including the most important
    23       A. My concern is that adding dummy          23   variables, and again, one does not -- a
    24   variables would likely just make the other      24   well-constructed model focuses on the most
    25   dummy variables nonsensical, whereas Model B    25   important variables.
   Golkow Litigation Services                                                Page 83 (802 - 805)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further84Confidentiality
                                                         of 95. PageID #: 471306
                                                                             Review
                                              Page 806                                            Page 808
     1            This model using price and              1   own report was finalized?
     2   promotion is the same as models that I have      2       A. I don't know what you mean by
     3   used in similar instances, and it's very         3   significantly.
     4   similar to the models in Berndt, except that     4       Q. Well, in time to adequately
     5   those are at product level, but they also        5   evaluate whether the events described there
     6   focus on price and promotion.                    6   were the key events you should be attempting
     7            So in a time series context,            7   to model for?
     8   there aren't a lot of other variables that       8       A. Yes, I did.
     9   you could even imagine would be included, and    9       Q. How many days in advance?
    10   in my opinion, price and promotion are the      10            MR. SOBOL: Objection.
    11   key variables here.                             11       A. I can't say. I can't say for
    12   BY MR. METZ:                                    12   sure when I saw that, but I obtained the
    13       Q. Did you spend any significant            13   information from Dr. Perri's report as I was
    14   time in contemplative thought trying to         14   putting together my model.
    15   imagine additional variables to include in      15   BY MR. METZ:
    16   your model beyond the ones you included?        16       Q. Okay. Was it time adequate
    17            MR. SOBOL: Objection, asked            17   that when you ran your Model C and two of the
    18       and answered.                               18   dummy variables came back individually
    19       A. I've spent 300 hours in                  19   significant and the five collectively came
    20   developing the analyses that are in my          20   back significant, did you then have time to
    21   report. I spent considerable time thinking      21   consider and design and implement and still
    22   about this model, and it wasn't the first       22   disclose on time another model with better
    23   time that I had thought about such analyses,    23   dummy variables?
    24   as you know.                                    24       A. The --
    25            ///                                    25            MR. SOBOL: Objection to
                                              Page 807                                            Page 809
     1   BY MR. METZ:                                     1       "better."
     2        Q. Now, did you -- within those             2       A. Time was not the issue here. I
     3   300 hours, did you spend any significant time    3   decided not to run a model with more dummy
     4   seeking to identify the key events that          4   variables.
     5   should be attempted to be replicated with the    5   BY MR. METZ:
     6   dummy variables you ended up using?              6       Q. Okay. I'm going to hand you
     7             MR. SOBOL: Objection, asked            7   what we're marking as Exhibit 29.
     8        and answered.                               8            (Whereupon, Deposition Exhibit
     9        A. Yes, you can see in my report            9       Rosenthal-29, Joint Statement,
    10   that I culled those events again from various   10       Promoting Pain Relief and Preventing
    11   sources.                                        11       Abuse of Pain Medications: A Critical
    12   BY MR. METZ:                                    12       Balancing Act, was marked for
    13        Q. Yes, and when I asked you about         13       identification.)
    14   it, the answer you gave to me was that you      14   BY MR. METZ:
    15   looked at the expert report of Dr. Perri.       15       Q. Have you seen Exhibit 29
    16        A. Yes.                                    16   previously?
    17        Q. You looked at the plaintiffs'           17       A. I believe so, yes.
    18   complaint.                                      18       Q. What is it?
    19        A. Yes.                                    19       A. I'm actually looking for the
    20        Q. And you looked at one timeline          20   date on it. Does it have a date?
    21   on the website, I believe of the FDA?           21       Q. Well, I can represent to you
    22        A. The FDA timeline. Those are             22   that the particular version you're holding
    23   the primary sources, yes.                       23   was pulled from an Internet archive that
    24        Q. Okay. Now, did you see                  24   dates it as of a date that it was on the
    25   Dr. Perri's report significantly before your    25   Internet, which may not be the first date it
   Golkow Litigation Services                                                Page 84 (806 - 809)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further85Confidentiality
                                                         of 95. PageID #: 471307
                                                                             Review
                                              Page 810                                             Page 812
     1   was on the Internet.                             1   Promoting Pain Relief and Preventing Abuse of
     2       A. I see.                                    2   Pain Medications: A Critical Balancing Act.
     3       Q. And in the top right corner it            3             Do you see that?
     4   dates it as November 27, 2001.                   4       A. I do.
     5       A. I think is the -- it's the                5       Q. Okay. And since you've not
     6   joint statement on promoting pain relief and     6   seen this before, I just want to read some of
     7   preventing abuse of pain medications, but,       7   the included terms. It begins: As
     8   sorry, what date did you think it was            8   representatives of the healthcare community
     9   actually from?                                   9   and law enforcement, we're working together
    10       Q. Well, the date that this                 10   to prevent abuse of prescription pain
    11   particular copy is from --                      11   medications while ensuring that they remain
    12       A. Right.                                   12   available for patients in need.
    13       Q. -- is November of 2001.                  13             Do you see that?
    14       A. So it came out sometime before           14       A. Yes.
    15   that.                                           15       Q. And then skipping over a
    16       Q. The date it was pulled on the            16   paragraph, the next one down, it says:
    17   Internet. I can't represent to you what date    17   Preventing drug abuse is an important
    18   exactly it was, although I believe it to be a   18   societal goal, but there is consensus by law
    19   somewhat consistent time to what's reflected    19   enforcement agencies, healthcare
    20   here, but I can't represent that to you.        20   practitioners and patient advocates alike
    21       A. Yes, I'm not sure if I have              21   that it should not hinder patients' ability
    22   seen this specific document.                    22   to receive the care they need and deserve.
    23       Q. Okay. And do you believe in              23             Do you see that?
    24   looking at your Figure 5 that this is one of    24       A. I do.
    25   the event -- the key events dated on your       25       Q. And then it says: This
                                              Page 811                                             Page 813
     1   timeline?                                        1   consensus statement is necessary based on the
     2       A. I'd have to look.                         2   following facts.
     3            MR. SOBOL: Objection.                   3            First bullet: Undertreatment
     4       A. I just need to go back and                4   of pain is a serious problem in the United
     5   find --                                          5   States, including pain among patients with
     6   BY MR. METZ:                                     6   chronic conditions and those who are
     7       Q. I think Figure 5 is on page 41.           7   critically ill or near death. Effective pain
     8       A. Thank you. I must have blown              8   management is an integral and important
     9   past it.                                         9   aspect of quality medical care and pain
    10            I don't believe that this is           10   should be treated aggressively.
    11   part of it. I was thinking of the consensus     11            Do you see that?
    12   statement. But I think this joint statement     12        A. I do.
    13   is something different, but --                  13        Q. And then the next bullet says:
    14       Q. Okay.                                    14   For many patients, opioid analgesics, when
    15       A. It's certainly labeled                   15   used as recommended by established pain
    16   something different.                            16   management guidelines, are the most effective
    17       Q. So to your knowledge, you have           17   way to treat their pain and often the only
    18   not seen this previously; is that correct?      18   treatment option that provides significant
    19       A. To my knowledge, no.                     19   relief.
    20       Q. All right. It's titled A Joint           20            Do you see that?
    21   Statement from 21 Health Organizations and      21        A. I do.
    22   the Drug Enforcement Administration.            22        Q. And would you agree with me
    23            Do you see that?                       23   that shares some of the characteristics of
    24       A. I do.                                    24   the statement you testified about earlier as
    25       Q. And the title beneath that is            25   well as yesterday, the joint statement?

   Golkow Litigation Services                                                Page 85 (810 - 813)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further86Confidentiality
                                                         of 95. PageID #: 471308
                                                                             Review
                                              Page 814                                            Page 816
     1            MR. SOBOL: Objection, beyond            1             MR. SOBOL: Okay. So
     2       the scope.                                   2        objection, mischaracterizes her prior
     3       A. Are you referring to --                   3        testimony, and form.
     4            MR. METZ: Beyond the scope of           4        A. I recall the discussion where I
     5       what?                                        5   said that I believed one of the reasons that
     6            MR. SOBOL: Beyond the scope of          6   pharmaceutical manufacturers might seek to
     7       her opinions. You've got a document.         7   influence such statements is because the
     8            MR. METZ: That's the point.             8   reputation of professional societies may
     9            MR. SOBOL: You've got a                 9   legitimize their activity.
    10       document before her that she says she       10   BY MR. METZ:
    11       hasn't seen before.                         11        Q. Okay. And you would agree with
    12            MR. METZ: Okay. Thank you.             12   that the -- as a general matter, the Drug
    13            MR. SOBOL: And you're asking           13   Enforcement Administration is a reputable
    14       her then to, so far, just read it with      14   organization on matters pertaining to the
    15       you, and now you've asked her to            15   legitimate use of controlled substances?
    16       compare a document that she hasn't          16             MR. SOBOL: Objection, scope of
    17       seen to a document that is referenced       17        her opinion.
    18       in her report, right? So that's             18        A. I understand that the Drug
    19       beyond the scope of her opinion.            19   Enforcement Administration is the federal
    20   BY MR. METZ:                                    20   agency responsible for enforcing laws that
    21       Q. Would you agree with me that             21   pertain to controlled substances. I don't
    22   this document and the portions I just read in   22   know -- I guess I don't know "reputable."
    23   particular share some of the characteristics    23   I'm not an expert on the DEA. I don't really
    24   that you identified about the joint statement   24   know its reputation. I certainly know what
    25   that you testified about earlier today in       25   its function is.
                                              Page 815                                            Page 817
     1   answer to my questions as well as yesterday?     1   BY MR. METZ:
     2             MR. SOBOL: Objection, form and         2       Q. You think the DEA might be
     3        beyond the scope.                           3   disreputable on the subject of legitimate
     4        A. Yesterday and today we talked            4   uses of controlled substances?
     5   about the American Academy of Pain Management    5            MR. SOBOL: Objection, scope,
     6   and American Pain Society consensus              6       form.
     7   statement, and how it describes pain as being    7       A. I'm just saying I don't know
     8   undertreated and the utility of opioid           8   the DEA's reputation. I know its purpose is
     9   treatment.                                       9   to regulate controlled substances.
    10             So in that sense, I can read          10   BY MR. METZ:
    11   here that this statement also describes pain    11       Q. As an economist forming
    12   as undertreated and opioid analgesics as an     12   hypotheses --
    13   effective treatment.                            13            MR. SOBOL: Wait a second. Are
    14   BY MR. METZ:                                    14       you done with this exhibit?
    15        Q. And we discussed as well the --         15            MR. METZ: I haven't marked a
    16   at least the potential that the reputations     16       new one. Is there a reason for
    17   of the bodies making those statements would     17       interrupting me?
    18   be part of what made that -- a statement like   18            MR. SOBOL: Yes. I want to
    19   that significant.                               19       know if you were done with this
    20             Do you recall discussing that         20       exhibit.
    21   with me?                                        21            MR. METZ: For what purpose?
    22             MR. SOBOL: Objection. Is the          22       If you want -- I've set mine aside.
    23        question -- no --                          23       If you'd like to set yours aside, set
    24             MR. METZ: The question is if          24       it aside, but I don't see the purpose
    25        she recalls the testimony.                 25       for interrupting me.
   Golkow Litigation Services                                                Page 86 (814 - 817)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further87Confidentiality
                                                         of 95. PageID #: 471309
                                                                             Review
                                              Page 818                                             Page 820
     1             MR. SOBOL: Okay. You've asked          1   BY MR. METZ:
     2        to set it aside. I move to strike all       2       Q. Well, that's the hypothesis
     3        the questions regarding the exhibit         3   described in paragraph 73 that Model C was
     4        because they do not relate to the           4   intended to test, correct?
     5        report and she has not seen the             5            MR. SOBOL: Objection,
     6        exhibit before.                             6       misrepresent -- mischaracterizes the
     7             MR. METZ: Well --                      7       testimony.
     8             MR. SOBOL: Go ahead.                   8       A. My hypothesis is that these
     9             MR. METZ: -- that's the point          9   events early and late affected promotional
    10        in cross-examining an expert on the        10   effectiveness. Model C is a particular way
    11        sufficiency of her inquiry is to test      11   of testing them, which has the limitations of
    12        her on things that she might not have      12   involving a large number of dummy variables.
    13        inquired about or seen, perhaps            13            I conclude that those dummy
    14        because Dr. Perri didn't flag them for     14   variables do not qualitatively affect my
    15        her.                                       15   results, and we can go back to that
    16   BY MR. METZ:                                    16   discussion if you want, but that was my
    17        Q. The question I was going to ask         17   conclusion.
    18   you is: An economist, hypothesizing the key     18   BY MR. METZ:
    19   events that might be causally related to the    19       Q. Yeah.
    20   sale of MMEs, and bearing in mind that you      20       A. And that, in fact, the
    21   previously said a statement like this from a    21   differential promotional effectiveness over
    22   private organization would be sufficient to     22   time is picking up the influence of these
    23   at least form a hypothesis, would you not       23   environmental factors.
    24   hypothesize that the DEA among 28 other         24       Q. Okay. Only because I'm short
    25   health organizations recognizing the            25   on time I'll ask it this way.
                                              Page 819                                             Page 821
     1   undertreatment of pain and the potential for     1            You described in paragraph 73
     2   opioids to treat, not just pain generally but    2   of your report a hypothesis about the need to
     3   also chronic pain, could potentially have had    3   explicitly include control for these kinds of
     4   an impact on MME sales?                          4   events as being the purpose of the robustness
     5            MR. SOBOL: Objection.                   5   test in paragraph 73.
     6   BY MR. METZ:                                     6            That's what you -- or the
     7        Q. Is that a reasonable hypothesis          7   robustness test in Model C, excuse me.
     8   for an economist in your position undertaking    8   That's what you say in paragraph 73, correct?
     9   a study like this?                               9            MR. SOBOL: Objection.
    10            MR. SOBOL: Objection, form,            10       Objection to the form.
    11        compound.                                  11       A. In paragraph 73, I say, in the
    12        A. A statement like this, like the         12   middle of the first sentence: I tested the
    13   statements I do cite in my report, may have     13   robustness of Model B by examining whether
    14   had an effect on sales, and because there       14   indicators of specific events and policies
    15   were many such statements happening, I use      15   should be explicitly included in my model.
    16   the differential promotional effectiveness      16   BY MR. METZ:
    17   over time to capture these broader effects      17       Q. Thank you.
    18   across a larger number of factors.              18            And in Model C, where you
    19            I believe something like this,         19   included dummy variables, you included three
    20   if it were widely disseminated -- I don't       20   dummy variables that turned on --
    21   really know how widely disseminated this        21       A. Yes.
    22   was -- may have had an effect, and therefore,   22       Q. -- prior to -- prior to
    23   that would be captured in my promotional        23   November of 2001, correct?
    24   effectiveness.                                  24       A. That's correct.
    25            ///                                    25       Q. And the most proximate in time

   Golkow Litigation Services                                                Page 87 (818 - 821)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further88Confidentiality
                                                         of 95. PageID #: 471310
                                                                             Review
                                              Page 822                                             Page 824
     1   of those turned on -- was it in January of       1   attribute those to dummy variables that are
     2   2001 or does it turn on in February? I           2   years apart from when you first turned them
     3   wasn't clear from the way you described in       3   on, correct?
     4   your model.                                      4            MR. SOBOL: Objection.
     5       A. I need to look in the errata,             5        A. This is why I conclude that
     6   because I think what was stated in the report    6   Model B is the more appropriate approach
     7   was different in two different places.           7   here, to not try to disentangle those things.
     8       Q. Okay.                                     8   BY MR. METZ:
     9       A. So let me just take a quick               9        Q. Okay. But in the ideal design
    10   look.                                           10   of your model, as you told me before, you
    11       Q. For purposes of my question              11   picked the timing of the dummy variable to
    12   this will be sufficient.                        12   coincide with the key events, not to have
    13       A. Okay.                                    13   them be months prior so that they'll just
    14       Q. It's either/or January or                14   sweep them up eventually, correct?
    15   February, correct? If the dummy variable is     15            MR. SOBOL: Objection, form.
    16   dated January 2001.                             16        A. The dummy variables are
    17       A. I believe that that is true. I           17   intended to reflect the timing of these key
    18   just didn't want to misstate it. You're         18   events? Yes.
    19   talking about the JCAHO pain standards.         19   BY MR. METZ:
    20       Q. Yes.                                     20        Q. The -- any dummy variable, the
    21       A. Yes.                                     21   timing for when you turn it on, is intended
    22       Q. Okay. And then if this                   22   to be timing that makes sense in light of the
    23   statement, in fact, was released in November    23   key events you're testing for, right?
    24   of 2001, that is ten months after your dummy    24        A. It does. I'm just saying that
    25   variable had already turned on, correct?        25   just mathematically, the case that while that
                                              Page 823                                             Page 825
     1       A. That's correct.                           1   timing is important, it's important because
     2       Q. And then you do not have                  2   it differentiates pre from post. It
     3   another dummy variable that you include until    3   doesn't -- it's not instantaneous.
     4   August of 2010, which is close to nine years     4        Q. Okay. And nonetheless, you put
     5   later.                                           5   your variable in January 2001 in order to
     6       A. Yes. And because the dummy                6   attempt to simulate for an event occurring in
     7   variable stays on, it will pick up any level     7   or around January 2001, correct?
     8   shift over time after that, controlling for      8             MR. SOBOL: Objection, asked
     9   other factors, right.                            9        and answered.
    10       Q. Any level shift that in the              10        A. Yes.
    11   calculation shows up is correlated with the     11             (Whereupon, Deposition Exhibit
    12   dummy variable from nine months earlier,        12        Rosenthal-30, State of Ohio House Bill
    13   correct?                                        13        No. 187, was marked for
    14       A. Yes, but again, the dummy                14        identification.)
    15   variable stays on over the period when this     15   BY MR. METZ:
    16   would have been released.                       16        Q. I'm going to hand you an
    17       Q. Does not the distance from the           17   exhibit we've marked Exhibit 30. I'd like
    18   dummy variable have a bearing upon the          18   you to take a look at that and tell me if
    19   significance that that variable will attach     19   you've seen it before.
    20   to events later in time?                        20        A. I just want to check my
    21       A. Well, again, it is literally             21   documents relied upon. My memory is not
    22   picking up an average shift before compared     22   always reliable.
    23   to after.                                       23             (Document review.)
    24       Q. Okay. And if there are other             24        A. I don't think that I've seen
    25   unexplained events going on, you might          25   this document before.
   Golkow Litigation Services                                                Page 88 (822 - 825)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further89Confidentiality
                                                         of 95. PageID #: 471311
                                                                             Review
                                              Page 826                                             Page 828
     1   BY MR. METZ:                                     1   about the longevity of the pain.
     2        Q. Well, in that case, Exhibit 30           2   BY MR. METZ:
     3   is a printout from a legal -- well, from a       3       Q. Okay. And then if you flip
     4   book of Ohio session laws, and it's entitled     4   ahead to subpart (D), which is on the second
     5   H.B. No. 187, and in the title it says           5   page, it states that a physician who treats
     6   Treatment of Intractable Pain.                   6   intractable pain by managing it with
     7            Do you see that?                        7   dangerous drugs is not subject to
     8        A. I do see that.                           8   disciplinary action by the board under
     9        Q. Okay. It's described as an act           9   Section 4731.22 of the revised code, solely
    10   regarding the authority of physicians to        10   because the physician treated the intractable
    11   prescribe, dispense and administer dangerous    11   pain with dangerous drugs.
    12   drugs for management of intractable pain.       12            The physician is subject to
    13            Do you see that?                       13   disciplinary action only if the dangerous
    14        A. I see that.                             14   drugs are not prescribed, administered or
    15        Q. And under the first -- when you         15   dispensed in accordance with this section and
    16   look into the body of the bill, next to         16   the rules adopted under it.
    17   number 2 it defines intractable pain.           17            Do you see that?
    18            Do you see that?                       18       A. I do.
    19        A. Yes.                                    19       Q. And were you aware prior to
    20        Q. And it means a state of pain            20   this moment of a law that was passed in Ohio
    21   that is determined, after reasonable medical    21   in the late 1990s that provided doctors with
    22   efforts have been made to relieve the pain or   22   legal protection for -- against circumstances
    23   cure its cause, to have a cause for which no    23   in which they treated patients with pain
    24   treatment or cure is possible or for which      24   using dangerous drugs? Were you aware of
    25   none has been found.                            25   such a law being passed?
                                              Page 827                                             Page 829
     1            Do you see that?                        1            MR. SOBOL: Objection, form.
     2       A. Yes.                                      2       A. I couldn't have told you when
     3       Q. And then if you skip down                 3   such a law was passed in Ohio.
     4   to (C), the bill states that when a physician    4            I was aware from the complaint
     5   diagnoses an individual as having intractable    5   and from Dr. Perri's report that the
     6   pain, the physician may treat the pain by        6   influence -- the industry allegedly
     7   managing it with dangerous drugs in amounts      7   influenced such guidelines, including, as I
     8   or combinations that may not be appropriate      8   include in my timeline, the model guidelines
     9   when treating other medical conditions.          9   supplied by the Federation of State Medical
    10            Do you see that?                       10   Boards, and I take this to be an example of
    11       A. I do.                                    11   one that was implemented in Ohio.
    12       Q. Do you understand intractable            12   BY MR. METZ:
    13   pain as so described here to have a similar     13       Q. So is it your understanding
    14   meaning to chronic pain?                        14   that a state medical board guideline and a
    15            MR. SOBOL: Objection, scope.           15   Ohio statute passed by the legislature of
    16       A. I do not, no.                            16   Ohio to be functionally equivalent? Is that
    17   BY MR. METZ:                                    17   what your answer was?
    18       Q. Okay. Do you understand it to            18            MR. SOBOL: Objection,
    19   be describing pain for which -- pain that       19       mischaracterizes her testimony.
    20   will endure over a longer period because        20            MR. METZ: That's why I'm
    21   there is no -- no other means of curing it?     21       asking for clarification.
    22            MR. SOBOL: Objection, scope.           22       A. I'm not a lawyer or a state
    23       A. Well, I'm not a clinical                 23   regulatory expert. These guidelines that I'm
    24   expert. It seems to define it as having no      24   seeing for the first time reading them, they
    25   treatment or cure. It does not say anything     25   are consistent with what I understand the
   Golkow Litigation Services                                                Page 89 (826 - 829)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further90Confidentiality
                                                         of 95. PageID #: 471312
                                                                             Review
                                              Page 830                                             Page 832
     1   goal of the Federation for State Medical         1   trying to capture any effects from this law,
     2   Board Model Guidelines were, this protection     2   correct?
     3   from liability.                                  3       A. I did not.
     4   BY MR. METZ:                                     4       Q. Okay. And, in fact, although
     5       Q. They're consistent in their               5   your testimony is being used solely for
     6   goals; they're inconsistent that -- in the       6   purposes of this case, within two counties in
     7   sense that in this instance, pertaining to       7   Ohio, your aggregate analysis is done on a
     8   Ohio, it's being adopted by the 122nd Elected    8   national level, correct?
     9   General Assembly of the State of Ohio.           9             MR. SOBOL: Objection, asked
    10            Do you see that?                       10       and answered.
    11            MR. SOBOL: Objection. Oh,              11       A. My analysis is a national
    12       just do you see that? That's fine.          12   aggregate analysis.
    13       A. I do.                                    13   BY MR. METZ:
    14   BY MR. METZ:                                    14       Q. And one consequence of doing a
    15       Q. Okay. And do you agree with me           15   national aggregate analysis is that if a law
    16   that there is a difference between a private    16   like this had an impact within the state of
    17   or a standard-setting unelected body creating   17   Ohio, that effect might be muted in your
    18   some rule or regulation and the elected         18   national analysis because there's 49 other
    19   assembly of a state like Ohio enacting a law?   19   states, right?
    20            MR. SOBOL: Objection to the            20             MR. SOBOL: Objection, form.
    21       scope.                                      21       A. The national analysis will be
    22   BY MR. METZ:                                    22   affected by the extent of such laws across
    23       Q. Do you see a difference between          23   the country, not on just one state.
    24   those two things?                               24   BY MR. METZ:
    25            MR. SOBOL: Objection to scope.         25       Q. And if Ohio was
                                              Page 831                                             Page 833
     1       A. I'm not a legal or regulatory             1   disproportionately affected by a law such as
     2   expert, so I don't have an opinion about the     2   this, that effect might be different from the
     3   different effects of those two things.           3   average that's reflected in your national
     4   BY MR. METZ:                                     4   aggregate analysis, correct?
     5       Q. Okay. To be clear, I wasn't               5            MR. SOBOL: Objection, form.
     6   asking about effects. I was asking about the     6       A. That may be the case. As I
     7   nature of the body adopting them.                7   understand this law, it seems to be that it
     8            Do you see a difference in the          8   would cause even more prescribing than I
     9   nature of the body adopting what you've          9   estimate on average, if other states lag
    10   described as guidelines versus the Assembly     10   Ohio.
    11   of Ohio adopting a law?                         11   BY MR. METZ:
    12            MR. SOBOL: Objection, asked            12       Q. Okay. Even more within Ohio is
    13       and answered.                               13   what you're saying?
    14       A. I understand that -- again, I            14       A. Even more than I attribute to
    15   understand that this is a law, and I believe    15   Ohio, yes.
    16   the model guidelines were intended to           16       Q. Okay. Now, that law was not
    17   influence regulations. I understand the         17   identified for you by Dr. Perri as one of the
    18   difference between those two things.            18   key events as it related to your opinions for
    19   BY MR. METZ:                                    19   Cuyahoga and Summit Counties, correct?
    20       Q. Okay. Thank you.                         20       A. Just to be clear, Dr. Perri
    21            Now, this also does not appear         21   wasn't identifying for me. I understand the
    22   on your timeline of key events, correct?        22   events that he described in his reports, that
    23       A. It does not.                             23   he identifies as part of his report as being
    24       Q. Okay. And you did not design a           24   important.
    25   dummy variable with the specific intention of   25       Q. And in part because this was
   Golkow Litigation Services                                                Page 90 (830 - 833)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further91Confidentiality
                                                         of 95. PageID #: 471313
                                                                             Review
                                             Page 834                                              Page 836
     1   not described in that report and because it      1        Q. Okay. I will represent to you
     2   is not reflected in plaintiffs' complaint,       2   that Exhibit 31 is a final report and task
     3   it's not one of the key events that you put      3   force recommendations from a body known as
     4   into your Figure 5, correct?                     4   the Ohio Prescription Drug Abuse Task Force.
     5             MR. SOBOL: Objection,                  5             Do you see that?
     6        mischaracterizes the testimony.             6        A. Yes.
     7        A. I do not believe it appears in           7        Q. And in your inquiry and
     8   the sources that I used to put together          8   research into finding the key factors that
     9   Figure 5.                                        9   you try to be accounted for in your model,
    10   BY MR. METZ:                                    10   did you at any point come to learn that Ohio
    11        Q. Okay.                                   11   had commissioned a drug abuse task force
    12        A. So I did not rely on it.                12   relating to the subject of prescription
    13        Q. In the inquiry you                      13   drugs?
    14   independently undertook to identify what key    14        A. I believe that I was aware that
    15   events should be accounted for in your model,   15   there had been activity in Ohio related to
    16   did you come across any information             16   combatting the opioid epidemic.
    17   indicating that, in fact, this law had had an   17        Q. Okay. But you don't recall
    18   influence on MMEs within the state of Ohio      18   seeing any report or other information about
    19   such that it should be accounted for?           19   that, do you?
    20        A. I am not aware of anything, no.         20        A. I don't recall.
    21   I did not come across that.                     21        Q. Okay. Now, I want you to turn
    22             (Whereupon, Deposition Exhibit        22   first to page 21, just so I can orient you to
    23        Rosenthal-31, Ohio Prescription Drug       23   the section in which a later page appears.
    24        Abuse Task Force Final Report, was         24        A. Okay.
    25        marked for identification.)                25        Q. Do you see that there's a
                                             Page 835                                              Page 837
     1   BY MR. METZ:                                     1   heading there that says How Did This Become
     2       Q. I'm going to hand you an                  2   an Epidemic?
     3   exhibit marked Exhibit 31.                       3       A. Yes, I do.
     4           MR. SOBOL: Where are we on the           4       Q. And there's some information
     5       time?                                        5   there followed by a chart, okay?
     6           MR. METZ: I think I have about           6       A. Yes.
     7       15 minutes.                                  7       Q. If you turn to the next page,
     8           THE VIDEOGRAPHER: 19.                    8   the next -- the section at the top of page 22
     9           MR. SOBOL: Thanks.                       9   talks about the law that we just considered,
    10           THE WITNESS: Go ahead.                  10   that we just looked at, and I'll just read it
    11   BY MR. METZ:                                    11   into the record.
    12       Q. Have you seen this document              12            Under the heading Changes in
    13   before?                                         13   Clinical Pain Management, the document
    14       A. I don't think so. I should               14   states: Growing recognition by professionals
    15   check again my documents cited.                 15   of the undertreatment of pain in the late
    16           (Document review.)                      16   1990s prompted needed changes in clinical
    17       A. I assume it would be under O             17   pain management guidelines at the national
    18   for Ohio.                                       18   level, as well as changes in Ohio's law
    19   BY MR. METZ:                                    19   regarding the treatment of intractable pain.
    20       Q. I haven't checked. It could              20   As defined in Ohio law, intractable pain
    21   also be under 2010. I don't know.               21   means a state of pain that is determined,
    22       A. I don't think so.                        22   after reasonable medical efforts have been
    23       Q. Okay. You don't recognize it             23   made to relieve the pain or cure its cause,
    24   as you sit here?                                24   to have a cause for which no treatment or
    25       A. I don't.                                 25   cure is possible or for which none has been

   Golkow Litigation Services                                                Page 91 (834 - 837)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further92Confidentiality
                                                         of 95. PageID #: 471314
                                                                             Review
                                              Page 838                                             Page 840
     1   found.                                           1   gates for opioid prescribing. So this simply
     2            Do you see that?                        2   confirms that the State of Ohio has found
     3       A. Yes.                                      3   that to be true.
     4       Q. And you recall that's the                 4   BY MR. METZ:
     5   definition we read from the statute a moment     5       Q. And you did not include in your
     6   ago, correct?                                    6   model a variable intended to capture, for
     7       A. It looks like it's verbatim.              7   sales within Ohio, the influences of the
     8       Q. Okay. So the next paragraph               8   statute, correct?
     9   says: To address the perception that             9            MR. SOBOL: Objection, asked
    10   prescribing adequate amounts of controlled      10       and answered.
    11   substances would result in unnecessary          11            MR. METZ: It's really a
    12   scrutiny by regulatory authorities, Ohio's      12       yes-or-no question.
    13   Intractable Pain Act provided that physicians   13            MR. SOBOL: Well, you can
    14   treating intractable pain are not subject to    14       answer it however you think you need
    15   disciplinary action when practicing in          15       to.
    16   accordance with accepted and prevailing         16       A. I included in my model national
    17   standards of care and rules adopted by the      17   variables. And as I've noted, I believe
    18   medical board delineating those standards.      18   factors such as these are why promotion was
    19            Do you see that?                       19   so effective in that early part of the period
    20       A. Yes. And I guess now I see how           20   that I analyze.
    21   the law connects to the state medical board     21            In my view, it would not be
    22   standards. They're clearly interlocking.        22   appropriate to try to pull out this effect
    23       Q. And then it says: Such                   23   when it is all part of how promotion caused
    24   fundamental changes in the recognition and      24   sales.
    25   treatment of pain contributed to increased      25            ///
                                              Page 839                                             Page 841
     1   prescribing and concomitant availability of      1   BY MR. METZ:
     2   and exposure to potent opioid analgesics,        2       Q. Well, in your view in -- as
     3   pain medications.                                3   expressed in paragraph 73, it was necessary
     4            Do you see that?                        4   as a robustness test to test the very
     5       A. I do.                                     5   assumption you just stated to me as to
     6       Q. Okay. So prior to now, were               6   whether these events, events like this, had a
     7   you aware that an appointed task force           7   sufficiently strong influence to render
     8   appointed by the government of the State of      8   Model B inaccurate.
     9   Ohio had, in a report, concluded that the law    9             MR. SOBOL: Objection.
    10   we looked at a moment ago from 1997 had         10   BY MR. METZ:
    11   contributed to the levels of prescription       11       Q. Isn't that what you said in
    12   opioids dispensed in Ohio during the period     12   your report?
    13   covered by your study?                          13             MR. SOBOL: Objection, asked
    14            MR. SOBOL: Objection, form,            14       and answered already.
    15       asked and answered.                         15       A. As I said in my report, I'm
    16       A. I wasn't aware of this specific          16   testing the form of the model. I do not -- I
    17   report. Again, going back to the context of     17   do not use Model C in calculating damages,
    18   Dr. Perri's report and what I understand the    18   but it is not my belief that those variables
    19   allegations are in this matter, it does not     19   necessarily would occur in a but-for
    20   come as a surprise to me that this was found.   20   scenario.
    21   And again, this explicitly references those     21             And so Model C, the robustness
    22   state medical board guidelines.                 22   check is around the specification, and while
    23            Those, as I understand it,             23   I understand that you respectfully disagree,
    24   plaintiffs intend to prove were a vehicle for   24   I conclude that, in fact, Model C supports
    25   increasing -- basically opening the flood       25   the use of Model B. But even if there were a
   Golkow Litigation Services                                                Page 92 (838 - 841)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further93Confidentiality
                                                         of 95. PageID #: 471315
                                                                             Review
                                             Page 842                                             Page 844
     1   significant dummy variable in Model C, it        1   retail pharmacy conduct.
     2   wouldn't necessarily be the case that that       2   BY MR. GEISE:
     3   variable would exist in the but-for world.       3       Q. The assignment that you were
     4   BY MR. METZ:                                     4   given by plaintiffs' counsel did not include
     5       Q. Okay. So to -- if I could                 5   considering any conduct by a retail pharmacy
     6   strip that down to a more relatable              6   defendant, correct?
     7   statement.                                       7       A. My assignment pertains to the
     8            You're postulating a but-for            8   marketing conduct and not to the conduct of
     9   world in which the State of Ohio's General       9   retail pharmacies.
    10   Assembly does not enact the statute that we     10       Q. If you look at Exhibit 1 to
    11   just looked at?                                 11   your deposition, which is your expert report,
    12            MR. SOBOL: Objection,                  12   in particular, your Figure 1 on page 19, this
    13       mischaracterizes her testimony.             13   is your promotion ecosystem, correct?
    14       A. I don't know about the specific          14       A. Yes.
    15   law, but many of those events, including the    15       Q. You would agree that retail
    16   state medical board guidelines, which appear    16   pharmacy defendants are not part of that
    17   to interact with the law, are posited by        17   promotion ecosystem at all, correct?
    18   plaintiffs to have been caused by the conduct   18       A. Retail pharmacies are not part
    19   of defendants.                                  19   of the promotion ecosystem that I describe
    20            MR. METZ: Why don't we go off          20   here.
    21       the record.                                 21            MR. GEISE: Thank you. Those
    22            THE VIDEOGRAPHER: The time is          22       are my questions.
    23       3:26 p.m. We're now off the record.         23            THE VIDEOGRAPHER: The time is
    24            (Recess taken, 3:26 p.m. to            24       3:34 p.m. We're off the record.
    25       3:33 p.m.)                                  25            (Recess taken, 3:34 p.m. to
                                             Page 843                                             Page 845
     1             THE VIDEOGRAPHER: The time is          1        3:35 p.m.)
     2        3:33 p.m. We're back on the record.         2            THE VIDEOGRAPHER: The time is
     3                EXAMINATION                         3        3:35 p.m. We're back on the record.
     4   BY MR. GEISE:                                    4               EXAMINATION
     5        Q. Professor Rosenthal, my name is          5   BY MR. SOBOL:
     6   Steve Geise. I represent Walmart in this         6        Q. You were asked some questions
     7   case. We had a chance to meet off the record     7   yesterday and today about the assignment that
     8   and I just have a very few questions for you     8   you were given. The assignment you were
     9   today because our time is running to a close.    9   given was with respect to modeling the
    10             In response to questions from         10   combined effect of certain manufacturer
    11   Mr. Metz, you indicated you had not analyzed    11   defendants' marketing, correct?
    12   pharmacy conduct at all for purposes of your    12        A. Yes, that's correct.
    13   opinions; is that correct?                      13        Q. The lawyers, though, didn't
    14             MR. SOBOL: Objection, asked           14   tell you what type of model you should use,
    15        and answered.                              15   correct?
    16        A. Yes, I do not analyze pharmacy          16        A. That's correct.
    17   conduct in my analysis.                         17        Q. You chose the aggregate model,
    18   BY MR. GEISE:                                   18   correct?
    19        Q. Yesterday in response to a              19        A. I chose the aggregate model to
    20   question, you testified that distributors'      20   estimate aggregate impact, as I have
    21   conduct was outside the scope of your report.   21   described over the last day and a half,
    22   Is it true that retail pharmacy conduct is      22   because the aggregate model allows me to
    23   also outside the scope of your report?          23   capture spillover effects and is the most
    24             MR. SOBOL: Objection.                 24   efficient way to estimate the combined effect
    25        A. My analysis does not include            25   of defendants' alleged marketing misconduct.
   Golkow Litigation Services                                                Page 93 (842 - 845)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further94Confidentiality
                                                         of 95. PageID #: 471316
                                                                             Review
                                                   Page 846                                             Page 848
     1           MR. SOBOL: Nothing further.                   1          INSTRUCTIONS TO WITNESS
     2           MR. ROTH: No follow-up here.                  2
     3           THE VIDEOGRAPHER: That                        3            Please read your deposition over
     4       concludes the deposition of Meredith              4    carefully and make any necessary corrections.
     5       Rosenthal. The time is 3:36 p.m., and             5    You should state the reason in the
     6       we're now off the record.                         6    appropriate space on the errata sheet for any
     7           (Proceedings recessed at                      7    corrections that are made.
     8       3:36 p.m.)                                        8            After doing so, please sign the
     9               --o0o--                                   9    errata sheet and date it.
    10                                                        10            You are signing same subject to
    11                                                        11    the changes you have noted on the errata
    12                                                        12    sheet, which will be attached to your
    13                                                        13    deposition.
    14                                                        14            It is imperative that you return
    15                                                        15    the original errata sheet to the deposing
    16                                                        16    attorney within thirty (30) days of receipt
    17                                                        17    of the deposition transcript by you. If you
    18                                                        18    fail to do so, the deposition transcript may
    19                                                        19    be deemed to be accurate and may be used in
    20                                                        20    court.
    21                                                        21
    22                                                        22
    23                                                        23
    24                                                        24
    25                                                        25

                                                      Page 847                                          Page 849
     1               CERTIFICATE                                1             ERRATA
     2           I, MICHAEL E. MILLER, Fellow of
         the Academy of Professional Reporters,                 2   PAGE LINE CHANGE
     3   Registered Diplomate Reporter, Certified               3   ____ ____ _________________________________
         Realtime Reporter, Certified Court Reporter
     4   and Notary Public, do hereby certify that              4      REASON: _______________________________
         prior to the commencement of the examination,          5   ____ ____ _________________________________
     5   MEREDITH B. ROSENTHAL, Ph.D. was duly sworn
         by me to testify to the truth, the whole               6      REASON: _______________________________
     6   truth and nothing but the truth.
     7           I DO FURTHER CERTIFY that the                  7   ____ ____ _________________________________
         foregoing is a verbatim transcript of the              8      REASON: _______________________________
     8   testimony as taken stenographically by and
         before me at the time, place and on the date           9   ____ ____ _________________________________
     9   hereinbefore set forth, to the best of my
         ability.                                              10      REASON: _______________________________
    10
                 I DO FURTHER CERTIFY that pursuant
                                                              11    ____ ____ _________________________________
    11   to FRCP Rule 30, signature of the witness was        12       REASON: _______________________________
         not requested by the witness or other party
    12   before the conclusion of the deposition.             13    ____ ____ _________________________________
    13           I DO FURTHER CERTIFY that I am               14       REASON: _______________________________
         neither a relative nor employee nor attorney
    14   nor counsel of any of the parties to this            15    ____ ____ _________________________________
         action, and that I am neither a relative nor         16       REASON: _______________________________
    15   employee of such attorney or counsel, and
         that I am not financially interested in the          17    ____ ____ _________________________________
    16   action.
    17                                                        18       REASON: _______________________________
    18 __________________________________                     19    ____ ____ _________________________________
       MICHAEL E. MILLER, FAPR, RDR, CRR
    19 Fellow of the Academy of Professional Reporters        20       REASON: _______________________________
       NCRA Registered Diplomate Reporter
    20 NCRA Certified Realtime Reporter                       21    ____ ____ _________________________________
       Certified Court Reporter                               22       REASON: _______________________________
    21
         Notary Public                                        23    ____ ____ _________________________________
    22   My Commission Expires: 7/9/2020
    23   Dated: May 6, 2019                                   24       REASON: _______________________________
    24                                                        25
    25

   Golkow Litigation Services                                                      Page 94 (846 - 849)
Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-17
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further95Confidentiality
                                                         of 95. PageID #: 471317
                                                                             Review
                                     Page 850
     1       ACKNOWLEDGMENT OF DEPONENT
     2
     3
     4        I, MEREDITH B. ROSENTHAL, Ph.D.,
       do hereby certify that I have read the
     5 foregoing pages and that the same is a
       correct transcription of the answers given by
     6 me to the questions therein propounded,
       except for the corrections or changes in form
     7 or substance, if any, noted in the attached
       Errata Sheet.
     8
     9
    10
    11
    12   ___________________________________________
          MEREDITH B. ROSENTHAL, Ph.D.       DATE
    13
    14
    15   Subscribed and sworn to before me this
    16   _______ day of _______________, 20 _____.
    17   My commission expires: _______________
    18
    19   _______________________________
    20   Notary Public
    21
    22
    23
    24
    25

                                                 Page 851
     1           LAWYER'S NOTES
     2
     3   PAGE    LINE
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   Golkow Litigation Services                               Page 95 (850 - 851)
